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                    IN THE UNITED STATES COURT OF FEDERAL CLAIMS


                                                      -l
LARRY GOLDEN.

                        Plaintifl
                                                                  I   :   l3-cv-307-SGB

                                                                  Judge Susan G. Braden
UNITED STATES,

                    Def'endant.                                   August 8.2017



                                       FINAL AMf,NDED COMPLANT

                On May 24,2017,the court convened a telephone status conference. Pursuant to

the status conference, the court grants Plaintiff leave to file a Final Amended Complaint and a

Final Amended Claim Chart by August 15, 2017. T"he court ordered the Plaintiffin the telephone

status conference:      "to file   a clean amended   complaint that includes        f     ofyour [Plaintiff]

concems, g!! of your [Plaintiff] charges against the Govemment in one document". . . "You're

going to put together a whole fifth and final complaint and a final claim chart, two documents".

                PLAINTIFF LARRY GOLDEN makes the following allegations in support of its

claim for relief.

                                                     PARTIES

                I   .       Plaintiff t^arry Golden is     a   citizen of South Carolina and has a principal

place of business at 740 Woodruff Road, #1102, Greenville, S.C. 29607.

                2.          The United States is the Defendant to this action based upon the actions

and conduct of its agents, including at least the following agencies: Department of Homeland

Security (DHS), Domestic Nuclear Detection Offrce (DNDO), Department of Defense (DoD),

U.S. Defense Advanced Research Projects Agency (DARPA), National Science Foundation

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                                                                                                               AUG   l0   2017
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(NSF), Department of Air Force (DOAF), National lnstitutes of Health (NIH), National

Aeronautics and Space Administration (NASA), Department of Energy (DOE), Department        of

the Army (DOA), U.S. Army Edgewood Chemical Biological Center (ECBC), Army Research

Laboratory (ARL), Department of the Navy (DON), U.S. Naval Air Systems Command

(NAVAIR), Office of Naval Research's (ONR), U.S. Naval Research Laboratory NRL), U.        S.


Army Communications-Electronics Research, Development and Engineering Center (CERDEC),

Defense Threat Reduction Agency (DTRA), Environmental Protection Agency (EPA), and

Federal Emergency Management Agency (FEMA), General Services Administration (GSA),

Department of Justice (DOJ), Joint Program Executive Office for Chemical and Biological

Defense (JPEO-CBD); Joint Acquisition Chemical Biological Radiological Nuclear Knowledge

System (JACKS); Chemical Biological Radiological Nuclear Information Resource Center

(CBRN-IRC), Defense Advanced Research Project Agency (DARPA), Homeland Security

Advanced Research Project Agency (HSARPA), Department of Homeland Security Science         &

Technology Directorate (DHS/S&T), Department of Energy; Oak Ridge National Laboratory

(DOE/ORNL), The Air Force Research Laboratory (AIRL), Department of Homeland Security

Integrated Chemical Biological Radiological Nuclear Explosives (DHSACBRNE), and all other

Govemment Agencies and personnel named in this pleadings.

                                       JURISDICTION

              3.      This is a claim pursuant to 28 U.S.C. gg 1491(a) and 1498(a) for recovery

of Plaintifls reasonable and entire compensation for the unlicensed use and manufacture, for and

by the United States, ofinventions described in and covered by United States Patent Numbers:

7,385,497;7,636,033;8,106,752;8,334,761;8,531,280;     RE43,891; RE43,990;9,096,1891




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9,589,439, and the Continuation Patent Application 15/530,839 filed March 06,2017 thar

published on 0612912017 under Publication No: US 2017 -0186259            Al.
                 4.      The jurisdiction   ofthis Court   is based on the provisions   of28 U.S.C. $$

1491(a) and 1498(a).

                 5.      28 U.S.C. $ l49l(a): The United States Court of Federal Claims shall have

jurisdiction to renderjudgment upon any claim against the United States founded either upon the

Constitution, or any Act ofCongress or any regulation ofan executive department, or upon any

express or implied contract with the United States, or for liquidated or unliquidated damages in

cases not sounding in tort.

                 6.      The Fifth Amendment of the United States Constitution includes a

provision known as the Takings Clause, which states that "private property [shall not] be taken

for public use, without just compensation."

                 7   .   28 U.S.C. $ 1498(a): Whenever an invention described in and covered by

a patent   of the United States is used or manufactured by or for the United States without license

of the owner thereof or lawful right to use or manufacture the same, the owner's remedy shall be

by action against the United States in the United States Court of Federal Claims for the recovery

of his reasonable and entire compensation for such use and manufacture.

                                            28 U.S.C. 88 1491

                 8.      When the Govemment takes property without following the eminent

domain procedure, the affected property owner (Plaintifl) has the right to bring an inverse

condemnation "Takings" lawsuit against the Government entity(s) that has taken his property

The "Govemment Fifth Amendment Takings" lawsuit that is filed under 28 U.S.C. $ 1491 by the

Plaintiffis "inverse" rather than "direct" because it is brought by the patent owner, not by the



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Govemment agency(s) or other entities having eminent domain power. Therefore, the Plaintiff

understands he carries the burden     ofproofthat his property rights were taken without the

payment of compensation. This differs from a direct condemnation following eminent

domain procedures which places the burden of proof upon the Govemment.

                 9.       Inverse condemnation is not limited to the permanent physical taking    of

the PlaintifPs property. Rather, it can include a temporary taking or occupation of private or

personal property that includes govemment regulation which trurdens t}te property in such a way

that the Patent Owner cannot derive any economical use out of      it.   When Govemment regulation

significantly burdens private or personal property the inverse condemnation may be referred to

as a   "regulatory taking." Most importantly, in an inverse condemnation or regulatory taking

scenario the govemment has failed to payjust compensation for the private property rights that

have been taken.

                  10.     Pursuant to the guidelines of a "Govemment Fifth Amendment Takings"

of a Patent, the Govemment was given notice, made aware of, and told or signaled that the

intangible private and personal property subject matter as outlined in the Plaintiffs patent(s)

specifications and patent claims that was taken by the Govemment and used with the public, are

significantly the same or equivalent to the claimed inventions of the patent owner (Plaintiff).

Fifth Amendment Government Takings: Intellectual Property                as   Intangible Assets

                 I   1.   Intangible assets are non-physical assets (such as franchises, trademarks,

patents, coplrights, and goodwill) that grant the potential for certain rights and privileges as well

as the   possibility for economic benefits to the owner. The subject matter ofa patented invention

is considered intangible.




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                 12.    In Ruckelshaus v. Monsanto Company,467 U.S. 986 (1984) the Court

held that a trade secret is constitutionally protected property, and a claim lor its taking is within

Tucker Act cognizance:

       Although this Court never has squarely addressed the question whether a person can have

       a   property interest in a trade secret, which is admittedly intangible, the Court has found

       other kinds of intangible interests to be property for purposes of the Fifth Amendment's

       Taking Clause." See, e.g., Armstrong v. United States, 364 U.S. 40,44, 46 (1960)

       (materialman's lien provided for under Maine law protected by Taking Clause);

       Louisville Joint Stock Land Bank v. Radford, 295 U.S. 555, 596 -602 (1935) (real estate

       lien protected); Lynch v. United States, 292U.5.571,579 (1934) (valid contracts are

       property within meaning of the Taking Clause). . .     .


                 13.    467 U.S. at 1003. That patent rights are property rights, entitled to jusr

compensation when taken by the United States, is not subject to revision at this late date. The

premises as explained   in 1910 remain intact,   as explained in the record   ofthat enactment:

       Rep.   Dalzell. But if the Govemment, through an authorized officer, has seen fit to

       appropriate a patent of a citizen without making any contract with him, or under

       circumstances that no implied contract can be inferred, then this law proposes to give him

       a   remedy. It proposes to put him on the same footing that every other citizen is on who is

       not a patentee; that is, to give him the right to recover for property that has been taken

       from him by due process of law. And every time that the United States Govemment

       assumes to take   forcibly, without the consent of the owner,   a patented process,   it violates

       the constitutional provision which says no man's property shall be taken without

       compensation and without due process of law. 45 Cong. Rec. 8755 at 8780.



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                14.     For patent lawyers, however, an invention is not something physical, but a

concept. Indeed, in his 1933 book Double Patenting, paterfi law autlor Emerson Stringham goes

so far as to state that an invention is an abstraction:

        "The diffrculty which American courts . . . have had . . . goes back to the primitive

        thought that an "invention" upon which the patent gives protection is something tangible.

        The physical embodiment or disclosure, which, in itselfis something tangible is contused

        with the definition or claim to the inventive novelty, and this definition or claim or

        monopoly, also sometimes called "invention" in one of that word's meanings is not

        something tangible, but is an abstraction. Dertn ions are always abstractions. This

        primitive confusion of "invention" in the sense of physical embodiment with "invention"

        in the sense ofdefinition ofthe patentable amount ofnovelty, survives to the present day,

        not only in the courts, but among some ofthe examiners in the Patent Office. There is no

        possibility ofclear thinking, says Stringham, until it is understood that an invention as

        protected by a patent is an abstraction, thus an intangible asset. Patent practitioners refer

        to that abstraction as the "inventive concept."

                                          28 U.S.C.     {8   1498

                15.     Whenever an invention described in and covered by a patent ofthe United

States is used or manufactured by or for the United States without license of the owner thereofor

lawful right to use or manufacture the same, the owner's remedy shall be by action against the

United States in the United States Court ofFederal Claims for the recovery of his reasonable and

entire compensation for such use and manufacture.

Government Infringenent: Intellectual Property as Tangible Assets




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                  16.    Developed or manufactured products, devices, or apparatus are all

physical or tangible assets.

                  17.    In interpreting the terms ofSection 271(f), it is critical to recall what a

"patented invention" consists of when method patents are at issue. We have noted "the

distinction between a claim to a product, device, or apparatus, all of which are tangible items,

and a claim to a process, which consists of a series of acts or steps." In re   Kollar, 286 F .3d 1326,

1332 (Fed.Cir.2002); see also NTP,418 F.3d at 1322 ("The invention recited in a method claim

is the performance   ofthe recited steps."). Thus, a component ofa tangible product, device, or

apparatus is a tangible part ofthe product, device, or apparatus, whereas a component       ofa

method or process is a step in that method or process.

                 18.     Intellectual property (IP) is defined as original creative work manifested in

a tangible   form that can be legally protected. IP includes patents, trademarks, and copyrights.

                 19.     The U.S. Patent and Trademark Office (USPTO) issues three different

kinds ofpatents: utility patents, design patents, and plant patents. To   quali! for a utility patent -

by far the most common typ€ ofpatent -- an invention must be: a process or method for

producing a useful, concrete, and tangible result. The purpose ofthe "useful, concrete and

tangible result" requirement was to limit patent protection to inventions that possess a certain

level of "real world" value, as opposed to subject matter that represents nothing more than an

idea or concept (which is not patentable), or is simply a starting point for future investigation or

research.

                 20.     When the court focuses on a tangible result rather than the principles

behind the invention, it is easier to determine whether the patentee is claiming an abstract idea or

an application of that idea. Instead of drawing the unmanageable line between the idea and its



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application, the court instead can look at the result ofthe invention and determine whether the

result is concrete and tangible.

                                     PROCEDURAL HISTORY

                21.       On December 22, 2015, the Court convened a telephone status conference

to discuss how the case should proceed in light ofthe PTAB's final decision.

                22.       On December 23,2015, an Order was signed by Judge Susan G. Braden

granting Plaintiff leave to file an Amended Complaint by February 16, 2016 and directing the

Plaintiffto submit   a   Claims Chart by March 15,2016 (Dkt. No. 65).

                23.       On February 12,2016, Plaintiff filed an Amended Complaint (Dkt. No.

68) alleging that, the Govemment:     (l)   was liable for the infringement of Plaintiffs '497,'752,

'891,'990, and'189 Patents under 28 U.S.C. $ 1498(a); and (2) violated the Fifth Amendment             of

the United States Constitution by taking Plaintiffs'497,'033,'752,'761,'280, '891,'990,'189

Patents and related'273 Application, without just compensation.

                24.       On February 19,2016, Plaintifffiled its Claim Chart (Dkt. No. 69)

identifuing forty (40) devices that were developed or procured, as a result of Government

solicitations, Govemment contracts, or National Science Foundation ("NSF") grants. The devices

altegedly infringe independent and dependent claims in Plaintiffs '497 ,'752, '891, '990, and '189

Patents.

                25.       On April 8,2016, the Govemment filed an Answer to the February 12,

2016 Amended Complaint (Dkt. No. 74), but fail to respond to PlaintiffClaim Chart filed on

February 19,2016.




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                 26.    On June 6,2016, Plaintiff filed a Motion for Response to Claim Chart

(Dkt. No. 80) and, also on June 6,2016, Plaintifffiled a Motion for Entry ofDevices Supplied to

the Govemment (Dkt. No. 82).

                 27.    On June 13,2016, based on the arguments raised during the telephone

status conference that convened on June 10, 2016, the court Ordered that the Govemment file a

Motion To Dismiss; and stayed the Plaintifls June 6, 2016 Motion for Response to Claim Chart

and,   Plaintiffs Motion for Entry of Devices Supplied to the Govemment (Dkt. No. 85).

                 28.    On June 24,2016, the Govemment filed a Motion to Dismiss Certain

Accused Devices (Dkt. No. 88).

                 29.    On July 5, 2016, Plaintiff filed a Response to the Govemment's Motion to

Dismiss Certain Accused Devices (Dkt. No. 90).

                 30.    On July 18,2016, the Govemment filed a Reply to the Plaintiffs

Response to the Govemment's Motion to Dismiss Certain Accused Devices (Dkt. No. 93).

                 31.    On November 30,2016, Judge Susan G. Braden signed a Memorandum

Opinion and Order Denying the Govemment's Motion to Dismiss-Rule 12(bxl) and Rule

12(bX6) (Dkt. No. 94). "Under the Tucker Act, the United States Court of Federal Claims has

jurisdiction to adjudicate   a   claim ifthe statute, regulation, or constitutional provision that is the

basis for that claim "can fairly be interpreted as mandating compensation by the Federal

Govemment for the damage sustained," United States v. Mitchell, 463 U.S. 206,217 (1983). The

NSF claims allege that the Government awarded research grants to develop portable devices that

can:   (l) identify dangerous    chemical, radiological, and bacterial agents; and (2) track the spread

ofdisease. Based on the alleged facts, it is plausible that the accused devices were used to further

the military defense, national security, and public health interests of the United States: policies



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that the Govemment has a fundamental interest in advancing." The Court's Resolution to the

"Govemment's Motion to Dismiss" (Dkt No. 88): The ltlr:,e 24,2016 Motion To Dismiss the

February 12,2016 Amended Complaint's National Science Foundation Claims, Pursuant To

RCFC 12(bxl) is Denied. Under the Tucker Act, the United States Court of Federal Claims has

jurisdiction to adjudicate   a   claim if the statute, regulation, or constitutional provision that is the

basis for that claim "can fairly be interpreted as mandating compensation by the Federal

Govemment for the damage sustained d,,' united states v. Mitchell,463 r1.s.206,217 (1983), and

the   plaintiffis "within the class of plaintiffs entitled to recover under      the statute   if the elements

of [the] cause ofaction are established," Greenlee County, Arizona v. United States,487 F.3d

8'71,876 (Fed. Cir. 2007). "There is no further jurisdictional requirement that            plaintiff make []

additional nonfrivolous allegation[s] that [he] is entitled to relief under the relevant money-

mandating source." Run's Helicopter Serv., Inc. v. Federal Aviation Agency. 525 F.3d 1299,

1307 (Fed. Cir. 2008). Instead, "the consequence           ofa ruling by the court . . . that plaintiff   s case


does not   fit within the scope of the [money-mandating]         source . . . is simply   if thatl plaintiff loses

on the merits for failing to state a claim on which reliefcan be granted." Fisher v. United States,

402F.3d116'7,1175-76 (Fed. Cir.2005). Here, the February 12, 2016 Amended Complaint's NSF

claims are based on section 1498(a), a statute      tlat   is money-mandating on its face'See 28 U.S.C.

$ 1498(a) ("Whenever an invention described in and covered by              a patent   ofthe United States is

used or manufactured by or for the United States without license of the owner thereof or lawful

right to use or manufacture the same, the owner's remedy shall be by action against the United

States in the United States Court of Federal Claims for the recovery           ofhis reasonable and entire

compensation for such use and manufacture.") (Emphasis added). Furthermore, Plaintiff is the

owner ofthe United States patents asserted in this case and is therefore entitled to recover under



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section 1498(a). See 28 U.S.C. $ 1a98(a). Accordingly, the court hasjurisdiction to adjudicate

the February 12,2016 Amended complaint's NSF claims. The Govemment's June24,2016

Motion to Dismiss, pursuant to 12(bX1), is denied. b. The June 24,2016 Motion To Dismiss the

February 12,2016 Amended Complaint's National Science Foundation Claims, Pursuant To

RCF'C 12(bX6), Is Denied. The February 12,2016 Amended Complaint's NSF claims allege

suffrcient facts to support a reasonable inference that the manufacture and use of the accused

devices was "for the Government." see 556 U.S. at 678. The NSF claims allege that the

Govemment awarded research grants to develop portable devices that can: (1) identifu dangerous

chemical, radiological, and bacterial agents; and (2) track the spread ofdisease T Based on the

alleged facts, it is plausible that the accused devices were used to further the military defense,

national security, and public health interests ofthe United States: policies that the Govemment

has a fundamental interest in advancing.     Accordingly, the court can reasonably infer that the use

of the NSF-funded devices was for the Government;' see, e.9., Hughes Aircraft co., 534 F.2d at

898 (finding that the govemment's participation in a satellite program was "for the Govemment,"

because the program was vital to the      military defense and security ofthe United States);   see also


Madey,4l3 F. Supp. 2d at 607 (M.D.N.C. 2006) (explaining that         a use is   "for the Government"   if
it is in furtherance and fulfillment of   a stated Govemment   policy and for the Government's

benefit). The February 12,2016 Amended Complaint's NSF claims also allege sufficient facts to

plausibly establish that the use of the accused devices was "with the authorization or consent       of
the Govemment." Authorization or consent can be implied from the circumstances-"e.g., by

contracting officer instructions, [or] specifications or drawings which impliedly sanction and

necessitate infringement." Hughes Aircraft Co., 534 F.2d at 901. For example, in        TVI Energy

Corp., the United States Court of Appeals for the Federal Circuit held that the Govemment



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impliedly sanctioned the use ofa patented invention when it issued a solicitation that required

bidders to submit for inspection, and perform live demonstrations of, the accused device. See

TVI Energy Corp., 806 F.2d at 1060. In this      case, the relevant NSF grants anticipate that the

awardees   will develop     and test the devices proposed in their applications. See, e.g., NSF Award

No. 1444240 ('Annual and Final project reports,      as required   in the NSF Grant Conditions, should

document all efforts and outcomes, whether or not they are successful."). Govemment funding          of

research that   will   lead to the development and testing   ofan accused device supports a reasonable

inference that the Govemment impliedly sanctioned infringing activity. (Dkt. No. 94).

                 32.       On December 16,2016, Judge Susan G. Braden signed a Discovery Order

(Dkt. No. 97) for the Plaintiff to provide to the Govemment all relevant documents that is in

PlaintifPs possession related to claims filed in the February 12,2016 Amended Complaint, and

that the Govemment produce documents related to the devices entered into the Govemment's

Motion to Dismiss.

                 33.       On February 3,2017, Judge Susan G. Braden signed an Administrative

Order (Dkt. No. 100) dismissing PlaintifPs Motion for Response to Claim Chart (Dkt. No. 80)

filed on June 6,2016, and PlaintifFs Motion for Entry of Devices Supplied to the Government

(Dkt. No. 82), also filed on June 6,2016.The court issued an order staying these Motions until

resolution of the Govemment's Motion to Dismiss certain Devices. On June 24, 2016, the

Govemment filed a Motion to Dismiss certain Devices and on November 30. 2016 the court

entered an order denying the Govemment's Motion to Dismiss. On December 16,2016, the court

entered a Discovery order, ordering the Govemment to provide Plaintiff with documents related

to the claims alleged in the February 12,2016 Amended complaint, and ordering Plaintiff to

provide the Government copies ofall documents in his possession that are relevant to the claims



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alleged in the February 12,2016 complaint. The Motions stayed by the June 12,2016 Order are

moot'Therefore, these motions are dismissed without prejudice to being renewed.

               34.      On February 17,2017, Plaintifffiled a Status Report (Dkt. No. 101).

Plaintiff provided the Govemment with over 5000 pages of discovery documents that includes a

Claim Chart ofthe alleged infringing devices.

               35.      On May 26,2017, the Court issued an order for the Plaintiff to file a Final

Amended Complaint and a Final Claim Chart on August 15,2017. Only two documents. (Dkt.

No. 116).

                                  FACTURAL BACKGROUNG

               36.      The patents asserted in this 28 U.S.C. $ 1491(a), "Govemment Fifth

Amendment Takings of a Patent(s)" and 28 U.S.C. $ 1498(a), "Govemment Infiingement"

Complaint are U.S. Patent No. 7,385,497 ("'497 Palenf'), U.S. Patent No. 7,636,033 ("033

Patent'), U.S. Patent No. 8,106,7 52 ("'752 Patent"), U.S. Patent No. 8,334,761 ("761" Patent),

U.S. Patent No. 8,531,280 ("280" Patent), U.S. Reissue Patent No. R843,891 ("'891 Patent"),

U.S. Reissue Patent No. RE43,990 ("'990 Patenf'), U.S. Patent No. 9,096,189 ("'189 Patent"),

U.S. Patent No. 9,589,439 ("'439 Patent) and the Continuation Patent Application 15/530,839

filed March 06,2017 that published on 0612912017 under Publication No: US 2017-0186259 A1.

               37.      The above listed patents are lawfully issued, valid, and enlorceable U. S.

Patents.

               38.      Plaintiff is the sole ou.ner ofthe entire right, title, and interest in and to the

above listed patents.

               39.      Under the protection of the United States "Govemment", who has waived

its "sovereign immunity" for claims resulting out of expressed or implied contracts; at least



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Apple Inc., Samsung, LG, Qualcomm, Panasonic, and Motorola have entered into expressed

contracts, agreements, and procurements with the "Govemment" for the manufacture,

development, commercialization, and,/or use of the Plaintiffs communication/monitoring device.

(Refer to paragraphs 49-78). As a result of the parties actions, their conduct, and their assumed

intentions, an implied contract has been drawn between all the Govemment's departments,

branches, agencies, institutions, and govemment affiliates, and the "communication/monitoring

device" manufacturers and developers of at least Apple Inc., Samsung, LG, Qualcomm,

Panasonic, and Motorola.

                    40.   The Patent Owner has narrowed the amended complaint to primarily that

of Govemment infringement of the Plaintiff      s   communication device / monitoring equipment

(e.g. 95%) of at least one of the products grouped together by common features in the product

groupings category ofdesign similarity (i.e. computer terminal, personal computer (PC), laptop,

desktop, notebook, tablet, handheld, cell phone, PDA or smart phone); claims that are directed to

the   utility of:

                    41.   A communication device / monitoring equipment that       has an embedded

(built-in) biometric fingerprint scanner   as a security feature designed   to deny access to the device

by unauthorized individuals.

                    42.   A communication device / monitoring equipment that has an embedded

(built-in) lock disabler device designed to lock the device after   a certain number   of unsuccessful

atlempts to open (use) the device.

                    43.   A communication device / monitoring equipment that       has an embedded

(built-in) near-tield communication (NFC) sensor for very short range radio frequency (RF)

communication with a near-field communication (NFC) tag or device that is near-field



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communication (NFC) capable. Support for the Smartphone used as a stand-alone scanner:

"Still, another objective of the present invention is to provide a multi sensor delection and

disabling lock system wherein the interchangeable detectors lhat comprise part of the system cem

be used as sland-alone scanners" (Patent No. 9,589,439       ("'439 Palenl); Col. #5; Lines 25-28).

"   FIG. 12 is a representative schematic view of the multi sensor detection and lock disabling

system of the present invenlion illustrating the sequence ofsteps undertaken by one deteclor

whenfunctioning as a standalone scanner for detecting an agent or compound" (Patent No.

9,589,439 ("'439 Patent); Col. #6; Lines 26-30). "As shown in FIGS. 1, 2 and9-13, the multi

sensor detection and lock disabling system 10 includes a plurality ofdeleclors 16 with each

detector 16 adaptedfor and set up to sample for a specific agent or compound (biological,

chemical, or radiological); and lhe detectors 46 are interchangeable     for adapting to the needs
and demands offuture technologt. The delectors 46 can also be used as standalone scanners. "

(Patent No. 9,589,439 ("'139 Patent); Col. #9; Lines 51-56). "The detector 46 functions as a

stand-alone scanner and can be wirelessly interconnected... " (Patent No. 9,589,139 ("'139

Patent); Col. #9; Lines 54-56).

                  44.    A communication device / monitoring equipment that has      a physical


interface that is at least in, on, upon, or adjacent the communication device / monitoring

equipment for interconnecting the communication device / monitoring equipment to at least one

ofa    sensor, a detector case, a multi-sensor detection device, a locking device, a cell phone

detection device, a stall-to-stop vehicle slowdown system, or any of the products listed in any   of

the product grouping categories.

                  45.    A communication device / monitoring equipment that      has a software

application interface that is at least in, on, upon, or adjacent the communication device /



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monitoring equipment for interconnecting the communication device / monitoring equipment to

at least one ofa sensor, a detector case, a multi-sensor detection device, a locking device, a cell

phone detection device, a stall-to-stop vehicle slowdown system, or any of the products listed in

any   ofthe product grouping categories.

                46.      A communication device / monitoring equipment that comprises at least

one satellite connection, Bluetooth connection, WiFi connection, intemet connection, radio

fiequency (RF) connection, cellular connection, broadband connection, long and short range

radio frequency (RF) connection, or GPS connection.

                47   .   *FIG. 17 is a perspective view of the multi sensor detection and lock

disabling system ofthe present invention illustrating the incorporation of the features and

elements of the detector case to a cell phone and cell phone case"; (Patent No. 9,589,439     ("'439

Patent); Col. #61 Lines 59-62).

                48.      "FIGS. 18 and 19 illustrate representative examples ofthe integration of

po(able electronic commrurication or telecommunication devices such       as a   cell phone 187a

and/or a laptop computer l87b with the monitoring equipment 138"; (Patent No. 9,589,439

("'439 Paten0; Col. #13; Lines 8-11).

Unauthorized Use of Plaintiffs Communication / Monitoring Devices and Equipment

                49.      The U.S. Govemment Accountability Office: According to the most recent

OMB estimate, the federal govemment spends about $1.2 billion annually on about 1.5 million

mobile devices and associated services. View GAO-15-431. For more information. contact Carol

R. Cha at (202) 512-4456 or chac@gao.gov.

                50.      Beginning in year 2008 and continuing, the "Govemment" has given

authorization and consent through contracts, agreements, grants, and procurements, to at least the



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mobile device manufacturers and developers of Apple, Samsung, Qualcomm, LG, Motorola, and

Panasonic for the development and manufacture of mobile devices to be used by and for the

"Govemment". All contracts, agreements, and procurements were made with the mobile device

manufacturers Apple, Samsung, Qualcomm, LG, Motorola and Panasonic after the Patent

Owner gave notice to the "Govemment" between the years 2006 and 2007 . See Plaintifls

discovery production at Section VII., A-E; and Docket No.    l0l   for the following:

               51.     2008: "DHS S&T is pursuing what's known as cooperative research and

development agreements with four cell phone manufacturers: Qualcomm, LG, Apple, and

Samsung. These written agreements, which bring together a private company and a govemment

agency for a specific project, often accelerate the commercialization oltechnology developed       for

govemment purposes." Quote taken directly from the Department of Homeland Security's

website.

               52.     2008: "During the demonstration, chemical readings captured from the

simulated scenarios as well as location data are transmitted to the test network. The cell phone

number is also transmitted; however this information is scrubbed by the cell phone provider (per

agreements with S&T) and is not displayed in the final output."

               53.     2012: "The U.S. Department of Defense expects in coming weeks to grant

two separate security approvals for Samsung's Galaxy smartphones, along with iPhones and

iPads running Apple's latest operating   system   moves that would boost the number of U.S.

govemment agencies allowed to use those devices. An approval by the Pentagon is considered as

the highest standards in security."

               54.     2013: Smartphones and Handheld Devices for Defense and Homeland

Security Strategies, Plans, Challenges & Opportunities Symposium:



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             55.      "U.S. Coast Guard Smartphones Needs, Challenges &

      Opportunities" Rear Admiral Robert E. Day, Jr., Assistant Commandant for

      Command, Control, Communications, Computers & Information Technology,

      (C4IT) & Director, Coast Guard Cyber Command, Pre-Commissioning

      Detachment, U.S. Coast Guard.

             56.      "DoD Mobile Srategy" Mr. Mark Norton, Senior Engineer,

      Department of Defense, Office of the Chief Inlormation Officer, Office of the

      Under Secretary of Defense (CIO/OSD).

             57.      "Update on Spectrum Sharing for Mobile Devices at the Tactical

      Edge" Mr. Julius Knapp, Chief Engineer, Office of Engineering and Technology,

      Federal Communications Commission (FCC).

             58.      "Secure Smartphone Computing, Needs and Opportunities for a

      Secure yet Mobile Platform" Mr. Keith Trippie, Executive Director, Enterprise

      System Development, Office of the Chief Information Officer, Department   of

      Homeland Security (DHS).

             59.      "DISA's Strategic Mobility Vision" Mr. Gregory Youst, Chief

      Mobility Engineer, Technology and Integration Division, Chief Technology

      Officer, Defense Information Systems Agency (DISA) (invited).

             60.      "Content-Based Mobile Edge Networking (CBMEN)" Dr. Keith

      Gremban, PhD., Program Manager, Content Based Mobile Edge Networking

      (CBMEN), Defense Advanced Research Project Agency (DARPA).

             61   .   "Transformative Apps Program" Mr. Doran Michaels, Program

      Manager, Transformative Apps, DARPA.



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                       62.    "Windshear II Update" Mr. John-lsaac Clark, Chief Innovation

                Officer, Thermopylae Sciences & Technology & Mr. Lenwood Washington,

                Senior Systems Engineer, Mission Integration Directorate, Acquisition and

                Engineering, National Reconnaissance Offrce (NRO).

                        63.   "Advancements in Mobile Devices for Chem-Bio Detection and

                Characterization" Dr. Calvin CHUE, PhD., Research Biologist, U.S. Army

                Research, Development and Engineering Command (RDECOM).

                        64.    'ADAPT Unattended Ground       Sensor Using Android Operating

                System and Original Design Manufacturers" Mr. Mark Rich, Program Manager,

                Strategic Technology Oflice, DARPA.

               65.    2013: "The U.S. Department of Defense confirmed in a statement on

Friday that Apple's iOS 6 mobile operating system is secure enough to connect to secure

Pentagon networks."

               66.     2013: "Samsung's potential govemment deal signals new era for mobile

security: Samsung may be ready to sign deals with the FBI and the U.S. Navy. Analysts say the

news is proof that mobile in the enterprise has arrived. Samsung is close to inking a deal with the

FBI and the U.S. Nary for mobile devices."

               67.    2013: "National Institute of Standards and Technology (NIST), which

examines and tests mobile devices and technologies for security clearance, granted the Apple

software FIPS 140-2 certification (Level 1) last Friday. This approves iPhones and iPads running

the software in conjunction with the U.S. govemment's lowest level of national security

clearance."




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                 68.    2013: "The U.S. Department ofDefense announced today that it was

further dropping its exclusive BlackBerry contract and opening all of its mobile communications

networks to Apple, Google, and other device makers. 'The Department of Defense is taking a

leadership role in leveraging mobile device technology by ensuring its workforce is empowered

with mobile devices,' Defense Department Chief Information Officer Teri Takai said in

a statement   today."

                 69.    2013: "Samsung recently received the nod from the Pentagon for any

Samsung device protected by the Knox security software, which includes the Galaxy 54 and

other compatible tablets."

                 70.    2013: "For the first time, Apple's push into federal use opens up the U.S.

govemment and military to competition for device procurement in the mobile space."

                 71.    2014: "The mobile device management system-MDM-began operating

Jan. 3las a control system through which approved devices must operate to get access to Defense

Department networks. The MDM enforces security policies by blocking or permitting certain

functions on smartphones and tablets."

                 72.    2014: "By opening its networks to Samsung and Apple devices, Defense

Inlormation Systems Agency (DISA) intends to broaden the variety of mobile computers that

troops and civilian Defense Department employees can use in the field, on bases, in offices and

elsewhere to receive and send information and work almost anywhere at any time."

                73.     2014: "Samsung has announced that five ofits Galaxy devices have been

approved for the U.S government's Defense Information System Agency (DISA) products list.

The devices include the Galaxy 54, Galaxy 54 Active, Galaxy Note 3, the Galaxy Note Pro 12.2

and the Galaxy Note 10.1 2014 Edition.    All of them   are using Android 4.4 (KitKat) along



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with Samsung's KNOX secure workspace platform, which includes systemJevel encryption for

enterprise-based apps."

                74.    2014: "The United States Air Force is replacing 5000 legacy BlackBerry

smartphones with Apple's iPhone, and eventually all of their BlackBerry users      will   have to make

the changeover. The announcement, reported by Defense News, comes as the future            of

BlackBerry within the Department of Defense is debated, with the chips seeming to fall on the

side of transitioning away from a network supporting a mish-mash of BlackBerry 6 and 7

devices to a mix of modem devices         though apparently without BlackBerry 10 in that mix."
                                      -
                75.    2015: "Navy Plans for Android and iOS Devices. The Navy Enterprise

Networks (NEN) Program Oflice is making progress on plans to transition to more modem

mobile devices. Early users will be able to choose between the iPhone 5c and 5s, but the Navy

wants to be as flexible as possible and allow users to pick the devices that will work best for

them, and plans to approve a wider range ofdevices. Approval to use the iPhone 6 and iPad           Air

is expected in Jan. or Feb. 2015, and approval to use Samsung Android phones and tablets is

expected in March."

               76.     2016: "This fiscal year Marines will receive Samsung smart phones that

make calling for fire support easier, quicker and more accurate. The Target Handoff System

Version 2, or THS V.2, is a portable system designed for use by dismounted Marines to locate

targets, pinpoint global positioning coordinates and call for close air, artillery and naval fire

support using secure digital communications."

               77.     2016: "Both the LG Electronics G5 and V10 received a security

certification from the U.S. Defense Information Systems Agency, as well as a certihcation by the

National Information Assurance Partnership, which administers independent tests to see ifthe



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devices are reliable and secure. The two newer LG smartphone models havejoined the select         list

of official devices that can be used by Department of Defense employees, according to the

handset manufacturer and a DOD website. LG's older models, the G3 and G4 also received

DISA certifications. The phones come equipped with LG's encryption technology from

2013, LG GATE. The advanced tech has secure email options, supports Virtual Private Network

(VPN), and can remotely wipe the phone's memory."

               78.    2016: "Use of Mobile Technology for Information Collection and

Dissemination": A DACS Technology Assessment Report: The Data & Analysis Center for

Software (DACS) was one of several United States Department of Defense (DoD)

sponsored Information Analysis Centers (lACs), administered by the Defense Technical

Information Center (DTIC). It was managed by the U.S. Air Force Research Laboratory (AFRI)

and operated by Quanterion Solutions Inc. under a long term DoD contract. The website is no

longer available and was replaced by https://www.csiac.org/ DACS Report Number 518055:

Contract FA1500-10-D-0010; Prepared for the Defense Technical Information Center; Prepared

By: Chet Hosmer, Chief Scientist; Carlton Jeffcoat, Vice President, Cyber Security Division;

Matt Davis, Malware Analyst; Wetstone/Allen Corporation of America; 10400 Eaton Place;

Fairfax, VA 22030; Thomas McGibbon, DACS Director; Quanterion Solutions Inc. 100

Seymour Road Utic4   NY   13502. (Paragraphs 79-84 below were taken fiom the Report)

              79.     Mobile technology is increasingly being utilized   as a   tool for information

       dissemination and collection across the Govemment. The Department of Defense (DoD),

       Department of Homeland Security (DHS), Intelligence communities, and law

       enforcement are among those agencies utilizing mobile technology for information

       management. The primary mobile devices being utilized are the iPad@, iPhone@,



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AndroidrM, and Windows MobilerM. The open architecture of these devices is

advantageous for rapid application development and release.

        80.      New mobile technologies such as the iPhone@, iPad@, AndroidrM and

similar devices have revolutionized the way information can be distributed. In the past,

mobile devices such as Personal Data Assistants (PDAs) primarily focused on data

storage and display. Today, an increasingly large number ofdevices are focusing not only

on data storage and display, but also on communication and processing. As a result

organizations have begun leveraging mobile technology as a means of information

dissemination. These organizations include, but are not limited to, Govemment

organizations such as the Department of Delense (DoD), the United States Army, the

Department of Homeland Security (DHS), and a number of critical infrastructure

organizations.

        81.      Significant advancements in mobile technology have occurred since

September 11,2001, both in the advancement ofthe devices and the infrastructures that

support them. For example, mobile devices like the AndroidrM and iPad@ can now

operate equally and seamlessly via traditional cellular networks, as well as with

infrastructure/ad hoc wireless networks.

        82.      The Defense Advanced Research Projects Agency (DARPA) has launched

a program   known as the Transformative Apps Program. The purpose of this program is to

place the correct mobile applications into the hands of warfighters. To facilitate this, a

military application store is being created to promote collaboration between developers

and users in the field.




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                83.       Another DoD initiative is Connecting Soldiers to Digital Applications

       (CSDA), sponsored by the Army Capabilities Integration Center (ARCIC) and the Army

       CIOIG6, with support from the Army Training and Doctrine Command (TRADOC)

       deputy commanding general for Initial Military Training, and other Army organizations.

       The purpose      ofthis initiative   is to determine the value of giving soldiers applications on

       mobile devices [ARMY]. During Phase One of the initiative the Army experimented with

       several t1,pes of smart phones to evaluate the effectiveness and usefulness of various

       mobile applications in the field. Devices tested included the Apple iPhone@, Google

       AndroidrM devices, and Microsoft Windows MobilerM phones [C4lSR]. On these

       devices, applications were tested which covered a wide range of functions.

                84.       DoD is also starting to integrate chemical and biological sensors into

       mobile devices. Researchers from the University of Califomi4 San Diego have

       developed a miniature chemical sensor which can detect harmful gas in the air and

       automatically send the information about the type and transmitting range olthe gas. The

       chemical sensor is a silicon chip with hundreds of independent miniature sensors. These

       can   identi$ the molecule ofspecific toxic         gas and then report on   it.

                85.       The Bayh-Dole Act's coverage is not limited to procurement contracts

govemed by the Federal Acquisition Regulation but extends to atl "funding agreements" lor

research and development. "Funding agreements" include contracts, grants, and cooperative

agreements." Only "subject inventions" are covered by the Bayh-Dole Act's provisions, so it is

important to understand the definition of this term. "Subject invention" is "any invention of the

contractor conceived or first actually reduced to practice in the performance of work under a

fi.rnding agreement."



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               86.    The statute is implemented in the FAR though the mandatory

"Authorization and Consent" clause for solicitations and contracts:"

       (a) The Govemment authorizes and consents to all use and manufacture, in performing

       this contract or any subcontract at any tier, ofany invention described in and covered by

       a United States patent (1) embodied in the structure or composition    ofany article the

       delivery of which is accepted by the Govemment under this contract or (2) used in

       machinery, tools, or methods whose use necessarily results from compliance by the

       Contractor or a subcontractor with (i) specifications or written provisions forming a part

       olthis contract or (ii) specific written instructions given by the Contracting 0fficer

       directing the manner of performance. The entire liability to the Govemment for

       infiingement ofa patent ofthe United States shall be determined solely by the provisions

       ofthe indemnity clause, ifany, included in this contract or any subcontract hereunder

       (including any lower-tier subcontract), and the Government assumes liability for all other

       infringement to the extent of the authorization and consent herein above granted.

       (b) The Contractor agrees to include, and require inclusion of, this clause, suitably

       modified to identi! the parties, in all subcontracts at any tier for supplies or services

       (including construction, architect-engineer services, and materials, supplies, models,

       samples, and design or testing services expected to exceed the simplified acquisition

       threshold); however, omission of this clause fiom any subcontract, including those at or

       below the simplified acquisition threshold, does not affect this authorization and consent.

                                            COUNT I:

Fifth Amendment Takings of Plaintilfs Intangible Patent(s) Subject Matter: The United

States, without Authorization and Consent, and without Just Compensation, has Taken



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and Used with the Public the Intangible Patented Subject Matter of U.S. Patents:

7)85,497;7,636,033,8,106,752;8)34,761,            E,531280, Rf,43,891; R-843,990; 9,096,189 and

9,589,439.

                87.    Upon information and belief, the United States has "taken" and continues

to "take" the Plaintiff s personal property for the benefit ofthe public without paying just

compensation for the "takings". Pursuant to the guidelines of a "Govemment Fifth Amendment

Takings of a Patent" through the power of "eminent domain": the Govemment has taken the

private and personal Foperty subject matter as outlined in the Plaintifls U.S. Patent No.

7,385,497 (*'497 Patent"), U.S. PatentNo. 7,636,033 ("'033 Patent"), U.S. PatentNo. 8,106,752

(*'752 Patenf'), U.S. Patent No. 8,334,761 ('761" Patent'), U.S. Patent No. 8,531,280 C'280

Patent"), U.S. Reissue Patent No. RE43,891 (*'891 Patenf), U.S. Reissue Patent No. RE43,990

("'990 Patenf'), U.S. Patent No. 9,096,189 (*'189 Patenf), and U.S. Patent No. 9,589,439

("'439 Patent"), specifications and patent claims that are significantly the same or equivalent to

the claimed inventions of the   Plaintiff;   the Govemment was given notice, made aware of, and

told or signaled that the private and personal property subject mafter as outlined in the Plaintiff     s


patent(s) specifications and patent claims that was taken by the Government are significantly the

same or equivalent to the claimed inventions of the     Plaintiff; the Govemment has taken and used

lbr the benefit ofthe public, the private and personal property subject matter as outlined in the

Plaintifls patent(s) specifications   and patent claims that are significantly the same or equivalent

to the claimed inventions of the Plaintiff; resulting in the Govemment's manufacture and

development ofproducts, devices, methods, and systems that are signiticantly the same or

equivalent to the claimed inventions ofthe Plaintiff; the resulting economic impact ofthe

"Takings" is a reduction in value of the Plaintifls property and by virtue ofthe access,



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disclosure, manufacture, development or use, by or for the Govemment and its third party

awardees, has destroyed the Patent Owner's competitive edge; through the use, disposal, and

right ofa govemment to take private or personal property for public use, the "Takings" has had a

substantial adverse impact (means unfavorable or harmful; preventing success or development)

on "the reasonable investment-backed expectations"    ofthe Plaintiff; the character of the

Govemment's action was triggered when the "Takings" caused a permanent physical invasion           of

the Plaintifls property and eliminated all economically beneficial uses ofsuch property; without

authorization and consent from the Patent Owner and withoutjust compensation to the Plaintiff.

               88.     As a result ofcontracts, agreements, publications, solicitations, awards,

announcements, and grants, the United States actions and conduct and the actions and conduct       of

its agents, including at least the following agencies: Department olHomeland Security (DHS),

Domestic Nuclear Detection Office (DNDO), Department of Defense (DoD), U.S. Defense

Advanced Research Projects Agency (DARPA), National Science Foundation (NSF),

Department of Air Force (DOAF), National Institutes of Health (NIH), National Aeronautics and

Space Administration   (NASA), Department of Energy (DOE), Department of the Army (DOA),

U.S. Army Edgewood Chemical Biological Center (ECBC), Army Research Laboratory (ARL),

Department of the Navy (DON), U.S. Naval Air Systems Command (NAVAIR), Office of Naval

Research's (ONR), U.S. Naval Research Laboratory     NRL), U.    S. Army Communications-

Electronics Research, Development and Engineering Center (CERDEC), Defense Threat

Reduction Agency (DTRA), Environmental Protection Agency (EPA), and Federal Emergency

Management Agency (FEMA), General Services Administration (GSA), Department of Justice

(DOJ), Joint Program Executive Office for Chemical and Biological Defense (JPEO-CBD); Joint

Acquisition Chemical Biological Radiological Nuclear Knowledge System (JACKS); Chemical



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Biological Radiological Nuclear Inlormation Resource Center (CBRN-lRC), Defense Advanced

Research Project Agency (DARPA), Homeland Security Advanced Research Project Agency

(HSARPA), Department of Homeland Security Science & Technology Directorate (DHS/S&T),

Department of Energy; Oak Ridge National Laboratory @OE/ORNL), The Air Force Research

Laboratory (AFRL), and the Department of Homeland Security Integrated Chemical Biological

Radiological Nuclear Explosives (DHS/ICBRNE), has used for the benefit of the public,

authorized the use for the benefit of the public, shared intangible subject matter, without license

or legal right, or authorization and consent fiom the Plaintitr, Plaintiff   s   personal property

subject matter as described in and covered by the Plaintiffs '497,'033,'752,'761,'280,'891,

'990, '189, and '439 patents.

               89.     Plaintiff re-alleges and incorporates by reference the allegations of

paragraphs I through 88, as if fully set forth herein.

               90.     Plaintiffis the sole holder ofall rights, titles, and interests in and to the

'497;'033,'752;'761, '280, '891; '990, '189 and '439 patents, including all rights to enforce

this patent and collect past and future damages for infringement.

                                            COUNT        II:
Infringement of Plaintil?s Tangible Patented Claimed Inventions: The United States has

Infringed and Continues to Infringe, the Tangible Patented Claimed Inventions of U.S.

Patents: 7,385,497;7,636,033,8,106,752; 8334,761,8,531,280, RE43,891; R843,990;

9,096,189; 9589,439 and the Continuation Patent Application 15/530,839 filed March 06,

2017 that published on 0612912017 under Publication No: US 2017-0186259                 Al.
               91.     Upon information and belief, the United States has infringed, and

continues to infringe, the Plaintifls Tangible Patented Claimed Inventions of U.S. Patents:



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'7,385,497 (*'497 Patent"), U.S. Patent No. 7,636,033 ("'033 Patent"), U.S. Patent No. 8,106,752

(*'752Patent"), U.S. PatentNo. 8,334,761 ("761" Patent"), U.S. PatentNo. 8,531,280 C'280

Patenf'), U.S. Reissue Patent No. RE43,891 ("'891 Patent"), U.S. Reissue Patent No. RE43,990

("990 Patent"), U.S. PatentNo.9,096,189 ("'189 Patent"), U.S.    Patent No. 9,589,439   ("'439

Patent") and the Continuation Patent Application l51530,839 filed March 06, 2017 that published

on06l29l20l7 under Publication No: US 2017-0186259 Al.

              92.     As a result of contracts, agreements, procurements, and grants, for the

development and commercialization of Plaintifls tangible patented claimed inventions, the

United States actions, which includes at least the following agencies: Department of Homeland

Security (DHS), Domestic Nuclear Detection Office (DNDO), Department of Defense (DoD),

U.S. Defense Advanced Research Projects Agency (DARPA), National Science Foundation

(NSF), Departrnent of Air Force (DOAF), National Institutes of Health (NIH), National

Aeronautics and Space Administration (NASA), Department of Energy (DOE), Department             of

the Army (DOA), U.S. Army Edgewood Chemical Biological Center (ECBC), Army Research

Laboratory (ARL), Department of the Navy (DON), U.S. Naval Air Systems Command

(NAVAIR), Office of Naval Research's (ONR), U.S. Naval Research Laboratory NRL), U.             S.


Army Communications-Electronics Research, Development and Engineering Center (CERDEC),

Defense Threat Reduction Agency (DTRA), Environmental Protection Agency (EPA), and

Federal Emergency Management Agency (FEMA), General Services Administration (GSA),

Department of Justice (DOJ), Joint Program Executive Office for Chemical and Biological

Defense (JPEO-CBD); Joint Acquisition Chemical Biological Radiological Nuclear Knowledge

System (JACKS); Chemical Biological Radiological Nuclear Information Resource Center

(CBRN-IRC), Defense Advanced Research Project Agency (DARPA), Homeland Security



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Advanced Research Project Agency (HSARPA), Department of Homeland Security Science                  &

Technology Directorate (DHS/S&T), Department of Energy; Oak Ridge National Laboratory

(DOE/ORNL), The Air Force Research Laboratory (AFRL), and the Department of Homeland

Security Integrated Chemical Biological Radiological Nuclear Explosives (DHS/ICBRNE), has

used, authorized the use, manufactured and developed, without license or legal right, or

authorization and consent, Plaintifls tangible patented claimed inventions as described in and

covered by the Plaintifls '497 ,'033,'752,'761,'280, '891, '990, '189, and '439 patents.

                                LG Electronics G5 Smartphone

Count    I:
                93.    Upon information and belief, the various Govemment Agencies (!]fl 49-

78), the Department of Homeland Security (DHS), and the Department of Defense (the United

States), after several notices between the years 2006 -2012, has "taken" and continues     to'lake"

the Plaintiffs personal property and used it for the benefit ofthe public without payingjust

compensation to the Plaintiff. Pusuant to the guidelines of a "Govemment Fifth Amendment

Takings", the Govemment has taken the intangible private and personal property subject mafter

as   outlined inthe Plaintiffs'497,'033,'752,'761, '280,'891,'990,'189, and'439 U.S. patents

specifications and patent claims that are significantly the same or equivalent to the claimed

inventions of the Plaintiff. Significantly the same or equivalent to the specifications ofthe "LG

Electronics G5 Smartphone".

                94.    As a result ofat least one of, a public offer to contract; public offer to

enter into a cooperative agreement; the publication ofa solicitation; a public offer to award; a

public announcement oftangible subject matter material; a public offer for     a granU or, the


interagency exchange of unauthorized information, the United States actions and conduct and the



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actions and conduct of its agents, including at least that ofthe various Govemment Agencies (fllf

49-78), the Departrnent of Homeland Security (DHS), and the Department of Defense, has used

for the benefit of the public, authorized the use for the benefit of the public, shared intangible

subject matter without a license or legal right, and without authorization and consent from the

Plaintiff; Ptaintifls personal property subject matter   as described   in and covered by the

Plaintifl's '497,'033,'752,'761,'280, '891, '990, '189, and '439 patents.

               95.     Furtheq as a result of the Covemment (United States) Fifth Amendment

"Takings" of Plaintifls property and using it with the public without just compensation to the

Plaintiff, the resulting economic impact ofthe "Takings" is a reduction in value ofthe Plaintiff     s


property by virtue ofthe access, disclosure, manufacture, development or use, by or for the

Govemment and its third party awardees; has destroyed the Plaintiffs competitive edge; has had

a substantial adverse impact (means unfavorable or harmful; preventing success or development)

on "the reasonable investment-backed expectations" of the Plaintiff; the character ofthe

Govemment's action was triggered when the "Takings" caused a permanent physical invasion of

the PlaintifPs property and eliminated all economically beneficial uses of such property by way

of the Govemment's manufacture and development ofproducts, devices, methods, and systems

that are significantly the same or equivalent to the claimed inventions ofthe Plaintiff. Just

compensation is due the Plaintiff for the Govemment's actions under Section 1491.

Count   II:
               96.     Upon information and belief, the United States has infringed, and

continues to infringe, at least claim 22 of the '439 Patent, and claims 18, 118, 12, 28,25,30,22,

and 20 of the '990 Patent as a current manufacturer, consumer, and./or user of the     "LG

Electronics G5 Smartphone". Manufacture for the Government; 2008: The "Cell-All"



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initiative. The Department of Homeland Security's (DHS) Science and Technology Directorate

(S&T), Cell-All aims "to equip your cell phone with a sensor capable of detecting deadly

chemicals", says Stephen Dennis, Cell-All's proglam manager. S&T pursued cooperative

agreements with four cell phone manufacturers: Qlalcomm, LG, Apple, and Samsung. Used by

the Government; 2016: Both the LG G5 and VlO smartphones can be used by the Department

ofDefense. The LG smartphones received a security certification from the U.S. Defense

Information Systems Agency, as well as a certification by the National lnformation Assurance

Parhrership. Sensors will integrate with 261 million cell phones now used in the U.S. Leverage

billions ofdollars spent each year in sensor, carrier network and cell phone development.

Multiple sensors network for chemical profiling; Cell-All aims "to equip your cell phone with a

sensor capable ofdetecting deadly chemicals", says Stephen Dennis,       Cell-All's program

manager. Multiple sensor units per phone are possible. Stephen Dennis envisions a chemical

sensor in every cell phone in every pocket, purse, or belt holster.

               97.     As a result of contracts, agreements, and procurements with various

Govemment Agencies (flfl 49-78), the Department of Homeland Security (DHS), the Department

ofDefense, and LG Electronics for the manufacture, developmen! commercialization, and/or

use of the communication/ monitoring device     "LG Electronics G5 Smartphone", the United

States has used, authorized the use, and manufactured, without license or legal right,   Plaintifls

inventions described in and covered by the '439,   afi   '990 Patents.

                                LG Electronics V10 Smartphone

Count I:

               98.     Upon information and belief, the various Government Agencies (flfl 49-

78), the Department of Homeland Security (DHS), and the Departrnent of Defense (the United



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States), after several notices between the years 2006 -2012, has "taken" and continues to "take"

the Plaintifls personal properf and used it for the benefit ofthe public without payingjust

compensation to the Plaintiff. Pursuant to the guidelines of a "Govemment Fifth Amendment

Takings", the Govemment has taken the intangible private and personal property subject matter

as   outlined in the Plaintiffs '497,'033,'752,'761, '280, '891, '990, '189, and '439 U.S. patents

specifications and patent claims that are significantly the same or equivalent to the claimed

inventions of the Plaintiff. Sipifrcantly the same or equivalent to the specifications of the "LG

Electronics V I 0 Smartphone".

                 99.     As a result ofat least one of, a public offer to contract; public offer to

enter into a cooperative agreement; the publication     ofa solicitation;   a   public offer to award; a

public announcement of tangible subj ect matter material; a publ ic offer for         a grant; or, the


interagency exchange of unauthorized information, the United States actions and conduct and the

actions and conduct of its agents, including at least that ofthe various Govemment Agencies (flfl

49-78), the Department of Homeland Security (DHS), and the Department of Defense, has used

for the benefit ofthe public, authorized the use for the benefit ofthe public, shared intangible

subject matter without a license or legal right, and without authorization and consent from the

Plaintiff; Plaintiffs personal property subject matter   as described   in and covered by the

Plaintiffs '497,'033,'752,'761,'280, '891, '990, '189, and '439 patents.

                 100.    Further, as a result of the Govemment (United States) Fifth Amendment

"Takings" of Plaintiffs property and using it with the public without just compensation to the

Ptaintifl   the resulting economic impact of the "Takings" is a reduction in value        ofthe Plaintifl's

property by virtue ofthe access, disclosure, manufacture, development or use, by or for the

Govemment and its third party awardees; has destroyed the Plaintiffs competitive edge; has had



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a substantial adverse impact (means unfavorable or harmful; preventing success or development)

on "the reasonable investment-backed expectations" ofthe Plaintiff; the character ofthe

Govemment's action was triggered when the "Takings" caused a permanent physical invasion of

the Plaintifls property and eliminated all economically beneficial uses ofsuch property by way

ofthe Govemment's manufacture and development ofproducts, devices, methods, and systems

that are significantly the same or equivalent to the claimed inventions ofthe Plaintiff. Just

compensation is due the Plaintifffor the Govemment's actions under Section 1491.

Count    II:
                 101.     Upon information and belief, the United States has infringed, and

continues to infringe, at least claim 22of the '439 Patent, and claims 18, I18, 12,28,25,30,22,

and 20   ofthe '990   Patent as a current manufacturer, consuner, and/or user of the   "LG

Electronics    Vl0   Smartphone". Manufacture for the Government; 2008: The "Cell-All"

initiative. The Department of Homeland Security's (DHS) Science and Technology Directorate

(S&T), Cell-All aims "to equip your cell phone with     a sensor capable   of detecting deadly

chemicals", says Stephen Dennis, Cell-All's program manager. S&T pursued cooperative

agreements with four cell phone manufacturers: Qualcomm, LG, Apple, and Samsung. Used by

the Government; 2016: Both the LG G5 and V10 smartphones can be used by the Department

ofDefense. The LG smartphones received a security certification fiom the U.S. Defense

Information Systems Agency, as well as a certification by the National Information Assurance

Partrrership. Sensors will integrate with 261 million cell phones now used in the U.S. Leverage

billions ofdollars spent each year in sensor, carrier network and cell phone development.

Multiple sensors network for chemical profiling; Cell-All aims "to equip your cell phone with a

sensor capable ofdetecting deadly chemicals", says Stephen Dennis,         Cell-All's program



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manager. Multiple sensor units per phone are possible. Stephen Dennis envisions a chemical

sensor in every cell phone in every pocket, purse, or belt holster.

                  102-   As a result of contracts, agreements, and procurements with various

Govemment Agencies (flfl 49-78), the Department of Homeland Security (DHS), the Department

of Defense, and LG Electronics for the manufacture, development, commercialization, and/or

use of the communicatior/ monitoring device         "LG Electronics Vl0 Smartphone", the United

States has used, authorized the use, and manufactured, without license or legal right,      Plaintiffs

inventions described in and covered by the '439, ard '990 Patents.

              Apple's iPhone / iPad Camera Biosensor for Facial Heart Rate Monitor

                                           (Detection device)

Count    I:
                  103.   Upon information and belief, the various Govemment Agencies (!ftf 49-

78), the Department of Homeland Security (DHS), (the United States), after several notices

between the years 2006 -2012, has "taken" and continues to "take" the PlaintifPs personal

property and used it for the benefit ofthe public without paying just compensation to the

Plaintiff. Pursuant to the guidelines of   a   "Govemment Fifth Amendment Takings", the

Govemment has taken the intangible private and personal property subject matter as outlined in

the   Plaintifls'497,'033,'752,'761, '280,'891, '990,       ' 189,   and'439 U.S. patents specifications

and patent claims that are significantly the same or equivalent to the claimed inventions of the

Plaintiff. Significantly the same or equivalent to the specifications ofthe "Apple iPhone camera

biosensor to measure heart rates".

                 104.    As a result ofat least one of, a public offer to contract; public offer to

enter into a cooperative agreement; the publication of a solicitation; a public offer to award; a



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public announcement of tangible subject matter material; a public offer for   a grant; or, the


interagency exchange of unauthorized information, the United States actions and conduct and the

actions and conduct of its agents, including at least that of the various Govemment Agencies     ffi
49-78), and the Department of Homeland Security (DHS) has used for the benefit ofthe public,

authorized the use for the benefit ofthe public, shared intangible subject matter without a license

or legal right, and without authorization and consent from the Plaintiff; Plaintiffs personal

property subject matter as described in and covered by the Plaintifls '497,'033,'752,'761,

'280, '891, '990, '189, and'439 patents.

               105.    Further, as a result of the Govemment (Jnited States) Fifth Amendment

"Takings" of Plaintifls property and using it with the public without just compensation to the

Plaintiff, the resulting economic impact ofthe "Takings" is a reduction in value ofthe Plaintiff    s


property by virtue of the access, disclosure, manufacture, development or use, by or for the

Govemment and its third party awardees; has destroyed the Plaintifls competitive edge; has had

a substantial adverse impact (means unfavorable or harmful; preventing success or development)

on "the reasonable investment-backed expectations"    ofthe Plaintiff; the character ofthe

Govemment's action was triggered when the "Takings" caused a permanent physical invasion          of

the Plaintifls prop€rty and eliminated all economically beneficial uses ofsuch prope(y by way

of the Govemment's manufacture and development ofproducts, devices, methods, and systems

that are significantly the same or equivalent to the claimed inventions ofthe Plaintiff. Just

compensation is due the Plaintiff for the Govemment's actions under Section 1491.

Count   II:
               106.    Upon inlormation and belief, the United States has infringed, and

continues to infringe, at least claim 22 of the'439 Patent, and claims 18, 1 18, 12, 28,25,30,22,



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and 20 of the '990 Patent as a current manufacturer, consumer, and/or user of the "Apple iPhone

camera biosensor to measure heart rates". A new iPhone app tums your device's camera into a

biosensor to measure your heart rate. The app from the Rock Health accelerator program is

called Cardiio. The technology was developed by spouses Yukkee and Ming-Zher Poh at MIT's

Media Lab. Cardiio is powered by cutting-edge research and science conducted at the MIT

Media Lab. Every time your heart beats, more blood is pumped into your face. Cardiio uses your

camera to track these tiny changes in reflected light that are not visible to the human eye and

calculate your heart beat. Cardiio works: look straight into the front camera ofyour iPhone/iPad

to measure your heart rate fiom a distance.

                  107.   As a result ofcontracts, agreements, and procurements with various

Govemment Agencies (flfl 49-78), the Department of Homeland Security (DHS) and Apple Inc.

for the manufacture, development, commercializatiorl and/or use of the communication/

monitoring device "Apple iPhone camera biosensor to measure heart rates", the United States

has used, authorized the use, and manufactured, without license or legal right,   Plaintifls

inventions described in and covered by the'439, and '990 Patents.

     Apple's iPhone 5, 5c, 5s, 6, 6 Plus and the iPad interconnected to the Apple Watch

                                         (detection device)

Count   I:
                  108.   Upon information and belief, the various Govemment Agencies (flfl 49-

78), the Department of Homeland Security (DHS), (he United States), after several notices

between the years 2006 -2012, has "taken" and continues to "take" the PlaintifPs personal

property and used it for the benefit of the public without payingjust compensation to the

Plaintiff    Pursuant to the guidelines of a "Govemment Fifth Amendment Takings", the




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Govemment has taken the intangible private and personal property subject matter as outlined in

the   Plaintills'497,'033,'752,'761, '280,'891, '990,'189, and'439 U.S. patents specifications

and patent claims that are sigrificantly the same or equivalent to t}le claimed inventions of the

Plaintiff. Significantly the same or equivalent to the specifications of the "Apple iPhone

interconnected to Apple Watch detection device".

                109.   As a result ofat least one of, a public offer to contract; public offer to

enter into a cooperative agreement; the publication ofa solicitation; a public offer to award; a

public announcement of tangible subject matter material; a public offer for      a gfturt; or, the


interagency exchange of unauthorized information, the United States actions and conduct and the

actions and conduct of its agents, including at least that of the various Govemment Agencies (flfl

49-78), and the Department of Homeland Security (DHS) has used for the benefit ofthe public,

authorized the use for the benefit ofthe public, shared intangible subject matter without a license

or legal right, and without authorization and consent from the Plaintiff; Plaintifls personal

property subject matter as described in and covered by the PlaintifPs '497 ,'033,'752,'761,

'280, '891, '990, '189, and '439 patents.

                I10.   Further, as a result of the Govemment (United States) Fifth Amendment

"Takings" of Plaintifls property and using it with the public without just compensation to the

Plaintiff, the resulting economic impact of the "Takings" is   a reduction   in value ofthe Ptaintifls

property by virtue ofthe access, disclosure, manufacture, development or use, by or for the

Government and its third party awardees; has destroyed the PlaintifFs competitive edge; has had

a substantial adverse impact (means unfavorable or harmful; preventing success or development)

on "the reasonable investment-backed expectations" ofthe Plaintiff; the character of the

Govemment's action was triggered when the "Takings" caused a permanent physical invasion             ol


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the   Plaintifls property   and eliminated all economically beneficial uses ofsuch property by way

ofthe Govemment's manufacture and development ofproducts, devices, methods, and systems

that are significantly the same or equivalent to the claimed inventions ofthe Plaintiff. Just

compensation is due the Plaintiff for the Govemment's actions under Section 1491.

Count    II:
                 I11.       Upon information and beliel the United States has infiinged, and

continues to infringe, at least claim 22 ofthe'439 Patent, and claims 18,     ll8,12,28,25,30,22,

and 20 of the '990 Patent as a current manufacturer, consumer, and/or user      ofthe "Apple iPhone

interconnected to Apple Watch detection device". iPhone / iPad; biosensor for detecting heart

rate; leveraged intemet and GPS connections; power source battery; CPU; Iight indicators) The

heart rate sensor in Apple Watch uses photo plethysmography (heart rate (HR) and pulse

oximeter oxygen saturation (SpO2) from wearable photoplethysmographic (PPG) biosensors.

Technology based: Blood is red because it reflects red light and absorbs green light. When heart

beats, the green light absorption is greater. By flashing its LED lights. Apple Watch requires an

iPhone 5, 5c, 5s, 6, and 6 Plus. Apple Watch Bluetooth and Wi-Fi; therefore Apple Watch can

'speak' to the iPad. Apple Watch uses GPS and Wi-Fi to track distance; running indoors         it   uses

accelerometer; cycling outdoors, it uses GPS.

                 112.       As a result of contracts, agreements, and procurements with various

Govemment Agencies (lffl 49-78), the Department of Homeland Security (DHS) and Apple Inc.

for the manufacture, development, commercialization, and/or use ofthe communication/

monitoring device "Apple iPhone interconnected to Apple Watch detection device", the United

States has used, authorized the use, and manufactured, without license or legal right,   Plaintiffs

inventions described in and covered by the '439, and '990 Patents.



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      Apple's iPhone / iPad (monitoring equipment); Apple Watch (detection device);

                    interconnected to the August Smart Lock (locking device)

Count I:

                I13.      Upon information and belief, the various Government Agencies (flfl 49-

78), the Department of Homeland Security (DHS), (the United States), after several notices

between the years 2006 -2012, has "taken" and continues to "take" the             Plaintiffs personal

property and used it for the benefit ofthe public without paying just compensation to the

Plaintiff. Pursuant to the guidelines of   a   "Govemment Fifth Amendment Takings", the

Govemment has taken the intangible private and personal property subject matter as outlined in

the Plaintills '497,'033,'752,'761, '280, '891, '990, '189, and '439 U.S. patents specifications

and patent claims that are significantly the same or equivalent to the claimed inventions           ofthe

Plaintiff. Significantly the same or equivalent to the specifications of the "Apple iPhone

interconnected to Apple Watch detection device and the August Smart Lock locking device".

                I   14.   As a result ofat least one of, a public offer to contract; public offer to

enter into a cooperative agreement; the publication      ofa solicitation;   a   public offer to award; a

public announcement of tangible subject matter material; a public offer for            a grant; or, the


interagency exchange of unauthorized information, the United States actions and conduct and the

actions and conduct of its agents, including at least that of the various Govemment Agencies (flfl

49-78), and the Department of Homeland Security (DHS) has used for the benefit ofthe public,

authorized the use for the b€nefit of the public, shared intangible subject matter without a license

or legal right, and without authorization and consent fiom t}re Plaintiff; Plaintilf s personal

property subject matter as described in and covered by the Plaintiff s '497 , '033, '7 52, '7 61,

'280, '891, '990, '189, and'439 patents.



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                I15.   Further, as a result of the Govemment (IJnited States) Fifth Amendment

"Takings" of Plaintifls property and using it with the public without just compensation to the

Plaintiff, the resulting economic impact of the "Takings" is   a   reduction in value of the PlaintifPs

property by virtue of the access, disclosure, manufacture, development or use, by or for the

Govemment and its third party awardees; has destroyed the Plaintiffs competitive edge; has had

a substantial adverse impact (means unfavorable or harm-fi:l; preventing success or development)


on "the reasonable investment-backed expectations" of the Plaintiff; the character of the

Govemment's action was triggered when the "Takings" caused a permanent physical invasion             of

the Plaintifls property and eliminated all economically beneficial uses ofsuch property by way

of the Govemment's manufacture and development of products, devices, methods, and systems

that are significantly the same or equivalent to the claimed inventions ofthe Plaintiff. Just

compensation is due the Plaintifffor the Govemment's actions under Section 1491.

Count    II:
                116.   Upon information and belief, the United States has infringed, and

continues to infiinge, at least claim 22 of the'439 Patent, and claims 18, I 18, 12, 28,25,30,22,

and 20   ofthe '990 Patent   as a current manufacturer, consumer, and/or user    of the "Apple iPhone

interconnected to Apple Watch detection device and the August Smart Lock locking device".

August Smart Lock (e.g. locking device): Apple Watch (e.g. detection device)just got another

tool to make life easier: a digital door key on their wrists. Initiate a lock or unlock from your

Apple Watch with just a swipe and a tap. Apple Watch requires an iPhone and,/or iPad (e.g.

monitoring equipment). Watch app also instantly sends a notification when someone unlocks

your door.




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                117.   As a result ofcontracts, agreements, and procurements with various

Govemment Agencies (!ftf 49-78), the Department of Homeland Security (DHS) and Apple Inc.

for the manufacture, development, commercialization, and/or use of the communication/

monitoring device "Apple iPhone interconnected to Apple Watch detection device and the

August Smart Lock locking device", the United States has used, authorized the use, and

manufactured, without license or legal right, Plaintifls inventions described in and covered by

the '439, and '990 Patents.

 Apple's iPhone / iPad (monitoring equipment); Apple Watch (detection device); Apple's

             HomeKit (interface / gateway); August Connect (interface I gateway\;

                  Interconnected to the August Smart Lock (locking device)

Count   I:
                118.   Upon information and beliei the various Govemment Agencies (fltl 49-

78), the Department of Homeland Security (DHS), (the United States), after several notices

between the years 2006 -2012, has "taken" and continues to "take" the    Plaintifls   personal

property and used it for the benefit of the public without payingjust compensation to the

Plaintiff. Pursuant to the guidelines of   a   "Govemment Fifth Amendment Takings", the

Govemment has taken the intangible private and personal property subject matter as outlined in

the Plaintifls'49'1,'033,'752,'761, '280,'891, '990, '189, and'439 U.S. patents specifications

and patent claims that are sigrificantly the same or equivalent to the claimed inventions of the

Plaintiff. Significantly the same or equivalent to the specifications ofthe "Apple iPhone

interconnected to Apple Watch detection device, the Apple HomeKit interface/gateway, the

August Connect interface/gateway, and the August Smart Lock locking device".
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                I   19.   As a result ofat least one of, a public offer to contract; public offer to

enter into a cooperative agreement; the publication ofa solicitation; a public offer to award; a

public announcement of tangible subject matter material; a public offer for       a grant; or, the


interagency exchange of unauthorized information, the United States actions and conduct and the

actions and conduct of its agents, including at least that of the various Govemment Agencies ('lffl

49-78), and the Department of Homeland Security (DHS) has used for the benefit of the public,

authorized the use for the benefit ofthe public, shared intangible subject matter without a license

or legal right, and without authorization and consent from the Plaintiff; Plaintiffs personal

property subject matter as described in and covered by the Plaintiffs '497,'013,'752,'761,

'280,'891,'990,'189, and'439        patents.

                120.      Further, as a result of the Government (United States) Fifth Amendment

"Takings" of Plaintifls property and using it with the public without just compensation to the

Plaintiff, the resulting economic impact of the "Takings" is a reduction in value ofthe Plaintifls

property by virtue of the access, disclosure, manufacture, development or use, by or for the

Govemment and its third party awardees; has destroyed the Plaintifls competitive edge; has had

a substantial adverse impact (means unfavorable or harmful; preventing success or development)

on "the reasonable investment-backed expectations" of the Plaintiff; the character ofthe

Govemment's action was triggered when the "Takings" caused a permanent physical invasion of

the Plaintifls property and eliminated all economically beneficial uses ofsuch property by way

ofthe Government's manufacture and development ofproducts, devices, methods, and systems

that are significantly the same or equivalent to the claimed inventions of the Plaintiff. Just

compensation is due the Plaintiff for the Govemment's actions under Section 1491          .


Count   II:


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                121.   Upon information and betief, the United States has infiinged, and

continues to infringe, at least claim 22 of the '439 Patent, and claims 18, I18, 12,28,25,30,22,

and 20   ofthe '990 Patent   as a current manufacturer, consumer, and/or user   of the "Apple iPhone

interconnected to Apple Watch detection device, the August Connect interface/gateway, and the

August Smart Lock locking device". August Connect (e.g. interface / gateway): Accessory

product to August Smart Lock (e.g. locking device) and unlock your August Smart Lock from

anywhere, right fiom your iOS or Android smartphone. Works with August App. Available for

Android and iOS devices. Works with Apple@ HomeKitTM (e.g. interface / gateway). Use Siri@

on your iPhone@, iPad@ or iPod touch@ to lock and udock, and check the status ofyour August

Smart Lock. The August Connect is an accessory product to the August Smart Lock, and part            of

the August Smart Home Access System. August Connect requires an August Smart            tock   and

works with the fiee August iOS or Android app. Uses Wi-Fi to connect to your phone and

Bluetooth to connect to the August Smart Lock.

                122.   As a result ofcontracts, agreements, and procurements various

Govemment Agencies (flfl 49-78), the Department of Homeland Security (DHS) and with Apple

Inc. for the manufacture, development, commercialization, and/or use of the communicatiorV

monitoring device "Apple iPhone interconnected to Apple Watch detection device, the August

Connect interface/gateway, and the August Smart Lock locking device", the United States has

used, authorized the use, and manufactured, without license or legal right,   Plaintiffs inventions

described in and covered by the '439, and '990 Patents.

      Apple's iPhone / iPad (monitoring equipment); Apple Watch (detection device);

                interconnected to Ford's MyFord Mobile App (locking device)

Count I:



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                123.   Upon information and belief, the various Govemment Agencies (!{fl 49-

78), the Department of Homeland Security (DHS), (the United States), after several notices

between the years 2006 -2012,   has'laken" and continues to "take" the PlaintifPs personal

property and used it for the benefit ofthe public without payingjust compensation to the

Plaintiff. Pursuant to the guidelines of a "Govemment Fifth Amendment Takings", the

Govemment has taken the intangible private and personal property subject matter as outlined in

the   Plaintiffs'497,'033,'752,'761, '280,'891,'990,'189, and'439 U.S. patents specifications

and patent claims that are significantly the same or equivalent to the claimed inventions        ofthe

Plaintiff. Significantly the same or equivalent to the specifications ofthe "Apple iPhone

interconnected to Apple Watch detection device and the MyFord Mobile app locking device".

                124.   As a result ofat least one of, a public offer to contract; public offer to

enter into a cooperative agreement; the publication   ofa solicitation;   a   public offer to award; a

public announcement oftangible subject matter material; apublic offer for           a grant; or, the


interagency exchange of unauthorized information, the United States actions and conduct and the

actions and conduct of its agents, including at least that of the various Govemment Agencies (lffl

49-78), and the Department of Homeland Security (DHS) has used for the benefit ofthe public,

authorized the use for the benefit ofthe public, shared intangible subject matter without a license

or legal right, and without authorization and consent fiom the Plaintiff; Plaintifls personal

property subject matter as described in and covered by the Plaintiffs '497,'033,'752,'761,

'280,'891,'990,'1   89, and'439 patents.

                125.   Further, as a result of the Govemment (United States) Fifth Amendment

"Takings" of Plaintifls property and using it with the public without just compensation to the

Plaintiff, the resulting economic impact of the "Takings" is   a reduction in value     of the Plaintiffs



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property by virtue ofthe access, disclosure, manufacture, development or use, by or for the

Govemment and its third party awardees; has destroyed the Plaintifls competitive edge; has had

a substantial adverse impact (means unfavorable or harmful; preventing success or development)

on "the reasonable investment-backed expectations" of the Plaintiff; the character ofthe

Govemment's action was triggered when the "Takings" caused a permanent physical invasion of

the Ptaintifls property and eliminated all economically beneficial uses ofsuch property by way

of the Govemment's manufacture and development of products, devices, methods, and systems

that are significantly the same or equivalent to the claimed inventions of the Plaintiff. Just

compensation is due the Plaintiff for the Govemment's actions under Section 1491.

Count    II:
                 126.    Upon information and belief, the United States has infringed, and

continues to infringe, at least claim 22 of the'439 Patent, and claims 18, 118, 12,28,25,30,22,

and 20   ofthe '990 Patent   as a current manufacturer, consumer, and/or user   of the "Apple iPhone

interconnected to Apple Watch detection device and the MyFord Mobile app locking device".

Ford has updated the MyFord Mobile app (e.g. locking device) for its electric and hybrid cars

with Apple Watch (e.g. detection device) compatibility. Apple Watch requires an iPhone and/or

iPad (e.g. monitoring equipment). That means from your wrist, you can tum on the temperature

controller, lock or unlock the doors, check your mileage, and view data from your last trip, such

as   miles per gallon and percentage of electric miles driven. It also means you can check your

car's battery status, get directions back to your car, and more, all from your Apple Watch.

                 127.   As a result ofcontracts, agreements, and procurements with various

Govemment Agencies (tffl 49-78), the Department of Homeland Security (DHS) and Apple Inc.

for the manufacture, development, commercialization, and/or use of the



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communication/monitoring device "Apple iPhone interconnected to Apple Watch detection

device and the MyFord Mobile app locking device", the United States has used, authorized the

use, and manufactured, without license or legal right,    Plaintiffs inventions described in and

covered by the '439, and '990 Patents.

                     Samsung Galary s6 "Fingertip Heart Rate          Monitor"

Count   I:
                128.   Upon information and belief, the various Govemment Agencies (lffl 49-

78), the Department of Homeland Security (DHS), (the United States), after several notices

between the years 2006 -2012, has "taken" and continues to "take" the      Plaintifls personal

property and used it for the benefit of the public without paying just compensation to the

Plaintiff. Pursuant to the guidelines of   a   "Govemment Fifth Amendment Takings", the

Government has taken the intangible private and personal property subject matter as outlined in

the Plaintifls'497,'033,'752,'761, '280, '891, '990, '189, and'439 U.S. patents specifications

and patent claims that are sigrrificantly the same or equivalent to the claimed inventions   ofthe

Plaintiff. Significantly the same or equivalent to the specifications of the "Samsung Smartphone

built-in Heart Rate Monitor".

                129.   As a result ofat least one of, a public offer to contract; public offer to

enter into a cooperative agreement; the publication ofa solicitation; a public offer to award; a

public announcement of tangible subject mafter material; a public offer for     a grant; or, the

interagency exchange of unauthorized information, the United States actions and conduct and the

actions and conduct of its agents, including at least that ofthe various Govemment Agencies         ffi
49-78), and the Department of Homeland Security (DHS) has used for the benefit ofthe public,

authorized the use for the benefit ofthe public, shared intangible subject matter without a license



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or legal right, and without authorization and consent from the Plaintiff; Plaintiffs personal

property subject matter as described in and covered by the Plaintiffs'497,'033,'752,'761,

'280, '891, '990, '189, and'439 patents.

                130.       Further, as a result of the Govemment (United States) Fifth Amendment

"Takings" of PlaintifPs property and using it with the public without just compensation to the

Plaintiff, the resulting economic impact ofthe "Takings" is         a reduction in value   ofthe Plaintifls

property by virtue ofthe access, disclosure, manufacture, development or use, by or for the

Govemment and its third party awardees; has destroyed the Plaintiff s competitive edge; has had

a substantial adverse impact (means unfavorable or harmful; preventing success or development)

on "the reasonable investment-backed expectations" ofthe Plaintiff; the character ofthe

Govemment's action was triggered when the "Takings" caused a permanent physical invasion                 of

the PlaintifPs property and eliminated all economically beneficial uses ofsuch property by way

ofthe Government's manufacture and development ofproducts, devices, methods, and systems

that are significantly the same or equivalent to the claimed inventions of the Plaintiff. Just

compensation is due the Plaintiff for the Govemment's actions under Section 1491.

Count    II:
                13 I   .   Upon information and belief, the United States has infringed, and

continues to infringe, at least claim 22 of the '439 Patent, and claims 18, 118, 12,28,25,30,22,

and 20   ofthe '990 Patent      as a   cl.rrent manufacturer, consumer, and./or user ofthe "Samsung

Smartphone built-in Heart Rate Monitor". "Samsung included in the Galaxy 55 and 56 its built-

in Heart Rate Monitor (detection device). Samsung integrated its heart rate sensing technology

into the same housing that holds the camera's LED flash. The Galaxy 55 and 56 handles all

health-related functions         including its Fingertip Heart Rate Monitor       in Samsung's S Health
                            -                                                 -

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app on your phone. You'll be taken to a screen that gives you a prompt to place your finger on

the heart rate sensor, which can be found on the back of the phone.

                132.   As a result of contracts, agreements, and procurements with various

Govemment Agencies (fl'll 49-78), the Department of Homeland Security (DHS) and Samsung

for the manufacture, development, commercialization, and/or use of the communication/

monitoring device "Samsung Smartphone built-in Heart Rate Monitor" the United States has

used, authorized the use, and manufactured, without license or legal right,           Plaintiffs inventions

described in and covered by the '439, and '990 Patents.

         Samsung Galaxy s6 interconnected to the "Samsung Gear 52 Smartwatch"

Count   I:
                133.   Upon information and belief, the various Government Agencies (fl'!l 49-

78), the Department of Homeland Security (DHS), (the United States), after several notices

between the years 2006 -2012, has "taken" and continues to "take" the              Plaintifls personal

property and used it for the benefit ofthe public without payingjust compensation to the

Plaintiff. Pursuant to the guidelines of   a   "Govemment Fifth Amendment Takings", the

Govemment has taken the intangible private and personal property subject matter as outlined in

the Plaintiffs'497,'033,'752,'761, '280,'891,'990,'189, and'439 U.S. patents specifications

and patent claims that are significantly the same or equivalent to the claimed inventions           ofthe

Plaintiff. Significantly the same or equivalent to the specifications ofthe "Samsung Smartphone

interconnected to the Smartphone Gear 52 Smartwatch (detection device)".

                134.   As a result ofat least one of, a public offer to contract; public offer to

enter into a cooperative agreement; the publication       ofa solicitation;   a   public offer to award; a

public announcement oftangible subject matter material; a public offer for             a grant; or, the




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interagency exchange ofunauthorized information, the United States actions and conduct and the

actions and conduct of its agents, including at least that ofthe various Govemment Agencies (flll

49-78), and the Departrnent of Homeland Security (DHS) has used for the benefit of the public,

authorized the use for the benefit ofthe public, shared intangible subject matter without a license

or legal right, and without authorization and consent from the Plaintiff; Plaintiffs personal

property subject matter as described in and covered by the Plaintiff s '497 , '033, '7 52, '7 61 ,

'280,'891,'990,'189, and'439        patents.

                 135.      Further, as a result of the Govemment (United States) Fifth Amendment

"Takings" of Plainti{ls prope(y and using it with the public without just compensation to the

Plaintiff, the resulting economic impact of the "Takings" is   a reduction   in value of the Plaintiffs

property by virtue ofthe access, disclosure, manufacture, development or use, by or for the

Govemment and its third party awardees; has destroyed the Plaintiffs competitive edge; has had

a substantial adverse impact (means unfavorable or     harmful; preventing success or development)

on "the reasonable investment-backed expectations" ofthe Plaintiff; the character ofthe

Govemment's action was triggered when the "Takings" caused a permanent physical invasion             of
the   Plaintifls prope(y   and eliminated all economically beneficial uses ofsuch property by way

of the Govemment's manufacture and development of products, devices, methods, and systems

that are significantly the same or equivalent to the claimed inventions ofthe Plaintiff. Just

compensation is due the Plaintiff for the Govemment's actions under Section 1491        .



Count    lI:
                 136.   Upon information and belief, the United States has infringed, and

continues to infiinge, at least claim 22 of the '439 Patent, and claims 18, 118, 12,28,25,30,22,

and 20 of the '990 Patent as a current manufacturer, consumer, and/or user      ofthe "samsung



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Smartphone interconnected to the Smartphone Gear 52 Smartwatch (detection device)". The

Samsung Gear 52 smartwatch (e.g. multi-sensor detection device: interconnected to monitoring

equipment    -   Samsung Galaxy s6; biosensor for detecting heart rate; leveraged intemet and GPS

connections; power source battery) has a solid health tracking and slightly better battery life than

other high-end smartwatches. It works with a variety of Android phones. Befbre using your Gear

52, you will need to connect it to a mobile device (e.g. Galaxy 56) using the Samsung Gear

application. The Gear 52 sensors include: Accelerometer; Gyroscope; Heart Rate; Arn61"n,

Light; and, Barometer. Connectivity include: 802.11n WiFi; Bluetooth 4.1; NFC. GPS include:

The Gear 52 3G includes a GPS receiver and two apps, Nike+ and S Health, that include GPS

tracking support.

                  137.    As a result of contracts, agreements, and procurements with various

Govemment Agencies (flfl 49-78), the Department of Homeland Security (DHS) and Samsung

for the manufacture, development, commercialization, and./or use of the communication/

monitoring device "Samsung Smartphone interconnected to the Samsung Gear 52 Smartwatch

detection device" the United States has used, authorized the use, and manufactured, without

license or legal rieht, Plaintills inventions described in and covered by the'439, and'990

Patents.

 Samsung Galary s6 (smartphone) and Samsung Gear 52 (smartwatch) interconnected to

                              the "Yale Assure Lock" (locking device)

Count   I:
                  138.   Upon information and belief, the various Govemment Agencies (flfl 49-

78), the Department of Homeland Security (DHS), (the United States), after several notices

between the years 2006 -2012,has "taken" and continues to "take" the      Plaintiffs personal



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prope(y and used it for the benefit ofthe public without paying just compensation to the

Plaintiff. Pursuant to the guidelines of      a   "Govemment Fifth Amendment Takings", the

Govemment has taken the intangible private and personal property subject matter as outlined in

the   Plaintiff   s   '497,'033,'752,'761, '280, '891, '990, '189, and'439 U.S. patents specifications

and patent claims that are       sig   ficantly the same or equivalent to the claimed inventions of the

Plaintiff. Significantly the same or equivalent to the specifications ofthe "Samsung Smartphone

interconnected to the Samsung Gear 52 Smartwatch detection device and the Yale Assure Lock

locking device".

                      139.   As a result ofat least one of, a public offer to contract; public offer to

enter into a cooperative agreement; the publication         ofa solicitation;   a   public offer to award; a

public announcement of tangible subject matter material; a public offer for               a grant; or, the

interagency exchange of unauthorized information, the United States actions and conduct and the

actions and conduct of its agents, including at least that of the various Govemment Agencies (tffl

49-78), and the Department of Homeland Security (DHS) has used for the benefit ofthe public,

authorized the use for the benefit of the public, shared intangible subject matter without a license

or legal right, and without authorization and consent from the Plaintiff; Plaintifl            s   personal

property subject matter as described in and covered by the Plaintiff s '497 , '033, '7 52, '7 61,

'280, '891, '990, '189, and '439 patents.

                      140.   Further, as a result of the Govemment (United States) Fifth Amendment

"Takings" of PlaintifPs property and using it with the public without just compensation to t}re

Plaintiff, the resulting economic impact of the "Takings" is a reduction in value ofthe Plaintifls

property by virhre of the access, disclosure, manufacture, development or use, by or for the

Government and its third party awardees; has destroyed the Plaintiffs competitive edge; has had



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a substantial adverse impact (means unfavorable or       harmful; preventing success or development)

on "the reasonable investment-backed expectations" of the Plaintiff; the character of the

Govemment's action was triggered when the "Takings" caused a permanent physical invasion of

the Plaintiffls property and eliminated all economically beneficial uses ofsuch property by way

of the Govemment's manufactue and development of products, devices, methods, and systems

that are significantly the same or equivalent to the claimed inventions of the Plaintiff. Just

compensation is due the Plaintifffor the Govemment's actions under Section 1491.

Count    II:
                 141.   Upon information and belief, the United States has infringed, and

continues to infringe, at least claim 22 of the '439 Patent, and claims 18, 118, 12,28,25,30,22,

and 20 of the '990 Patent as a current manufacturer, consumer, and/or user of the "Samsung

Smartphone interconnected to the Samsung Gear 52 Smartwatch detection device and the Yale

Assure Lock locking device". The Yale Assure Lock with Bluetooth has five digital keys sent to

the Digital Keys app by a Yale central server computer. The Assure companion app is available

for iOS and Android devices and the Samsung Galaxy Cear 52 smartwatch. The Gear 32, will

need to be connected to a mobile device (e.g. Galaxy 56). The lock communicates with the app

only via Bluetooth, the phone must be within 30 feet to work with it. Unlocking the Assure Lock

with   a Gear 52, users touch the screen   to activate the digital key. Then, touch the lock screen to

unlock the deadbolt.

                 142.   As a result ofcontracts, agreements, and procurements with various

Govemment Agencies (lffl 49-78), the Department of Homeland Security (DHS) and Samsung

for the manufacture, development, commercialization, and,/or use of the

communication/monitoring device "Samsung SmarQhone interconnected to the Samsung Gear



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52 Smartwatch detection device and the Yale Assure Lock locking device" the United States has

used, authorized the use, and manufactured, without license or legal right,   Plaintiffs inventions

described in and covered by the'439, and '990 Patents.

 Samsung Galaxy s6 (smartphone) and "Samsung SmartThings Hub" (interface-gateway)

                   interconnected to the Yale Assure Lock (locking device)

Count I:

               143.    Upon information and belief, the various Government Agencies        ffi    49-

78), the Department of Homeland Security (DHS), (the United States), after several notices

between the years 2006 -2012, has "taken" and continues to "take" the     Plaintiffs personal

property and used it for the benefit ofthe public without payingjust compensation to the

Plaintiff. Pu$uant to the guidelines of   a   "Government Fifth Amendment Takings", the

Govemment has taken the intangible private and personal property subject matter as outlined in

the Plaintifls'497,'033,"752,'761, '280,'891,'990,'189, and'439 U.S. patents specifications

and patent claims that are significantly the same or equivalent to the claimed inventions    ofthe

Plaintiff. Significantly the same or equivalent to the specifications ofthe "Samsung Smartphone

interconnected to the Samsung SmartThings Hub interface/gateway and the Yale Assure Lock

locking device".

               144.    As a result ofat least one of, a public offer to contract; public offer to

enter into a cooperative agreement; the publication of a solicitation; a public offer to award; a

public announcement of tangible subject matter material; a public offer for    a grant; or, the

interagency exchange of unauthorized information, the United States actions and conduct and the

actions and conduct of its agents, including at least that ofthe various Govemment Agencies         ffi
49-78), and the Department of Homeland Security (DHS) has used for the benefit of the public,



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authorized the use for the benefit ofthe public, shared intangible subject matter without a license

or legal right, and without authorization and consent from the Plaintiff; PlaintifPs personal

property subject matter as described in and covered by the Plaintiffs '497,'033,'752,'761,

'280,'891,'990,'189, and'439        patents.

                145.   Further, as a result of the Govemment (United States) Fifth Amendment

"Takings" of Plaintills property and using it with the public without just compensation to the

Plaintiff, the resulting economic impact ofthe "Takings" is a reduction in value of the Plainti{Fs

property by virtue of the access, disclosure, manufacture, development or use, by or for the

Govemment and its third party awardees; has destroyed the PlaintifPs competitive edge; has had

a substantial adverse impact (means unfavorable or harmful; preventing success or development)

on "the reasonable investment-backed expectations" of the Plaintiff; the character ofthe

Govemment's action was triggered when the "Takings" caused a permanent physical invasion of

the Plaintiffs property and eliminated all economically beneficial uses ofsuch property by way

ofthe Govemment's manufacture and development ofproducts, devices, methods, and systems

that are significantly the same or equivalent to the claimed inventions of the Plaintiff. Just

compensation is due the Plaintifffor the Govemment's actions under Section 1491.

Count    II:
                146.   Upon information and belief, the United States has infringed, and

continues to infringe, at least claim 22 ofthe '439 Patent, and claims 18, I18, 12,28,25,30,22,

and 20   ofthe '990 Patent   as a current manufacturer, consumer, and./or user   of the "samsung

Smartphone interconnected to the Samsung SmartThings Hub interface/gateway and the yale

Assure Lock locking device". The SmartThings app tums the Samsung Galaxy 56 smartphone

into a remote to control all of the smart devices in your home. Available for do*nload for



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Android, iOS and Windows. The Samsung SmartThings Hub communicates information fiom

your smartphone to all of your different connected products-regardless oftheir wireless

protocol     so that you can easily monitor and control them from the free SmartThings app.

Anyone with broadband Intemet connection can easily set up their Hub. By adding a compatible

camera, customers can also get accompanying video clips. Allows you to connect all         ofyour

different smart locks (e.g. Yale Assure Lock), lights, outlets, and thermostats. Once the Samsung

SmartThings Hub and SmartThings app is set-up; can add as many devices as wanted to

customize the home. Works \ rith the following brands: Samsung, Honeyrvell, Schlagle, and

Yale, First alert, D-Link, Leviton, Bose, Cree, and others.

                  147   .   As a result of contracts, agreements, and procuements with various

Govemment Agencies (flfl 49-78), the Department of Homeland Security (DHS) and Samsung

for the manufactwe, development, commercialization, and/or use of the communication/

monitoring device "Samsung Smartphone interconnected to the Samsung SmartThings Hub

interface/gateway and the Yale Assure tock locking device" the United States has used,

authorized the use, and manufactured, without license or legal right, PlaintifPs inventions

described in and covered by the'439, and '990 Patents.

              Samsung Galaxy s6 (smartphone) and Samsung Gear 52 (smartwatch)

                        Interconnected to the "Volkswagen Car-Net e-Remote"

                                             (locking device)

Count   I:
                  148.      Upon information and belief, the various Govemment Agencies (flfl 49-

78), the Department of Homeland Security (DHS), (the United States), after several notices

between the years 2006 -2012,has 'taken" and continues to "take" the       Plaintiffs   personal



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property and used it for the beneht ofthe public without payingjust compensation to the

Plaintiff. Pursuant to the guidelines of   a   "Govemment Fifth Amendment Takings", the

Govemment has taken the intangible private and personal property subject matter as outlined in

the Plaintifls '497,'033,'752,'761, '280, '891, '990, '189, and '439 U.S. patents specifications

and patent claims that are sigrificantly the same or equivalent to the claimed inventions of the

Plaintiff. Significantly the same or equivalent to the specifications of the "Samsung Smartphone

interconnected to the Samsung Gear 52 Smartwatch detection device and the Volkswagen Car-

Net locking device".

                149.   As a result ofat least one of, a public offer to contract; public offer to

enter into a cooperative agreement; the publication of a solicitation; a public offer to award; a

public announcement of tangible subject matter material; a public offer for    a grant; or, the


interagency exchange of unauthorized information, the United States actions and conduct and the

actions and conduct of its agents, including at least that of the various Govemment Agencies (t{!f

49-78), and the Departrnent of Homeland Security (DHS) has used for the beneht ofthe public,

authorized the use for the benefit ofthe public, shared intangible subject matter without a license

or legal right, and without authorization and consent from the Plaintiff; Plaintifls personal

property subject matter as described in and covered by the Plaintifls'497,'033,'752,'761,

'280,'891,'990,'189, and'439      patents.

                150.   Further, as a result of the Govemment (United States) Fifth Amendment

"Takings" of Plaintil?s property and using it with the public without just compensation to the

Plaintiff, the resulting economic impact ofthe "Takings" is a reduction in value ofthe Plainti{fs

property by virtue ofthe access, disclosure, manufacture, development or use, by or for the

Govemment and its third party awardees; has destroyed the Plaintiff s competitive edge; has had



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a substantial adverse impact (means unfavorable or harmful; preventing success or development)

on "the reasonable investment-backed expectations" ofthe Plaintiff; the character of the

Govemment's action was triggered when the "Takings" caused a permanent physical invasion of

the Plaintifls property and eliminated all economically beneficial uses ofsuch property by way

ofthe Govemment's manufacture and development ofproducts, devices, methods, and systems

that are significantly the same or equivalent to the claimed inventions of the Plaintiff. Just

compensation is due the Plaintiff for the Government's actions under Section 1491.

Count   II:
                151.   Upon information and belief, the United States has infringed, and

continues to infringe, at leasl clakn 22 ofthe'439 Patent, and claims 18, 118,12,28,25,30,22,

and 20 of the '990 Patent as a current manufacturer, consumer, and,/or user of the "Samsung

Smartphone interconnected to the Samsung Gear 52 Smartwatch detection device and the

Volkswagen Car-Net locking device". Samsung have created a new version of the Volkswagen

app which gives you control over key features    ofyour car directly from your smartwatch     -   in

this instance, the Samsung Gear 32. The Gear 52, will need to be connected to a mobile device

(e.g. Galaxy 36). The new app, Volkswagen Car-Net e-Remote,        if you own a VW and a Gear 52,

enables you to check that your car is locked with a little tinker of your smartwatch. Users      will   be

able to lock/unlock car doors, open/close windows, control climate settings, and even find out

where their car is parked from the Gear 52 smartwatch.

               152.    As a result of contracts, agreements, and procurements with various

Govemment Agencies ('lffl 49-78), the Department of Homeland Security (DHS) and Samsung

for the manufacture, development, commercialization, and/or use of the communication/

monitoring device "Samsung Smartphone interconnected to the Samsung Gear 52 Smartwatch



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detection device and the Volkswagen Car-Net locking device" the United States has used"

authorized the use, and manufactured, without license or legal right, Plaintifls inventions

described in and covered by the'439,arrd '990 Patents.

                         "TOUGHBOOK 31" Laptop interconnected to the

                                    K-Max Self-flying Helicopter

Count I:

                  153.   Upon information and belief, the U.S. Navy, the Office of Naval Research

(ONR), (the United States), after several notices between the years 2006 -2012, has 'laken" and

continues to "take" the Plaintifls personal property and used it for the benefit ofthe public

without paying just compensation to the Plaintiff. Pursuant to the guidelines of a "Govemment

Fifth Amendment Takings", the Govemment has taken the intangible private and personal

prop€rty subject matter as outlined in the Plaintiffs '497 , '033, '7 52, '761 , '280, '891, '990,

' 189,   and'439 U.S. patents specifications and patent claims that are significantly the same or

equivalent to the claimed inventions ofthe Plaintiff. Significantly the same or equivalent to the

specifications of the Panasonic "TOUGHBOOK 3l " Laptop (communication device) for

controlling the Lockheed Martin K-Max Unmanned Self-flying Helicopter that is equipped with

the Autonomous Aerial Cargo Utility System (AACUS).

                  154.   As a result ofat least one of, a public offer to contract; public offer to

enter into a cooperative agreement; the publication     ofa solicitation;   a   public offer to award; a

public announcement of tangible subject matter material; a public offer for           a grant; or, the

interagency exchange of unauthorized information, the United States actions and conduct and the

actions and conduct of its agents, including at least that ofthe U.S. Navy, the Office ofNaval

Research (ONR) has used for the benefit     ofthe public, authorized the        use for the benefit   ofthe


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public, shared intangible subject matter without a license or legal right, and without authorization

and consent from the Plaintiff;       Plaintiffs personal property subject matter   as described   in and

covered by the Plaintiffs '497,'033,'752,'761, '280, '891, '990, '189, and'439 patents.

                I   5 5   .   Further, as a result of the Govemment (United States) Fifth Amendment

"Takings" of PlaintifPs property and using it with the public without just compensation to the

Plaintiff, the resulting economic impact of the "Takings" is a reduction in value ofthe Plaintifls

property by virtue ofthe access, disclosure, manufacture, development or use, by or for the

Govemment and its third party awardees; has destroyed the Plaintiffs competitive edge; has had

a substantial adverse impact (means unfavorable or harmful; preventing success or development)

on "the reasonable investment-backed expectations" of the Plaintiff; the character ofthe

Govemment's action was triggered when the "Takings" caused a permanent physical invasion of

the PlaintifPs property and eliminated all economically beneficial uses ofsuch property by way

of the Govemment's manufacture and development of products, devices, methods, and systems

that are significantly the same or equivalent to the claimed inventions ofthe Plaintiff. Just

compensation is due the Plaintifffor the Government's actions under Section 1491.

Count    II:
                156.          Upon information and belief, the United States has infringed, and

continues to infringe, at least claim 13 ofthe '439 Patent, claims 18, 118, 12,28,25,20,32, and,

30   ofthe '990 Patent, and claims 44, 55,45, 48,53, and 52 ofthe '891 Patent          as a current

manufacturer, consumer, and./or user of Panasonic "TOUGHBOOK 31' Laptop (communication

device) for controlling the Lockheed Martin K-Max Unmanned Self-flying Helicopter that is

equipped with the Autonomous Aerial Cargo Utility System (AACUS). The Lockheed Martin K-

Max unmanned helicopter is controlled liom a Panasonic "ToUGHBooK                   3l"   Laptop as a result



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ofthe cooperative research and development agreements to develop and commercialize the

Office of Naval Research's (ONR) Autonomous Aerial Cargo Utility System (AACUS) program.

K-Max has pre-programmed load pick-ups; can fly to pre-programmed and non-pre-programmed

locations; controller uses beyondJine-of-sight (BLOS) from a video camera mounted in cockpit.

The K-MAX self-flying vehicle can be flown by a human sitting in the cockpit, but it cannot be

completely remotely piloted; someone on ground controlling everything the helicopter does. A

ground controller can, however, use satellite communication and a laptop to change the mission

at any point during flight. Retrofitted Device: Autonomous Aerial   Cargofutility System

(AACUS). This is the goal of the Office of Naval Research's (ONR) Autonomous Aerial Cargo

Utility   System (AACUS) progftrm.

                 157.   As a result of contracts with the U.S. Navy, the Office of Naval Research

(ONR), t ockheed Martin and Panasonic Corporation for the development and commercialization

of the Office of Naval Research's (ONR) Autonomous Aerial Cargo Utility System 14"4695;

that is controlled from a Panasonic "TOUGHBOOK 31" Laptop, the United States has used,

authorized the use, and manufactured, without license or legal right, PlaintifFs inventions

described in and covered by the '439, '990, and '891 Patents.

                "TOUGHBOOK 31" Laptop / Samsung Galaxy              s6   Smartphone

                        Passport Systems Inc. Base Control Unit (BCU)

Count 1:

                158.    Upon information and belief, the US Department of Homeland Security

(DHS) and the Domestic Nuclear Detection Office's (DNDO), (the United States), after several

notices between the years 2006 -2012, has "taken" and continues to'1ake" the Plaintifls

personal property and used it for the benefit of the public without payingjust compensation to



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the Plaintiff. Pursuant to the guidelines of a "Govemment Fifth Amendment Takings", the

Govemment has taken the intangible private and personal property subject matter as outlined in

the Plaintiffs '497,'033,'752,'761,'280,'891, '990,'189, and'439 U.S. patents specifications

and patent claims that are significantly the same or equivalent to the claimed inventions of the

Plaintiff. Significantly the same or equivalent to the specifications of the 1"x2" Detection Device

(DD) Samsung Galaxy s6 Smartphone; 2"x2" Detection Device (DD) Samsung Galaxy s6

Smartphone; NetS'z SmartShield G300 Radiation Detector Samsung Galaxy s6 Smartphone;

NetS'z SmartShield G500 Radiation Detector Samsung Galaxy s6 Smartphone; and the Passport

systems Base control unit (BCU) 'ToUGHBOOK 31" Panasonic Laptop.

                       159.    As a result ofat least one of, a public offer to contract; public offer to

enter into a cooperative agreement; the publication           ofa solicitation;   a   public offer to award; a

public announcement of tangible subject matter material; a public offer for                 a grant; or, the

interagency exchange of unauthorized information, the United States actions and conduct and the

actions and conduct of its agents, including at least that ofthe US Department of Homeland

Security (DHS) and the Domestic Nuclear Detection Office's (DNDO) has used for the benefit

of the public, authorized the use for the benefit of the public, shared intangible subject matter

without a license or legal right, and without authorization and consent from the Plaintiff;

Plaintiff s personal property subject matter         as described   in and covered by the Ptaintiffs '497,

'   033,'   7   52,' 7 61,' 280,' 89 1,'990,' 1 89, and'439 patents.

                       160.    Further, as a result of the Govemment (United States) Fifth Amendment

"Takings" of Plaintiff s property and using it with the public without just compensation to the

Ptaintiff, the resulting economic impact of the "Takings" is a reduction in value of the Plaintifls

property by virtue ofthe access, disclosure, manufacture, development or use, by or for the



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Govemment and its third party awardees; has destroyed the Plaintiffs competitive edge; has had

a substantial adverse impact (means unfavorable or harmful; preventing success or development)

on "the reasonable investment-backed expectations" of the Plaintiff; the character ofthe

Govemment's action was triggered when the "Takings" caused a permanent physical invasion of

the Plaintifls property and eliminated all economically beneficial uses ofsuch property by way

ofthe Govemment's manufacture and development of products, devices, methods, and systems

that are significantly the same or equivalent to the claimed inventions ofthe Plaintiff. Just

compensation is due the Plaintiff for the Govemment's actions under Section 1491.

Count    lI:
                161.    Upon information and belief, the United States has infringed, and

continues to infiinge, at least claims   l,2,and4of the'497   Patent, claims 34, and37 of    the'752

Patent, claims 13, and 14   ofthe '439 Patent, and claims 119, 29, 18, I18, 12,28,25,20,124,32,

and 30   ofthe'990   Patent as a current manufacturer, consumer, and/or user   ofthe 1"x2"

Detection Device (DD) Samsung Galaxy s6 Smartphone; 2"x2" Detection Device (DD)

Samsung Galaxy s6 Smartphone; NetS'? SmartShield G300 Radiation Detector Samsung Galaxy

s6 Smartphone; NetS' SmartShield G500 Radiation Detector Samsung Galaxy s6 Smartphone;

and   the Passport Systems Base Control Unit (BCU) 'TOUGHBOOK 31" Panasonic Laptop:

                162.    2"x2" Detection Device (DD) Samsung Galaxy s6 Smartphone: In

response to the Domestic Nuclear Detection Office's (DNDO)       BAA 09-102 Passport Systems,

Inc. of Billeric4 MA has developed a system ofnetworked portable spectroscopic radiation

detectors to improve the detection, localization, and identification ofradiological threats.

                163.    1"x2" Detection Device (DD) Samsung Galaxy s6 Smartphone: In

response to the Domestic Nuclear Detection Office's (DNDO)       BAA 09-102 Passpo( Systems,



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Inc. of Billerica, MA has developed a system ofnetworked portable spectroscopic radiation

detectors to improve the detection, localization, and identification ofradiological threats.

                 164.   NetS'z SmartShield G300 Radiation Detector Samsung Galaxy s6

Smartphone: Passport Systems Inc. G300 Radiation Detector alarms when radiation levels are

detected; used as a standalone device or as part   ofa network; is the same size, form factor and

weight as a smartphone and easily added to the belt of safety personnel; is paired with a

smartphone via Bluetooth, and automatically joins a SmartShield Network. The Network Sensor

System (Nets2) SmartShield G300 Radiation Detector is designed specifically for the DHS

Securing-the-Cities initiative and Human Portable Tripwire program.

                 165.   NetS'? SmartShield G500 Radiation Detector Samsung         Galaxy s6

Smartphone: Passport Systems Inc. G500 Radiation Detector alarms when radiation levels are

detected; used as a standalone device or as part   ofa network;   is the same size, form factor and

weight as a smartphone and easily added to the belt of safety personnel; is paired with a

smartphone via Bluetooth, and automatically joins a SmartShield Network.

                 166.   "TOUGHBOOK 3l " Laptop / Passport Systems [nc. Base Control Unit

(BCU): The Passport Systems "Base Control Unit" @CU) is implemented using the Panasonic

Toughbook ruggedized laptop, and in response to the Domestic Nuclear Detection Office's

(DNDO) BAA 09-102 Passport Systems, Inc. has developed            a system   of networked portable

spectroscopic radiation detectors to improve the detection, and identification of radiological

threats.

                 167.   As a result of contracts with the Domestic Nuclear Detection Office's

(DNDO), Passport Systems, Inc., Panasonic Corporation, and the Samsung Group for the

development and commercialization of the 1"x2" Detection Device (DD) Samsung Galaxy s6



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Smartphone; 2"x2" Detection Device (DD) Samsung Galaxy s6 Smartphone; NetS'z SmartShield

G300 Radiation Detector Samsung Galaxy s6 Smartphone; NetS'z SmartShield G500 Radiation

Detector Samsung Galaxy s6 Smartphone; and the Passport Systems Base Control Unit (BCU)

"TOUGHBOOK 31" Panasonic Laptop the United States has used, authorized the use, and

manufactured, without license or legal right, Plaintifls inventions described in and covered by

the' 497,' 439, 7 52, and'990 Patents.

                      Apple iPAD Tablet interconnected to the Boeing MH-6

                                        Little Bird Helicopter

Count I:

                  168.   Upon information and belief, the U.S. Navy, the Office of Naval Research

(ONR), (the United States), after several notices between the years 2006 -2012, has 'taken" and

continues to 'take" the Plaintiffs personal property and used it for the benefit ofthe public

without paying just compensation to the Plaintiff. Pursuant to the guidelines of a "Govemment

Fifth Amendment Takings", the Covemment has taken the intangible private and personal

property subject matter as outlined in the Plaintilfs '497,'033,'752,'761,'280,'891,'990,

' 189, and   '439 U.S. patents specifications and patent claims that are significantly the same or

equivalent to the claimed inventions ofthe Plaintiff. Significantly the same or equivalent to the

specifications of the Boeing MH-6 Littte Bird helicopter controlled from an Apple iPad Tablet.

                  169.   As a result ofat least one of, a public offer to contract; public offer to

enter into a cooperative agreement; the publication ofa solicitation; a public offer to award; a

public announcement of tangible subject matter material; a public offer for      a granq or, the


interagency exchange of unauthorized information, the United States actions and conduct and the

actions and conduct of its agents, including at least that of the U.S. Navy, the Office of Naval



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Research (ONR) has used for the benefit     ofthe public, authorized the use for the benefit ofthe

public, shared intangible subject matter without a license or legal right, and without authorization

and consent from the Plaintiff;   Plaintiffs personal property subject matter    as described in and

covered by the Plaintifls '497 ,'033,'752,'761,'280, '891, '990, '189, and '439 patents.

                170.   Further, as a result of the Govemment (United States) Fifth Amendment

"Takings" of Plaintifls property and using it with the public without just compensation to the

Plaintiff, the resulting economic impact of the "Takings" is   a reduction   in value of the Plaintifls

property by virtue ofthe access, disclosure, manufacture, development or use, by or for the

Govemment and its third party awardees; has destroyed the Plainti{Ps competitive edge; has had

a substantial adverse impact (means unfavorable or harmful; preventing success or development)

on "the reasonable investment-backed expectations" of the Plaintiff; the character of the

Govemment's action was triggered when the "Takings" caused a permanent physical invasion               of

the Plaintiffs property and eliminated all economically beneficial uses of such property by way

of the Govemment's manufacture and development of products, devices, methods, and systems

that are significantly the same or equivalent to the claimed inventions ofthe Plaintiff. Just

compensation is due the Plaintiff for the Govemment's actions under Section 1491.

Count   II:
                171.   Upon information and belief, the United States has infringed, and

continues to infringe, at least claim l3 of the '439 Patent, claims 18,   ll8,   12,28,25,20,32, and

30   ofthe '990 Patent, and claims 23,55,27,31, and 30 ofthe '891 Patent         as a current


manufacturer, consumer, and/or user ofan Apple iPad Tablet (communication device) for

controlling the Boeing MH-6 Little Bird Helicopter that is equipped with the Autonomous Aerial

Cargo Utility System 14,qgg5). The Boeing MH-6 Little Bird helicopter is controlled fiom an



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Apple iPad Tablet as a result ofthe cooperative research and development agreements to develop

and commercialize the Office of Naval Research's (ONR) Autonomous Aerial Cargo          Utility

System (AACUS) program. Navy engineers developed a Carbon Monoxide Sensor package that

turns any helicopter with a digital flight control system into an autonomous cargo delivery robot.

An authorized person is able to land a full-size Aurora Flight Services little bird helicopter by

simply touching a map application on a handheld tablet computer, said ChiefofNaval Research

Rear. Adm. Matthew Klunder. With an iPad the system can autonomously deliver supplies. The

system is called the autonomous aerial cargo/utility system, or AACUS; a 20-year-old lance

corporal was able to land a full-size Awora Flight Services Little Bird helicopter by simply

touching a map application on a handheld tablet computer.

                 172.   As a result of contracts with the U.S. Naly, the Office of Naval Research

(ONR), The Boeings Company and Apple Inc. for the development and commercialization of the

Office ofNaval Research's (ONR) Autonomous Aerial Cargo Utility System 1A"4gg5;,,5.

United States has used, authorized the use, and manufactured, witlout license or legal right,

PlaintifPs inventions described in and covered by the '439,'990, and '891 Patents.

                          Navy Marine Corps Intranet (NMCI) Network

Count I:

                 173.   Upon information and belief, the U.S. Nary and U.S. Marine Corps, (the

United States), after several notices between the years 2006 -2012, has'taken" and continues to

"take" the Plaintiffs personal property and used it for the benefit ofthe public without paying

just compensation to the Plaintiff. Pursuant to the guidelines of   a   "Govemment Fifth Amendment

Takings", the Govemment has taken the intangibte private and personal property subject matter

as   outlined in the Plaintifls '497,'033,'752,'761, '280, '891, '990, '189, and '439 U.S. patents



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specifications and patent claims that are significantly the same or equivalent to the claimed

inventions ofthe Plaintiff Significantly the same or equivalent to the specifications of the Navy

Marine Corps Intranet (NMCI).

               174.    As a result ofat least one of, a public offer to contract; public offer to

enter into a cooperative agreement; the publication ofa solicitation; a public offer to award; a

public announcement of tangible subject matter material; a public offer for       a grant; or, the


interagency exchange of unauthorized information, the United States actions and conduct and the

actions and conduct of its agents, including at least that of the U.S. Navy and U.S. Marine Corps

has used for the benefit   ofthe public, authorized the use for the benetit of the public, shared

intangible subject matter without a license or legal right, and without authorization and consent

from the Plaintiff; Plaintiffs personal property subject matter as described in and covered by the

Plaintiffs '497,'033,'752,'761,'280, '89l, '990, 'I89, and '439        patents.

               175.    Further, as a resull of the Govemment (United States) Fifth Amendment

"Takings" of Plaintifls property and using it with the public without just compensation to the

Plaintiff, the resulting economic impact ofthe "Takings" is a reduction in value ofthe Plaintifls

property by virh,re ofthe access, disclosure, manufacture, development or use, by or for the

Govemment and its third party awardees; has destroyed the Plaintifls competitive edge; has had

a substantial adverse impact (means unfavorable or harm-firl; preventing success or development)

on "the reasonable investment-backed expectations" of the Plaintiff; the character of the

Govemment's action was triggered when the "Takings" caused a permanent physical invasion of

the Plaintifls property and eliminated all economically beneficial uses ofsuch property by way

of the Govemment's manufacture and development of products, devices, methods, and systems




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that are significantly the same or equivalent to the claimed inventions of the Plaintiff. Just

compensation is due the Plaintiff for the Govemment's actions under Section 1491 .

Count     II:
                  176.   Upon information and belief, the United States has infringed, and

continues to infringe, at least claims 13, 14,and l5 ofthe'439 Patent, claim 34, of the'752

Patent, and claims 18,   118,12,28,25,20,32,30, and 124 ofthe'990 Patent                 as a current

manufacturer, consumer, and/or user of the Navy Marine Corps lntranet (NMCI) is the world's

largest purpose-built network with more than 400,000 seats for more than 800,000 user accounts;

it   is also a unified, flexible and functional IT platform that has become the foundation on which

the Navy and Marine Corps support their broader strategic objectives. NMCI connects Sailors,

Marines and Civilians in the continental U.S., Hawaii, and Japan. Navy NMCI users may begin

transitioning fiom Blackberry devices to Apple and Samsung Android smartphones and tablets.

NMCI users are now authorized to procure and use the iPhone 5s, iPhone 6, and iPhone 6 Plus

smartphones, as well as the iPad    Air and iPad Air   2 tablets   with NMCI Email. All Navy

organizations are to begin the contracting and transition process through their wireless account

manager for iPhones and iPad service. Govemment fumished equipment (GFE). GFE includes

laptops; smartphones; tablets; and a virtual desktop solution, such as "NMCI'. Unlike GFE,

personal devices cannot be integrated into the network's device management tools.

                  177.   Navy Marine Corps Intranet (NMCI) Network - Apple iPad: (Claim 13)

The Navy Marine Corps Intranet (NMCD is the world's largest purpose-built network with more

than 400,000 seats for more than 800,000 user accounts;       it is also   a   unified, flexible and

functional IT platform that has become the foundation on which the Navy and Marine Corps

support their broader strategic objectives.



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                 178.      Nary Marine Corps Intranet (NMCI) Network - Samsung Galaxy        s6:

(Claim 14) The Navy Marine Corps Intranet (NMCD is the world's largest purpose-built network

with more than 400,000 seats for more than 800,000 user accounts;

                 179.      Navy Marine Corps Intranet (NMCI) Network - Samsung Galaxy s6:

(Claim 15) The Navy Marine Corps Intranet (NMCI) is the world's largest purpose-built network

with more than 400,000 seats for more than 800,000 user accounts;

                 180.      As a result of contracts with the U.S. Navy and U.S. Marine Corps, Apple

Inc. and the Samsung Group for the development and commercialization of the Navy Marine

Corps Intranet QTIMCI) Network the United States has used, authorized the use, and

manufactured, without license or legal right, Plaintifls inventions described in and covered by

the' 439, 7 52, ar:,d'990 Patents.

                              Smartphone-Based Rapid Diagnostic Tests

Count    I:
                 I   81.   Upon information and beliel, the National Science Foundation, (the

United States), after several notices between the years 2006 -2012, has "taken" and continues to

'1ake" the Plaintiffs personal property and used it for the benefit ofthe public without paying

just compensation to the Plaintiff. Pursuant to the guidelines of   a   "Govemment Fifth Amendment

Takings", the Govemment has taken the intangible private and personal property subject matter

as   outlined in the Plaintiffs '497,'033,'752,'761, '280,'891,'990,'189, and'439 U.S. patents

specifications and patent claims that are signifrcantly the same or equivalent to the claimed

inventions of the Plaintiff. Significantly the same or equivalent to the specifications of the

Smartphone-Based Rapid Diagnostic Tests, and the "Apple Inc.'s Electronic Communications

Device".



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                182.    As a result ofat least one of, a public offer to contract; public offer to

enter into a cooperative agreemenU the publication ofa solicitation; a public offer to award; a

public announcement of tangible subject mafter material; a public offer for               a grant; or, the


interagency exchange of unauthorized information, the United States actions and conduct and the

actions and conduct of its agents, including at least that ofthe Nationa] Science Foundation, has

used for the benefit of the public, authorized the use fbr the benefit ofthe public, shared

intangible subject matter without a license or legal right, and without authorization and consent

from the Plaintiff; Plaintiffs personal property subject mafter as described in and covered by the

Plaintifl s' 497,' 033,' 7 52,' 7 61,' 280,'   89   1,'990,'   I   89, and'439 patents.

                183.    Further, as a result of the Govemment (United States) Fifth Amendment

"Takings" of Plaintiffs properfy and using it with the public without just compensation to the

Plaintiff, the resulting economic impact ofthe "Takings" is a reduction in value ofthe Plaintiff             s


property by virtue ofthe access, disclosure, manufacture, development or use, by or for the

Govemment and its third party awardees; has destroyed the Plaintif|s competitive edge; has had

a substantial adverse impact (means unfavorable or harmful; preventing success or development)

on "the reasonable investment-backed expectations" ofthe Plaintiff; the character ofthe

Govemment's action was triggered when the "Takings" caused a permanent physical invasion of

the Plaintiffs property and eliminated all economically beneficial uses of such property by way

ofthe Govemment's manufacture and development ofproducts, devices, methods, and systems

that are significantly the same or equivalent to the claimed inventions of the Plaintiff. Just

compensation is due the Plaintiff for the Govemment's actions under Section 1491.

Count   II:




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                  184.   Upon information and belief, the United States has infringed, and

continues to infringe, at least claim 13 ofthe'439 Patent, and claims 18, I18, 12,28,25,20,32,

and 30 of the '990 Patent as a current manufacturer, consumer, and./or user      ofthe Smartphone-

Based Rapid Diagnostic Tests: The chemical and biomolecular engineering department at the

UH Cullen College of Engineering have won the National Science Foundation's Innovation

Corps (l-Corps) award. The UH I-Corps team will use the $50,000 award to develop highly

sensitive rapid medical diagnostic tests that use "glow-in-the-dark" nanoparticles to signal the

presence   ofa   disease target. Using phosphorescent nanoparticles and a lighrbased readout    allow

much more sensitive, quantitative and reliable test results. Moreover, Raja said an inexpensive

smartphone attachment, designed like a phone case, could be manufactured that would allow the

test results to be read with the phone's built-in camera and flash.   "A   user would have to add the

sample, such as a frngerprick quantity   ofblood, to a disposable test cartridge containing our

nanoparticles, and then insert it into the smartphone attachment after 15 minutes. The flash from

the camera will excite the luminescent particles, and the camera will capture the light emitted by

them," Raja said. A smartphone app will be developed to analyze the picture captured by the

camera.

                  185.   As a result of contracts with the National Science Foundation (NSF), UH

Cullen College, and Apple Inc. for the development and commercialization of the Smartphone-

Based Rapid Diagnostic Tests, and the "Apple Inc.'s Electronic Communications Device", the

United States has used, authorized the use, and manufactured, without license or legal right,

PlaintifPs inventions described in and covered by the '439 and'990 Patents.

                  Variable's "NODE*Oxa" for the Apple (iPhone) Smartphone

Count I:



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                  186.       Upon information and belief, the Department of Homeland Security

(DHS) and NASA Ames Research Center, (the United States), after several notices between the

years 2006 -2012, has "taken" and continues to "take" the         Plaintifls personal prope(y        and used

it for the benefit ofthe public without payingjust compensation to the Plaintiff. Pursuant to the

guidelines of a "Govemment Fifth Amendment Takings", the Govemment has taken the

intangible private and personal property subject matter as outlined in the Plaintiff s '497 ,'033,

'752,'761, '280,'891, '990, ' 189, and '439 U.S. patents specifications and patent claims that are

significantly the same or equivalent to the claimed inventions ofthe Plaintiff. Significantly the

same or equivalent to the specifications of the Variable       "NODE+Oxa" for the Apple (iPhone)

Smartphone, and the "Apple [nc.'s Electronic Communications Device".

                  187   .   As a result ofat least one of, a public offer to contract; public offer to

enter into a cooperative agreement; the publication        ofa solicitation;   a   public offer to award; a

public announcement of tangible subject matter material;          a   public offer for a grant; or, the

interagency exchange of unauthorized information, the United States actions and conduct and the

actions and conduct of its agents, including at least that of the Department of Homeland Security

(DHS), and NASA Ames Research Center has used for the benefit of the public, authorized the

use for the benefit of the public, shared intangible subject matter without a license or legal right,

and without authorization and consent from the Plaintiff;        Plaintifls personal property subject

matter as described in and covered by the Plaintiffs '497,'033,'752,'761, '280, '891, '990,

' 189, and   '439 patents.

                  188.      Further, as a result of the Govemment (United States) Fifth Amendment

"Takings" of PlaintifPs property and using it with the public without just compensation to the

Plaintiff, the resulting economic impact of the "Takings" is          a reduction   in value of the Plaintiff   s




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property by virnre of the access, disclosure, manufacture, development or use, by or for the

Govemment and its third party awardees; has destroyed the Plaintiffs competitive edge; has had

a substantial adverse impact (means unfavorable or harmful; preventing success or development)

on "the reasonable investment-backed expectations" ofthe Plaintiff; the character ofthe

Govemment's action was triggered when the "Takings" caused a permanent physical invasion         of

the Plaintiffs property and eliminated all economically beneficial uses of such property by way

ofthe Govemment's manufacture and development of products, devices, methods, and systems

that are signifrcantly the same or equivalent to the claimed inventions of the Plaintiff. Just

compensation is due the Plaintiff for the Govemment's actions under Section 1491.

Count    II:
               189.     Upon information and belief, the United States has infringed, and

continues to infringe, at least claim 13 ofthe '439 Patent, and claims 18, I18, 12, 28,25,20,32,

and 30   ofthe'990   Patent as a current manufacturer, consumer, and,/or user of the Variable

"NODE+Oxa" for the Apple (iPhone) Smartphone. 1n2007, when the Department of Homeland

Security (DHS) issued a call for a sensor that could equip a smartphone with the ability to detect

dangerous gases and chemicals, NASA Ames Research Center scientist Jing         Li proposal in

response to DHS's    Cell-All initiative was awarded funding through an interagency agleement in

2008. Li approached George Yu ofGenel Systems Inc. The team settled on the iPhone, which

was new at the time, and   Li convinced the program manager at DHS that the sensor should be a

module attached to the outside ofthe phone, rather than a system built into the phone's guts.

After founding Variable Inc. Yu commercialize the NODE+Oxa which accurately measures the

levels of carbon monoxide, nitric oxide, nitrogen dioxide, chlorine gas, sulfur dioxide, or




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hydrogen sulfide in an indoor environment. It can store data or transmit it to a smartphone using

Bluetooth wireless technology.

                 190.   As a result of contracts with the Department of Homeland Security (DHS),

NASA Ames Research Center, Genel Systems Inc., Variable Inc., and Apple Inc. for the

development and commercialization of the Variable 'NODE+Oxa" for the Apple (iPhone)

Smartphone, and the "Apple Inc.'s Electronic Communications Device", the United States has

used, authorized the use, and manufactured, without license or legal right,        Plaintifls inventions

described in and covered by the '439 and '990 Patents.

                      "COINS" Nano-Embedded Sensors for Smartphones

Count I:

                 191.   Upon information and belief, the National Science Foundation, (the

United States), after several notices between the years 2006 -2012, has "taken" and continues to

"take" the Plaintiffs personal property and used it for the benefit of the public without paying

just compensation to the Plaintiff. Pursuant to the guidelines of a "Government Fifth Amendment

Takings", the Govemment has taken the intangible private and personal property subject matter

as   outlined in the Plaintiffs'497,'033,'752,'761, '280, '891, '990,'189, and,'439 U.S. patents

specifications and patent claims that are significantly the same or equivalent to the claimed

inventions of the Plaintiff. Significantly the same or equivalent to the specifications ofthe

*COINS" Nano-Embedded Sensors for Smartphones, and the *Apple Inc.'s
                                                                     Electronic

Communications Device".

                 192.   As a result ofat least one of, a public offer to contract; public offer to

enter into a cooperative agreemenU the publication     ofa solicitation;   a   public offer to award; a

public announcement of tangible subject matter material; a public offer for          a grant; or, the




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interagency exchange of unauthorized information, the United States actions and conduct and the

actions and conduct of its agents, including at least that ofthe National Science Foundation has

used for the benefit          ofthe public, authorized the use for the benefit of the public, shared

intangible subject matter without a license or legal right, and without authorization and consent

from the Plaintiff; Plaintiffs personal property subject matter as described in and covered by the

Plaintifls' 497,' 033,' 7 52,' 7 61,'280,'         89   1,'990,'   I   89, and'439 patents.

                 1   93   .     Further, as a result of the Govemment (United States) Fi fth Amendment

"Takings" of Plaintiffs property and using it with the public without just compensation to the

Plaintiff, the resulting economic impact of the "Takings" is                 a reduction   in value of the Plaintifls

property by virtue ofthe access, disclosure, manufacture, development or use, by or for the

Govemment and its third party awardees; has destroyed the Plaintifls competitive edge; has had

a substantial adverse impact (means unfavorable or harmful; preventing success or development)

on "the reasonable investment-backed expectations" of the Plaintiff; the character of the

Govemment's action was triggered when the "Takings" caused a permanent physical invasion                           of

the   Plaintiffs property        and eliminated all economically beneficial uses of such property by way

of the Govemment's manufacture and development of products, devices, methods, and systems

that are significantly the same or equivalent to the claimed inventions of the Plaintiff. Just

compensation is due the Plaintiff for the Government's actions under Section 1491.

Count    II:
                 194.           Upon information and belief, the United States has infringed, and

continues to infiinge, at least claim 13 ofthe '439 Patent, and claims 18, I18, 12, 28,25,20,32,

and 30 of the '990 Patent as a current manufacturer, consumer, and./or user                   ofthe "COINS"

Nano-Embedded Sensors for Smartphones: The Center of lntegrated Nanomechanical Systems



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(COINS) is a multidisciplinary nanoscale science and engineering center (NSEC) fimded by the

National Science Foundation with its headquarters at the University of Califomia at Berkeley

and satellite c.rmpuses at Stanford, Caltech, and University of Califomia at Merced. The goal     of

COINS is to develop and integrate cutting-edge nanotechnologies into a versatile platform with

various ultra-sensitive, ultra-selective, self-powering, mobile, wirelessly communicating

detection applications; develop novel low-power, low-cost, selective nanomaterials-enable

sensing systems for real-time detection of explosives, toxicants, and radiation and interface

Nano-enable sensors with smart phones, eventually becoming embedded in the device.

                 195.   As a result of contracts with the National Science Foundation (NSF), the

Center of Integrated Nanomechanical Systems (COINS), the University of Califomia at

Berkeley, Stanford, Caltech, the University of California at Merced, and Apple lnc. for the

development and commercialization of the *COINS" Nano-Embedded Sensors for Smartphones,

and the "Apple Inc.'s Electronic Communications Device", the United States has used,

authorized the use, and manufactured, without license or legal right, Plaintiffs inventions

described in and covered by the '439 and '990 Patents.

                                 Samsung Galaxy s6 "BioPhone"

Count I:

                 196.   Upon information and belief, the National Science Foundation, (the

United States), after several notices between the years 2006 -2012,has "taken" and continues to

"take" the PlaintifFs personal property and used it for the benefit ofthe public without paying

just compensation to the Plaintiff. Pursuant to the guidelines of   a   "Govemment Fifth Amendment

Takings", the Government has taken the intangible private and personal property subject matter

as   outlined in the Plaintiffs '497,'033,'752,'761, '280, '891, '990, ' 189, and'439 U.S. patents



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specifications and patent claims that are significantly the same or equivalent to the claimed

inventions ofthe Plaintiff. Significantly the same or equivalent to the specifications of the

Samsurg Galaxy s6 "BioPhone", and the "Samsung Electronic Communications Device".

                197.     As a result ofat least one of, a public offer to contract; public offer to

enter into a cooperative agreement; the publication         ola solicitation;   a   public offer to award; a

public announcement of tangible subject matter material; a public offer for               a grant; or, the


interagency exchange of unauthorized information, the United States actions and conduct and the

actions and conduct of its agents, including at least that of the National Science Foundation has

used for the benefit   olthe public, authorized the use lor      the benefit of the public, shared

intangible subject matter without a license or legal right, and without authorization and consent

fiom the Plaintiff; Plaintifls personal property subject matter        as described      in and covered by the

Plaintiff s' 497,' 033,' 7 52,' 7 61,'280,'   89   1,'990,' 1 89, and'439   patents.

                198.     Further, as a result of the Govemment (United States) Fifth Amendment

"Takings" of Plaintills property and using it with the public without just compensation to the

Plaintiff, the resulting economic impact ofthe "Takings" is         a reduction      in value ofthe Plaintiff   s


property by virtue of the access, disclosure, manufacture, development or use, by or for the

Govemment and its third party awardees; has destroyed the Plaintifls competitive edge; has had

a substantial adverse impact (means unfavorable or harmful; preventing success or development)

on '1he reasonable investment-backed expectations" of the Plaintiff; t}re character             ofthe

Govemment's action was triggered when the "Takings" caused a permanent physical invasion of

the Plaintiffs property and eliminated all economically beneficial uses of such property by way

of the Govemment's manufacture and development of products, devices, methods, and systems




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that are significantly the same or equivalent to the claimed inventions ofthe Plaintiff. Just

compensation is due the Plaintiff for the Govemment's actions under Section 1491.

Count    II:
                199.   Upon information and belief, the United States has infringed, and

continues to infringe, at least claim 13 ofthe '439 Patenl, and claims 18, 118, 12, 28,25,20,32,

and 30   ofthe '990 Patent   as a current manufacturer,   consuner, and/or user ofthe Samsung

Galaxy s6 "BioPhone". The Samsr.rng Galaxy s6 "BioPhone" smartphone can measure your heart

and breathing rates, even    ifyou're not directly touching it. Researchers   at   MIT are working on a

project called BioPhone that derives biological signals from your smartphone's accelerometer,

which they say can capture the small movements ofyour body that result from the beating of

your heart and rising and falling ofyour chest. This information is useful to base medical

diagnoses in real-life conditions and to help track chronic health conditions and effects     of

therapeutic interventions. Research is based upon work supported by the National Science

Foundation (l.{SF CCF-1029585), Samsung, and the MIT Media Lab Consortium.

                2O0.   As a result of contracts with the National Science Foundation (NSF),

Samsung Group, and the       MIT Media Lab Consortium for the development and

commercialization of the Samsung Galaxy s6 "BioPhone", and the "Samsung Electronic

Communications Device", the United States has used, authorized the use, and manufactured,

without license or legal righ! Plaintiffs inventions described in and covered by the'439, and

'990 Patents.

         "Biotouch" Samsung Galaxy        s6 and the    "Biotouch System" / "Nett Warrior"

                                         Smartphone System

Count I:



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                 201.    Upon information and belief, the U.S. Army Edgewood Chemical

Biological Center (ECBC), the U.S. Army Communications-Electronics Research, Development

and Engineering Center (CERDEC), and the Defense Threat Reduction Agency (DTRA), (the

United States), after several notices between the years 2006 -2012, has "taken" and continues to

"take" the Plaintiff s personal property and used it for the benefit of the public without paying

just compensation to the Plaintiff. Pursuant to the guidelines of    a   "Govemment Fifth Amendment

Takings", the Govemment has taken the intangible private and personal property subject matter

as   outlined in the Plaintiffs '497,'033,'752,'761, '280,'891, '990, '189, and'439 U.S. patents

specifications and patent claims that are significantly the same or equivalent to the claimed

inventions ofthe Plaintiff. Significantly the same or equivalent to the specifications ofthe

Samsung Galaxy s6 "Biotouch System" / "Nett Warrior" Smartphone System, and the "Samsung

Electronic Communications Device".

                202.     As a result ofat least one of, a public offer to contract; public offer to

enter into a cooperative agreement; the publication     ofa solicitation;   a   public offer to award; a

public announcement of tangible subject matter material; a public offer for           a grant; or, the


interagency exchange of unauthorized information, the United States actions and conduct and the

actions and conduct of its agents, including at least that of the U.S. Army Edgewood Chemical

Biological Center (ECBC), the U.S. Army Communications-Electronics Research, Development

and Engineering Center (CERDEC), and the Defense Threat Reduction Agency (DTRA) has

used for the benefit   ofthe public, authorized the use for the benefit ofthe public, shared

intangible subject matter without a license or legal right, and without authorization and consent

irom the Plaintiff; Plaintiffs personal property subject matter    as described      in and covered by the

PlaintifPs '497,'033,'752,'761,'280, '891, '990, '189, and '439 patents.



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               203.    Further, as a result of the Govemment (United States) Fifth Amendment

"Takings" of Plaintifls property and using it with the public without just compensation to the

Plaintiff, the resulting economic impact ofthe "Takings" is   a reduction   in value of the Plaintifls

property by virtue ofthe access, disclosure, manufacture, development or use, by or for the

Govemment and its third party awardees; has destroyed the Plaintills competitive edge; has had

a substantial adverse impact (means unfavorable or    harmful; preventing success or development)

on "the reasonable investment-backed expectations" of the Plaintiff; the character of the

Govemment's action was triggered when the "Takings" caused a permanent physical invasion of

the Plaintiff s property and eliminated all economically beneficial uses ofsuch property by way

ofthe Government's manufacture and development ofproducts, devices, methods, and systems

that are significantly the same or equivalent to the claimed inventions of the Plaintiff. Just

compensation is due the Plaintiff for the Govemment's actions under Section 1491.

Count   II:
               204.    Upon information and belief, the United States has infringed, and

continues to infringe, at least claims 13,and 17 of the'439 Patent, and claims I19, 18, 118, 12,

28,25,20,32,30, 17, 108 and 124 ofthe'990        Patent as a current manufacturer, consumer,

and/or user of the "Biotouch System" / "Nett Warrior" Smartphone System: The U.S. Army

developed a biological and chemical detection system. They developed volatile organic

compound (VOC) strips that work with a device called a Biotouch. Biotouch relays information

from VOC strips and sends results to a Nett Warrior Samsung Galaxy Note II smartphone,

Defense Systems reports. Partnership between scientists and engineers at U.S. Army Edgewood

Chemical Biological Center (ECBC), iSense, LLC., U.S. Army Communications-Electronics

Research, Development and Engineering Center (CERDEC) and the Defense Threat Reduction




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Agency (DTRA). ECBC, iSense, CERDEC and DTRA work is to evaluate potential

chemical/biological (CB) threats using smartphones. "The idea is to have two smartphones: the

Biotouch Samsung Galaxy s6 smartphone that could test the VOC and the Nett Warrior Samsung

Galaxy Note II smartphone. VOCs are postage stamp-sized colorimetric sensor assays with 88

different indicator dyes developed by iSense LLC (Boston, MA).

                    205.     As a result of contracts with the U.S. Army Edgewood Chemical

Biological Center (ECBC), iSense, LLC., U.S. Army Communications-Electronics Research,

Development and Engineering Center (CERDEC), the Samsung Group, and the Defense Threat

Reduction Agency (DTRA) for the development and commercialization of the "Biotouch

System" / "Nett Warrior" Smartphone System, and the "Samsung Electronic Communications

Device", the United States has used, authorized the use, and manufactured, without license or

legal right, Plaintiffs inventions described in and covered by the '439 and '990 Patents.

                       PositivelD / "Firefly DXrr interconnected to the Samsung

                                            Galaxy s6 Smartphone

Count I:

                    206.     Upon information and belief, the US Departrnent of Homeland Security

(DHS), (the United States), after several notices between the years 2006 -2012, has '1aken" and

continues to "take" the Plaintiffs personal property and used it for the benefit ofthe public

without paying just compensation to the Plaintiff. Pursuant to the guidelines of a "Govemment

Fifth Amendment Takings", the Govemment has taken the intangible private and personal

property subject matter as outlined in the Plaintiffs '497, '033, ,7 52, ,7 61,.280, .891 , .990,

'   189, and '439   u.s.   patents specifications and patent claims that are significantly the same or




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equivalent to the claimed inventions ofthe Plaintiff. Significantly the same or equivalent to the

specifications ofthe PositivelD / "Firefly DX"; Samsung Galaxy s6 Smartphone.

                 207.       As a result ofat least one of, a public offer to contracU public offer to

enter into a cooperative agreement; the publication ofa solicitation; a public offer to award; a

public announcement of tangible subject matter material; a public offer for         a grant; or, the


interagency exchange of unauthorized information, the United States actions and conduct and the

actions and conduct of its agents, including at least that of the US Department of Homeland

Security (DHS) has used for the benefit ofthe public, authorized the use for the benefit ofthe

public, shared intangibte subject matter without a license or legal right, and without authorization

and consent from the Plaintiff;      Plaintiffs personal property subject matter   as described in and

covered by the PlaintifPs '497,'033,'752,'761, '280, '891, '990, ' 189, and'439 patents.

                 208.       Further, as a result of the Govemment (United States) Fifth Amendment

"Takings" of Plaintiffs property and using it with the public without just compensation to the

Plaintiff, the resulting economic impact ofthe "Takings" is a reduction in value ofthe Plaintiff         s


property by virtue ofthe access, disclosure, manufacture, development or use, by or for the

Govemment and its third party awardees; has destroyed the Plaintiffs competitive edge; has had

a substantial adverse impact (means unfavorable or harmful; preventing success or development)

on "the reasonable investment-backed expectations" ofthe Plaintiff; the character ofthe

Govemment's action was triggered when the "Takings" caused a permanent physical invasion                 of
the   Plaintiffs property   and eliminated all economically beneficial uses of such property by way

ofthe Govemment's manufacture and development ofproducts, devices, methods, and systems

that are significantly the same or equivalent to the claimed inventions ofthe plaintiff. Just

compensation is due the Plaintifffor the Govemment's actions under Section 1491.



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Count   II:
                 209.   Upon information and belief, the United States has infringed, and

continues to infringe, at least claim l3 of the '439 Patent, and claims 18, 12,28,25,20,32, and

30 of the '990 Patent as a current manufacturer, consumer, and/or user   ofthe PositivelD /

"Firefly DX"; Samsung Galaxy s6 Smartphone: PositivelD's (PSID) M-BAND developed by

MicroFluidic Systems ('MFS') subsidiary; received funding excess of $30 million from

Department of Homeland Security (DHS). Firefly DX, builds upon technology advances

achieved in development of M-BAND system. Firefly Dx overview: Miniaturized version of M-

BAND using    same technologies, real-time PCR detection; Hand-held detection provides sample

purification and biological analysis; A two-part device consisting ofa portable handheld

instrument with wireless communication and disposable single-use cartridges all analltical

elements; Data processed in real time and communicated to PC or smartphone (e.g., Galaxy s6)

using mobile applications and cloud storage; Has the ability to detect and identifu common

pathogens and diseases as various strains of influenz4 E.coli, MRSA and human papilloma virus


c'HPV").

                 210.   As a result of contracts with the Department of Homeland Secwity (DHS),

PositivelD Corporation, and the Samsung Group for the development and commercialization of

the PositivelD   i "Firefly DX";   Samsung Galaxy s6 Smartphone the United States has used,

authorized the use, and manufactured, without license or legal right, Plaintifls inventions

described in and covered by the '439, and '990 Patents.

                              "Cell-All": Synkera MikroKera Ultra
Count   I:




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                 211   .   Upon information and belief, the U.S. Department of Homeland Security

(DHS), and NASA's Ames Research Center, (the United States), after several notices between

the years 2006 -2012, has "taken" and continues to "iake" the Plaintifls personal property and

used   it for the benefit ofthe public without paying just compensation to the Plaintiff. Pursuant to

the guidelines of a "Govemment Fifth Amendment Takings", the Govemment has taken the

intangible private and personal property subject matter as outlined in the Plaintifl s '497 , '033,

'752,'761, '280, '891, '990, ' 189, and'439 U.S. patents specifications and patent claims that          are

significantly the same or equivalent to the claimed inventions of the Plaintiff. Significantly the

same or equivalent to the specifications of the     "Cell-All": Synkera MikoKera Ultra.

                 212.      As a result ofat least one of, a public offer to contract; public offer to

enter into a cooperative agreement; the publication ofa solicitation; a public offer to award; a

public announcement of tangible subject matter material; a public offer for        a grant; or, the


interagency exchange of unauthorized information, the United States actions and conduct and the

actions and conduct of its agents, including at least that ofthe U.S. Department of Homeland

Security (DHS), and NASA's Ames Research Center has used for the benefit of the public,

authorized the use for the benefit ofthe public, shared intangible subject matter without a license

or legal right, and without authorization and consent fiom the Plaintiff; Plaintifls personal

property subject matter as described in and covered by the Plaintiff s '497, '033, '7 52,'761,

'280,'891,'990,'189, and'439         patents.

                 213.      Further, as a result of the Govemment (United States) Fifth Amendment

"Takings" of Plaintiffs property and using it with the public without just compensation to the

Plaintiff, the resulting economic impact of the "Takings" is a reduction in value of the Plaintifl       s


property by virtue ofthe access, disclosure, manufacture, development or use, by or for the



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Govemment and its third party awardees; has destroyed the Plaintiff s competitive edge; has had

a substantial adverse impact (means unfavorable or     harmful; preventing success or development)

on "the reasonable investment-backed expectations"      ofthe Plaintifi the character of the

Govemment's action was triggered when the "Takings" caused a permanent physical invasion                of

the Plaintiffs property and eliminated all economically beneficial uses of such property by way

ofthe Government's manufacture and development ofproducts, devices, methods, and systems

that are significantly the same or equivalent to the claimed inventions ofthe Plaintiff. Just

compensation is due the Plaintifffor the Govemment's actions under Section 1491.

Count   II:
               214.    Upon information and belief, the United States has infringed, and

continues to infiinge, at least claims 1,2, utd 4 of the'497 Patent, claims 34 and 37 of lhe'752

Patent, claims 14 and 20   ofthe'439   Patent, and claims 119,   29,18,12,28,25,20,118,17,92,

and 124 of the '990 Patent as a current manufacturer, consumer, and,/or user of the "Cell-All":

Synkera MikroKera Ultra: Synkera presented the MikroKera Ultra Module at the Department             of

Homeland Security S&T "Cell-All" demonstration in Los Angeles on September 28, 2011.

Synkera offers a general purpose digital module for evaluation and use of MikroKera Ultra

chemical sensors. Synkera Technologies has been funded by DHS to develop sensors that are

suitable for integration into cell phones and other ubiquitous electronic devices carried by first

responders and the public at large. The DHS S&T       "Cell-All" project goal   is to develop sensors

that can detect life-threatening gases to be incorporated into cell phones. One feature of the

Synkera MikroKera Ultra is: available with or without case. The monitoring equipment for this

"Cell-All" project is at least a Samsung Galaxy s6 smartphone that has     an   Android operating

system (O/S). The Department of Homeland Security's (DHS) Science and Technology




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Directorate (S&T), Cell-All aims "to equip your cell phone (e.g. Apple iPhone) with a sensor

capable ofdetecting deadly chemicals", says Stephen Dennis,       Cell-All's program manager. S&T

pursued cooperative agreements with four cell phone manufacturers: Qualcomm, LG, Apple, and

Samsung. Jing   Li,   a   physical scientist at NASA's Ames Research Center, developed new

technology that would bring compact, low-cost, low-power, high-speed nanosensor-based

chemical sensing chip which consists of64 nanosensors and plugs into an Apple iTouch 30-pin

dock connector. The new device is able to detect and identifu chemicals in the air using a

"sample   jet" and   sends detection data to another phone (e.g. Apple iPhone) or a computer   via

telephone communication network or        WiFi.

                215.       As a result of contracts with the U.S. Department of Homeland Security

@HS), Synkera Technologies Inc., and NASA's Ames Research Center; cooperative agreements

with Qualcomm Inc., LG Electronics, Apple Inc., and the Samsung Group for the development

and commercialization of the      "Cell-All": Synkera MikroKera Ultra   and a low-cost, low-power,

high-speed nanosensor-based chemical sensing chip which consists of 64 nanosensors, the

United States has used, authorized the use, and manufactured, without license or legal right,

Plaintiffs inventions described in and covered by the '497,'752,'439 utd '990       Patents.

                                    l4-A "Kromek D3S-ID": A Standalone Isotope ID

Count I:

                216.       Upon information and belief, the U.S. Department of Defense (DoD) and

the Defense Advanced Research Projects Agency (DARPA), (the United States), after several

notices between the years 2006 -2012, has "taken" and continues to "take" the Plaintiffs

personal property and used it for the benefit ofthe public without payingjust compensation to

the Plaintiff. Pursuant to the guidelines of a "Govemment Fifth Amendment Takings", the



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Govemment has taken the intangible private and personal property subject matter as outlined in

the Plaintifls '497,'033, "152,'761, '280,'891,'990,'189, and'439 U.S. patents specifications

and patent claims that are significantly the same or equivalent to the claimed inventions               ofthe

Plaintiff. Signihcantly the same or equivalent to the specifications of the "Kromek D3S- ID: A

Standalone Isotope      ID"   and the "Samsung Electronic Communications Device".

                   217.    As a result ofat least one of, a public offer to contract; public offer to

enter into a cooperative agreement; the publication             ofa solicitation;   a public offer to award; a

public announcement of tangible subject matter material; a public offer for a grant; or, the

interagency exchange of unauthorized information, the United States actions and conduct and the

actions and conduct of its agents, including at least that ofthe U.S. Department ofDefense

@oD) and the Defense Advanced Research Projects Agency (DARPA) has used for the benefit

ofthe public, authorized the use for the beneflt ofthe public, shared inlangible subject matter

without a license or legal right, and without authorization and consent from the Plaintiff;

Plaintiffs personal property subject matter            as described   in and covered by the Plaintiffs'497,

'   033,' 7 52,' 7 61,' 280,'89   l,'990,'   I   89, and'439 patents.

                   218.    Further, as a result of the Govemment (United States) Fifth Amendment

"Takings" of Plaintilfs property and using it with the public without just compensation to the

Plaintiff, the resulting economic impact of the "Takings" is             a reduction   in value of the Plaintiffs

property by virtue of the access, disclosure, manufacture, development or use, by or for the

Govemment and its third party awardees; has destroyed the Plaintifls competitive edge; has had

a substantial adverse impact (means unfavorable or harmful; preventing success or development)

on "the reasonable investment-backed expectations" ofthe Plaintiff; the character of the

Govemment's action was triggered when the "Takings" caused a permanent physical invasion                         of


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the   Plaintifls property   and eliminated all economically beneficial uses ofsuch property by way

of the Govemment's manufacture and development of products, devices, methods, and systems

that are significantly the same or equivalent to the claimed inventions ofthe Plaintiff. Just

compen*ltion is due the Plaintiff for the Government's actions under Section 1491 .

Count    II:
                  219.      Upon information and belief, the United States has infiinged, and

continues to infringe, at least claim l4 ofthe'439 Paten! claim 34 ofthe 752 patenl, and claims

18, I18, 12, 28,25,20, and 124 of the '990 Patent as a current manufacturer, consumer, and,/or

user of the "Kromek D3S-ID" that is interconnected to the Samsung Galaxy. Kromek

announced the SIGMA programme            ofthe Defense Advanced Research Projects Agency

(DARPA), an agency of the US Department of Defense. Kromek led the design, development

and supply     ofan advanced portable detection system for gamma and neutron radiation;

combined in large networks, providing information on radiation signatures. Kromek was

awarded a sole source contract for its D3S detectors. The Company has been awarded contracts

worth more than $l I million to-date under this progr:rmme. The D3SJD - a standalone next

generation isotope ID. Each one is paired with and connected to a Samsung Galaxy smartphone.

The D3S-ID leverages the power ofthe Samsung Android technology. The Samsung Android

app tums the D3S-ID into a highly capable mini Radiation Isotope Identification device (RIID).

35 isotopes representing Medical, Industrial and SNM classes.

                  220.   As a result of contracts with the U.S. Defense Advanced Research Projects

Agency (DARPA), Kromek Group plc, and Samsung for the development and

commercialization of the "Kromek D3S- ID: A Standalone Isotope ID" and the "Samsung

Electronic Communications Device" the United States has used, authorized the use, and



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manufactued, without license or legal right, Plaintifls inventions described in and covered by

the '439, 752, and'990 Patents.

                        MIT: "NTC"      Samsung Galexy s6 Smartphone Sensor

Count     I:
                   221.    Upon information and beliell the U.S. Army, (the United States) after

several notices between the years 2006 -2012, has "taken" and continues to "take" the              Plaintifls

personal property and used it for the benefit ofthe public without payingjust compensation to

the Plaintiff. Pursuant to the guidelines of a "Govemment Fifth Amendment Takings", the

Govemment has taken the intangible private and personal property subject matter as outlined in

the Plaintiffs'497,'033,'752,'761, '280,'891,'990,'189, and'439 U.S. patents specifications

and patent claims that are sigrificantly the same or equivalent to the claimed inventions of the

Plaintiff. Significantly the same or equivalent to the specifications of the MIT: "NFC" Samsung

Galaxy s6 Smartphone Sensor.

                   222.   As a result ofat least one of, a public offer to contract; public offer to

enter into a cooperative agreement; the publication       ofa solicitation;    a   public offer to award; a

public announcement of tangible        subj ect matter material ; a   public offer for a grant; or, the

interagency exchange of unauthorized information, the United States actions and conduct and the

actions and conduct of its agents, including at least that ofthe U.S. Army has used for the benefit

of the public, authorized the use for the benefit of the public, shared intangible subject matter

without a license or legal right, and without authorization and consent from the Plaintiff;

Plaintifls personal property subject matter      as described in and covered        by the PlaintifPs '497,

'   033,' 7 52,' 7 61,' 280,' 89 1,'990,' 1 89, and'439 patents.




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                 223.       Further, as a result of the Govemment (United States) Fifth Amendment

"Takings" of Plaintiff s property and using it with the public without just compensation to the

Plaintiff, the resulting economic impact of the "Takings" is       a reduction   in value of the PlaintifPs

property by virtue ofthe access, disclosure, manufacture, development or use, by or for the

Govemment and its third party awardees; has destroyed the PlaintifFs competitive edge; has had

a substantial adverse impact (means unfavorable or harmfirl; preventing success or development)

on "the reasonable investment-backed expectations" ofthe Plaintiff; the character ofthe

Govemment's action was triggered when the "Takings" caused a permanent physical invasion                    of

the   Plaintifls property   and eliminated all economically beneficial uses ofsuch property by way

ofthe Govemment's manufacture and development ofproducts, devices, methods, and systems

that are significantly the same or equivalent to the claimed inventions ofthe Plaintiff. Just

compensation is due the Plaintifffor the Govemment's actions under Section 1491.

Count    II:
                 224.       Upon information and betief, the United States has infiinged, and

continues to infiinge, at least claim I 5 of the '439 Patent, and claims 18, 12,28,25, 20, and I 1 8

of the '990 Patent as a current manufacturer, consurner, and/or user ofthe MIT: "NFC" Samsung

Galaxy s6 Smartphone Sensor: The MIT 'NFC" Smartphone sensors are made from modified

near-field communication (NFC) tags. These tags, which receive the little power they need from

the Samsung Galaxy s6 smartphone reading them, lirnction as wirelessly addressable barcodes.

The modified tags are referred to as CARDs: chemically actuated resonant devices. When a

smartphone pings the CARD, the CARD responds only            if it can receive sufficient power    at the

smartphone transmitted radio frequencies (RF). Support       for   the Smartphone used as a stand-

alone scanner: " Still, another objective of the present invention is to provide a multi sensor



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detection anel disabling lock system wherein the interchangeable deteclors that comprise part      of
the system can be used as stand-alone scanners" (Patenl No. 9,589,139    ("'439 Patent); Col. #5;

Lines 25-28). "FIG. 12 is a representative schematic view of the multi sensor detection and lock

disabling system of the present invention illustrdting the sequence ofsteps undertaken by one

detector when functioning as a standalone scanner for detecting an agent or compound" (Patent

No. 9,589,439   ("'139 Paten); Col. #6; Lines 26-30). "As shown in FIGS. l, 2 and   9-1   3, the

muhi sensor detection and lock disabling system l0 includes a plurality ofdetectors 46 wilh each

detector 46 adaptedfor and set up to sample   for a specific agenl or compound (hiological,
chemical, or radiological); and the detectors 46 are interchangeable for adapting to lhe needs

and demands offuture technologt. The detectors 46 can also be used as standalone scanners.         "

(Patent No. 9,589,439 ("'439 Patent); Col. #9; Lines 54-56). "The detector 46 functions as a

stand-alone scanner and can be wirelessly inlerconnected... " (Patent No. 9,589,439   ("439

Patent); Col. #9; Lines 51-56).

                225.   MIT's research was funded by the U.S. Army Research Laboratory and

the U.S. Army Research Office. This invention was made with government support under

Contract No. W91INF-07-D-0004 awarded by the Army Research Office. The govemment has

certain rights in the invention. MIT Patent App. No. 141528,856

                226.   As a result of contracts with the U.S. Army Research Laboratory (ARL),

the U.S. Army Research Office (ARO), Massachusetts Institute of Technology (MIT), and the

Samsung Group for the development and commercialization of the      MIT: "NFC" Samsung

Galaxy s6 Smartphone Sensor the United States has used, authorized the use, and manufactured,

without license or legal right, Plaintiffs inventions described in and covered by the '439, and

'990 Patents.



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                                NRL: SIN-VAPOR / Smartphone System

Count I:

                  227.   Upon information and beliei the U.S. Navy and the U.S. Naval Research

Laboratory   $RL), (he United       States), after several notices between the years 2006 -2012, has

"taken" and continues to "take" the Plaintiffs personal property and used it for the benefit ofthe

public without payingjust compensation to the Plaintiff. Pursuant to the guidelines ofa

"Govemment Fifth Amendment Takings", the Govemment has taken the intangible private and

personal property subject matter as outlined in the Plaintiffs '497,'033,'752,'761, '280, '891,

'990, ' 189, and '439 U.S. patents specifications and patent claims that are significantly the same

or equivalent to the claimed inventions ofthe Plaintiff. Significantly the same or equivalent to

the specifications of the NRL: SIN-VAPOR / Smartphone System.

                  228.   As a result ofat least one oll a public offer to contract; public offer to

enter into a cooperative agreement; the publication      ofa solicitation;   a   public offer to award; a

public announcement of tangible subject matter material; a public offer for           a grant; or, the


interagency exchange of unauthorized information, the United States actions and conduct and the

actions and conduct of its agents, including at least that of the U.S. Navy and the U.S. Naval

Research Laboratory (NRL) has used for the benefit of the public, authorized the use for the

benefit ofthe public, shared intangible subject matter without a license or legal right, and

without authorization and consent liom the Plaintiff; Plaintiffs personal property subject matter

as described    in and covered by the PlaintifPs '497,'033,'752,'761, '280, '891, '990, ' 189, and

'439 patents.

                  229.   Further, as a result of the Govemment (United States) Fifth Amendment

"Takings" of PlaintifP   s   property and using it with the public without just compensation to the



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Plaintiff, the resulting economic impact ofthe "Takings" is a reduction in value ofthe Plaintifls

property by virtue of the access, disclosure, manufacture, development or use, by or for the

Govemment and its third party awardees; has destroyed the Plaintiff s competitive edge; has had

a substantial adverse impact (means unfavorable or   harmful; preventing success or development)

on "the reasonable investment-backed expectations" of the Plaintiff; the character olthe

Govemment's action was triggered when the "Takings" caused a permanent physical invasion        of

the Plaintifls property and eliminated all economically beneficial uses ofsuch property by way

ofthe Govemment's manufacture and development ofproducts, devices, methods, and systems

that are significantly the same or equivalent to the claimed inventions ofthe Plaintiff. Just

compensation is due the Plaintifffor the Govemment's actions under Section 1491.

Count   II:
               230.    Upon information and belief, the United States has infiinged, and

continues to infringe, at least claim l6 of the '439 Patent, and claims 118,18,122,124, and 108

of the '990 Patent as a current manufacturer, consumer, and/or user. By using easily produced

super-small components, the devices potentially can be installed in a variety ofdevices, such as

smartphones, robots or commercial appliances. Another goal is to install a sensor on a Google

Nexus 7 tablet computer and conduct some wireless sensor networking. The NRL: SIN-VAPOR

/ Smartphone System: Developed by the U.S. Naval Research Laboratory (NRI-) in Washington,

D.C.; the silicon nanowires in a vertical array with a porous electrode (SiN-VAPOR) sensor: In

addition to detecting chemical weapons or explosives, the sensor can be used for identifuing

biological agents Dr. Christopher Field, the lead NRL scientist on the SiN-VAPOR research

team is working with the NRL's biological research group to apply the sensor in this area.




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                 231.   As a result of contracts with the U.S. Naval Research Laboratory (NRL),

Google, Samsung Group and Apple Inc. for the development and commercialization of the NRL:

SIN-VAPOR / Smartphone System the United States has used, authorized the use, and

manufactured, without license or legal right, Plaintiffs inventions described in and covered by

the '439, and '990 Patents.

                                iPhone "Biodetector" Smafirhone

Count I:

                 232.   Upon information and belief, the National Science Foundation, (the

United States), after several notices between the years 2006 -2012, has "taken" and continues to

"take" the PlaintifPs personal property and used it for the benefit ofthe public without paying

just compensation to the Plaintiff. Pursuant to the guidelines of   a   "Govemment Fifth Amendment

Takings", the Govemment has taken the intangible private and personal property subject matter

as   outlined in the Plaintiffs '497,'033,'752,'761, '280, '891, '990, '189, and'439 U.S. patents

specifications and patent claims that are significantly the same or equivalent to the claimed

inventions ofthe Plaintiff. Significantly the same or equivalent to the specifications of the

iPhone "Biodetector" Smartphone, and the "Samsung Electronic Communications Device".

                 233.   As a result ofat least one of, a public offer to contract; public offer to

enter into a cooperative agreement; the publication ofa solicitation; a public offer to award; a

public announcement of tangible subject matter material; a public offer for     a grant; or, the


interagency exchange of unauthorized information, the United States actions and conduct and the

actions and conduct of its agents, including at least that ofthe National Science Foundation has

used for the benefit of the public, authorized the use for the benefit of the public, shared

intangible subject matter without a license or legal right, and without authorization and consent



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from the Plaintiff; Plaintifls personal property subject matter as described in and covered by the

Plaintifls '497,'033,'7 52,'761,'280, '891, '990, '189, and '439 patents.

               234.     Further, as a result of the Govemment (United States) Fifth Amendment

"Takings" of Plaintills property and using it with the public without just compensation to the

Plaintiff, the resulting economic impact of the "Takings" is   a reduction   in value of the Plaintifls

property by virtue ofthe access, disclosure, manufacture, development or use, by or for the

Govemment and its third party awardees; has destroyed the Plaintifls competitive edge; has had

a substantial adverse impact (means unfavorable or harmful; preventing success or development)

on "the reasonable investment-backed expectations" ofthe Plaintiff; the character ofthe

Govemment's action was triggered when the "Takings" caused a permanent physical invasion of

the Plaintiffs property and eliminated all economically beneficial uses of such property by way

ofthe Govemment's manufacture and development ofproducts, devices, methods, and systems

that are significantly the same or equivalent to the claimed inventions ofthe Plaintiff. Just

compensation is due the Plaintiff for the Govemment's actions under Section 1491.

Count   II:
               235.     Upon information and beliel the United States has infringed, and

continues to infringe, at least claim 16, of the '439 Patent, and claims 118, 18, 122, 124, and 108

ofthe '990 Patent   as a current manufacturer, consumer, and/or user   of the iPhone "Biodetector"

Smartphone: Pro. Brian T. Cunningham, University of lllinois has won a $300,000 National

Science Foundation grant for research into tuming smartphones into biodetectors. The

biodetectors used in counterterrorism fall into three broad categories: biochemical systems

detecting a DNA sequence or protein unique to the bioagent through interaction with a test

molecule; tissue-based systems, in which a bioagent or toxic chemical aflect living mammalian



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cells, causing them to undergo some measurable response; and chemical mass specEometry

systems, which break samples down into their chemical components whose weights are then

compared to those of known biological or chemical agents.

               236.   As a result of contracts with the National Science Foundation (NSF) and

the University ofIllinois for the development and commercialization of the iPhone "Biodetector"

Smartphone, and the "Samsung Electronic Communications Device", the United States has used,

authorized the use, and manufactured, without license or legal right, Plaintiffs inventions

described in and covered by the '439 and '990 Patents.

                      FLIR: identiFINDER R300 / Smartphone System

Count   I:
               237.    Upon information and belief, the Defense Threat Reduction Agency

(DTRA), (the United States), after several notices between the years 2006 -2012, has "taken" and

continues to "take" the Plaintiffs personal property and used it for the benefit ofthe public

without paying just compensation to the Plaintiff. Pursuant to the guidelines ola "Govemment

Fifth Amendment Takings", t}re Govemment has taken the intangible private and personal

property subject matter as outlined in the Plaintiffs '497 ,'033,'752,'761, '280, '891, '990,

'189, and '439 U.S. patents specifications and patent claims that are significantly the same or

equivalent to the claimed inventions ofthe Plaintiff. Significantly the same or equivalent to the

specifications of the FLIR: identiFINDER R300 / Smartphone System.

               238.   As a result ofat least one of, a public offer to contract; public offer to

enter into a cooperative agreement; the publication   ofa solicitation;   a   public offer to award; a

public announcement of tangible subject matter material; a public offer for        a grant; or, the


interagency exchange of unauthorized information, the United States actions and conduct and the



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actions and conduct of its agents, including at least that ofthe Defense Threat Reduction Agency

(DTRA) has used for the benefit ofthe public, authorized the use for the benefit ofthe public,

shared intangible subject matter without a license or legal right, and without authorization and

consent from the   Plaintifll Plaintifls personal property subject matter       as described      in and

covered by the Plaintiffs '497,'033,'752,'761, '280, '891, '990, '189, and '439 patents.

               239.     Further, as a result of the Govemment (United States) Fifth Amendment

"Takings" of PlaintifPs property and using it with the public without just compensation to the

Plaintiff, the resulting economic impact of the "Takings" is         a reduction   in value of the Plaintiffs

property by virtue of the access, disclosure, manufacture, development or use, by or for the

Govemment and its third party awardees; has destroyed the Ptaintiffs competitive edge; has had

a substantial adverse impact (means unfavorable or harmful; preventing success or development)

on "the reasonable investment-backed expectations" of the Plaintiff; the character ofthe

Govemment's action was triggered when the "Takings" caused a permanent physical invasion                      of

the Plaintiffs property and eliminated all economically beneficial uses olsuch property by way

of the Govemment's manufacture and development ofproducts, devices, methods, and systems

that are significantly the same or equivalent to the claimed inventions of the Plaintiff. Just

compensation is due the Plaintifffor the Govemment's actions under Section 1491.

Count   II:
               240.     Upon information and belief, the United States has infiinged, and

continues to infringe, at least claim 16 ofthe '439 Patent, and claims I 18, 18, 122, 124, and 108

of the '990 Patent as a current manufacturer, consumer, and/or user ofthe FLIR: identiFINDER

R300 / Smartphone System: FLIR Systems, Inc. announced on June 16, 201 1 that the Defense

Threat Reduction Agency (DTRA) has awarded it a       $   1.   1   million contract for   a   multi-year, multi-



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phase research and development contract to develop a mobile, ruggedized stand-off radiation

detection system with identification capabilities. "FLIR has developed a radiation detection and

identification device and is manufacturing the world's leading handheld radio-isotope identifier,

the identiFINDER." said William Sundermeier, president of FLIR Detection and Protection. In

particular, the FLIR identiFINDER R300 will identify threat objects. A threat object is

radioactive material whose signature is that of material used for terrorist purposes. Threat

materials are usually those used in a nuclear explosive devices or in Radiological Dispersive

Devices ("Dirty" bombs). The device qualifies as a detector case with features of multiple

sensors, intemet and GPS connection.

                241.   As a result of contracts with the Defense Threat Reduction Agency

(DTRA) and FLIR Systems for the development and commercialization of the Navy Marine

Corps Intranet (NMCD Network the United States has used, authorized the use, and

manufactured, without license or legal right, Plaintiffs inventions described in and covered by

the '439, and '990 Patents.

                   "VOCket System" / "Nett Warrior" Smartphone System

Count   I:
               242.    Upon information and belief, the U.S. Army, and the U.S. Army

Edgewood Chemical Biological Center (ECBC), (the United States), after several notices

between the years 2006 -2012, has "taken" and continues to "take" the    Plaintifls personal

property and used it for the benefit of the public without payingjust compensation to the

Plaintiff. Pursuant to the guidelines of   a   "Govemment Fifth Amendment Takings", the

Govemment has taken the intangible private and personal property subject matter as outlined in

the Plaintiffs '497,'033,'752,'761, '280, '891, '990, '189, and,'439 U.S. patenrs specifications



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and patent claims that are significantly the same or equivalent to the claimed inventions of the

Plaintiff. Significantly the same or equivalent to the specifications of the "VOCket System" /

"Nett Warrior" Smartphone System.

               243.    As a result ofat least one of, a public offer to contract; public offer to

enter into a cooperative agreement; the publication   ofa solicitation;   a   public offer to award; a

public announcement of tangible subject matter material; a public offer for         a grant; or, the


interagency exchange of unauthorized information, the United States actions and conduct and the

actions and conduct of its agents, including at least that of the U.S. Army and the U.S. Army

Edgewood Chemical Biological Center (ECBC) has used for the benefit ofthe public, authorized

the use for the benefit ofthe public, shared intangible subject matter without a license or legal

right, and without authorization and consent from the Plaintiff; Plaintiffs personal property

subject matter as described in and covered by the Plaintiffs'497,'033,'752,'761, '280, '891,

'990,'189, and '439 patents.

               244.    Further, as a result of the Govemment (United States) Fifth Amendment

"Takings" of Plaintilf s property and using it with the public without just compensation to the

Plaintiff, the resulting economic impact of the "Takings" is   a reduction     in value of the Plaintifls

property by virtue of the access, disclosure, manufacture, development or use, by or for the

Govemment and its third party awardees; has destroyed the Plaintiffs competitive edge; has had

a substantial adverse impact (means unfavorable    or harmfirl; preventing success or development)

on 'the reasonable investment-backed expectations" of the Plaintiff; the character ofthe

Govemment's action was triggered when the "Takings" caused a permanent physical invasion                 of
the Plaintiffs property and eliminated all economically beneficial uses ofsuch property by way

of the Govemment's manufacture and development of products, devices, methods, and systems



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that are significantly the same or equivalent to the claimed inventions ofthe Plaintiff. Just

compensation is due the Plaintiff for the Govemment's actions under Section 1491.

Count   II:
               245.      Upon information and belief, the United States has infringed, and

continues to infringe, at least claim 17 of the '439 Patent, and claims 119, 17, 18, 124 and 108   of

the '990 Patent as a current manufacturer, consumer, and./or user of the "VOCket System" / "Nett

Warrior" Smartphone System: The Army's Edgewood Chemical Biological Center (ECBC)

researchers are refining for Army use a commercial technology that    will allow soldiers to

accurately and rapidly detect an array of chemical and biological hazards - from mustard agent to

anthrax The VOCket system is a small electronic device developed at ECBC and even

manulactured there, for now, on the center's 3D printers. The device reads the result of chemical

detection paper and transmit the results into the Army's network via the soldier-wom "Nett

Warrior" smartphone system. The "Nett Warrior" system is      a Samsung Galaxy Note    II
smartphone.

               246.      As a result of contracts with the , U.S. Army Edgewood Chemical

Biological Center (ECBC), and the Samsung Group for the development and commercialization

of the "VOCket System" / "Nett Wanior" Smartphone System the United States has used,

authorized the use, and manufactured, without license or legal right, Plaintiffs inventions

described in and covered by the '439, and '990 Patents.

                               GammaPix for Android Smartphones

Count I:

               247   .   Upon information and belief, the U.S. Department of Defense @oD) and

the Defense Advanced Research Projects Agency (DARPA), (the United States), after several



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notices between the years 2006 -20l2,has "taken" and continues to "take" the PlaintifPs

personal property and used it for the benefit ofthe public without payingjust compensation to

the Plaintiff. Pursuant to the guidelines of a "Govemment Fifth Amendment Takings", the

Govemment has taken the intangible private and personal property subject matter as outlined in

the    Plaintifls '497,'033,'752,'761, '280, '891, '990, '189, and '439 U.S.           patents specifications

and patent claims that are significantly the same or equivalent to the claimed inventions            ofthe

Plaintiff. Significantly the same or equivalent to the specifications of the GammaPix for Android

Smartphones.

                   248.   As a result ofat least one of, a public offer to contract; public offer to

enter into a cooperative agreement; the publication       ofa solicitation;   a   public offer to award; a

public announcement of tangible subject matter material; a public offer for             a grant; or, the


interagency exchange of unauthorized information, the United States actions and conduct and the

actions and conduct of its agents, including at least that of the U.S. Department of Defense

(DoD) and the Defense Advanced Research Projects Agency (DARPA) has used for the benefit

of the public, authorized the use for the benefit of the public, shared intangible subject matter

without a license or legal right, and without authorization and consent from the Plaintiff;

Plaintiffs personal property subject matter      as described   in and covered by the PlaintifPs '497,

'   033,' 7 52,' 7 61,' 280,' 89 1,'990,' 1 89, and'439 patents.

                  249.    Further, as a result of the Government (United States) Fifth Amendment

"Takings" of Plaintiffs property and using it with the public without just compensation to the

Plaintiff, the resulting economic impact ofthe "Takings" is        a reduction     in value ofthe Plaintifls

property by virtue ofthe access, disclosure, manufacture, development or use, by or for the

Govemment and its third party awardees; has destroyed the Plainti{Ps competitive edge; has had



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a substantial adverse impact (means unfavorable or harmful; preventing success or development)

on "the reasonable investment-backed expectations" ofthe Plaintiff; the character of the

Govemment's action was triggered when the "Takings" caused a permanent physical invasion of

the Plaintiffs property and eliminated all economically beneficial uses of such property by way

of the Govemment's manufacture and development of,products, devices, methods, and systems

that are significantly the same or equivalent to the claimed inventions ofthe Plaintiff. Just

compensation is due the Plaintifffor the Govemment's actions under Section 1491.

Count   II:
               250.    Upon information and belief, the United States has infringed, and

continues to infringe, at least claim l7 ofthe '439 Patent, and claims I19, 17, 18, 124, and 108

of the '990 Patent as a current manufacturer, consurner, and/or user of the GammaPix for

Android Smartphones: GammaPix for Android Smartphones (e.g. Samsung Galaxy s6) scans for

radiation using a smartphone camera sensor. Scanning for radiation and radioactive explosives

the camera looks for a particular 'signature' left behind by gamma rays. It measures the rate at

which rays hit the lens to determine radiation levels. App detects radiation in planes, hospitals,

contaminated items and more. It was created by Connecticut-based developers Image Insight

under a $679,000 contract with the U.S. Defense Advanced Research Projects Agency

(DARPA).

               251.    As a result of contracts with the U.S. Defense Advanced Research Projects

Agency (DARPA), Samsung Group, and Image Insight for the development and

commercialization of the GammaPix for Android Smartphones the United States has used,

authorized the use, and manufactured, without license or legal right, Plaintifls inventions

described in and covered by the '439, and '990 Patents.



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                  MultiRae Pro Wireless Portable Multi Threat Radiation and

                                         Chemical Detector

Count    I:
                 252.   Upon information and belief, the Environmental Protection Agency

(EPA), the Federal Emergency Management Agency (FEMA), US Marine Corps, (the United

States), after several notices between the years 2006 -2012, has "taken" and continues to "take"

the PlaintifPs personal property and used it for the benefit of the public without paying just

compensation to the Plaintiff. Pursuant to the guidelines of a "Govemment Fifth Amendment

Takings", the Govemment has taken the intangible private and personal property subject matter

as   outlined in the Plaintifls '497 ,'033,'752,'761,'280, '891, '990, '189, and'439 U.S. patents

specifications and patent claims that are significantly the same or equivalent to the claimed

inventions ofthe Plaintiff. Significantly the same or equivalent to the specifications of the

MultiRae Pro Wireless Portable Multi Threat Radiation and Chemical Detector.

                 253.   As a result ofat least one of, a public offer to contract; public offer to

enter into a cooperative agreement; the publication    ofa solicitation;   a   public offer to award; a

public announcement of tangible subject matter material; a public offer for          a grant; or, the

interagency exchange of unauthorized information, the United States actions and conduct and the

actions and conduct of its agents, including at least that of the Environmental Protection Agency

(EPA), the Federal Emergency Management Agency (FEMA), US Marine Corps has used for the

benefit ofthe public, authorized the use for the benefit ofthe public, shared intangible subject

matter without a license or legal right, and without authorization and consent fiom the Plaintiff;

PlaintifPs personal property subject matter as described in and covered by the Plaintiffs '497,

'033,'752,'761,'280, '891, '990, '189, and'439       patents.



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               254.    Further, as a result of the Govemment (United States) Fifth Amendment

"Takings" of Plaintiff s property and using it with the public withoutjust compensation to the

Plaintiff, the resulting economic impact of the "Takings" is a reduction in value of the Plaintifls

property by virtue ofthe access, disclosure, manufacture, development or use, by or for the

Govemment and its third party awardees; has destroyed the PlaintifPs competitive edge; has had

a substantial adverse impact (means unfavorable or harmful; preventing success or development)

on "the reasonable investment-backed expectations"    ofthe Plaintiff; the character ofthe

Govemment's action was triggered when the "Takings" caused a permanent physical invasion of

the Plaintifls property and eliminated all economically beneficial uses ofsuch property by way

ofthe Govemment's manufacture and development ofproducts, devices, methods, and systems

that are significantly the same or equivalent to the claimed inventions ofthe Plaintiff. Just

compensation is due the Plaintiff for the Govemment's actions under Section 1491.

Count   II:
               255.    Upon information and belief, the United States has infringed, and

continues to infiinge, at least claim l7 of the '439 Patent, and claims 119,79,124, and 78 ofthe

'990 Patent as a current manufacturer, consumer, and./or user of the MultiRae Pro Wireless

Portable Multi Threat Radiation and Chemical Detector: RAE Systems was awarded a five-year

contract by the Environmental Protection Agency (EPA) for its MultiRAE Pro monitors. The

Federal Emergency Management Agency (FEMA) has also adopted the MultiRAE Pro monitor

to its Urban Search and Rescue (US&R) equipment cache. Description: The RAE Systems

MultiRAE Pro is a CBRN multithread detection tool that combines continuous monitoring

capabilities for radiation and combustible gases. The MultiRAE Pro can be configured with 33

inlelligent sensors to fully meet the monitoring needs of applications such   as   HazMat response,



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CBRN/TIC/TIM detection, EOD, homeland security, and civil defense. Mission: The MultiRAE

Pro provides a handheld multi-gas sensor with 5 sensor channels that can detect toxic or

hazardous vapors: Users; US Marine Corps. The MultiRae Pro qualifies as a multi sensor

detector case that has interchangeable sensors; a battery power source; an intemet connection,

and, a GPS connection.

                 256.    As a result of contracts with the Environmental Protection Agency (EPA),

the Federal Emergency Management Agency (FEMA), US Marine Corps, and RAE Systems for

the development and commercialization of the MultiRae Pro Wireless Portable Multi Threat

Radiation and Chemical Detector the United States has used, authorized the use, and

manufactured, without license or legal right, Plaintifls inventions described in and covered by

the'439, and '990 Patents.

                 EAGER: Mobile-Phone Based Single Molecule Imaging of DNA

Count    I:
                 257.    Upon information and belief, the National Science Foundation, (the

United States), after several notices between the years 2006 -2012, has "taken" and continues to

"take" the Plaintifls personal property and used it for the benefit ofthe public without paying

just compensation to the Plaintiff. Pursuant to the guidelines of   a   "Govemment Fifth Amendment

Takings", the Govemment has taken the intangible private and personal property subiect matter

as   outlined in the Plaintifls '497,'033,',752,',761,.290, .991, .990, .199, and .439 U.S. patents

specifications and patent claims that are significantly the same or equivalent to the claimed

inventions of the Plaintiff. Significantly the same or equivalent to the specifications ofthe

"EAGER: Mobile-phone based single molecule imaging of DNA to analyze copy-number

variations in genome", and the "Apple Inc.'s Electronic Communications Device,,.



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                 258.   As a result ofat least one ol, a public offer to contract; public offer to

enter into a cooperative agreement; the publication         ofa solicitation;   a   public offer to award; a

public announcement of tangible subject matter material; a public offer for               a grant; or, the


interagency exchange of unauthorized information, the United States actions and conduct and the

actions ald conduct of its agents, including at least that of the National Science Foundation has

used for the benefit of the public, authorized the use for the benefit of the public, shared

intangible subject matter without a license or legal right, and without authorization and consent

from the Plaintiff; Plaintifls personal property subject matter as described in and covered by the

Plaintiff s' 497,' 033,' 7 52,' 7 61,'280,'   89   1,'990,'   1   89, and'439 patents.

                 259.   Further, as a result of the Govemment (United States) Fifth Amendment

"Takings" of Plaintifls property and using it with the public without just compensation to the

Plaintiff, the resulting economic impact of the "Takings" is            a reduction   in value of the Plainti{f   s


property by virtue ofthe access, disclosure, manufacture, development or use, by or for the

Govemment and its third party awardees; has destroyed the Plaintifls competitive edge; has had

a substantial adverse impact (means unfavorable or harmful; preventing success or development)

on "the reasonable investment-backed expectations" ofthe Plaintifl; the character ofthe

Govemment's action was triggered when the "Takings" caused a permanent physical invasion                          of
the   Plaintifls property and eliminated all economically beneficial uses ofsuch property by way

ofthe Government's manufacture and development ofproducts, devices, methods, and systems

that are significantly the same or equivalent to the claimed inventions ofthe Plaintiff. Just

compensation is due the Plaintiff for the Govemment's actions under Section 1491.

Count    II:




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                260.   Upon information and beliel the United States has infringed, and

continues to infiinge, at least claim l9 of the'439 Patent, and claims 118,92,25,12,124, and 99

of the '990 Patent as a current manufacturer, consumer, and/or user of the "EAGER: Mobile-

phone based single molecule imaging of DNA to analyze copy-number variations in genome."

The National Science Foundation awards a      gant of $299,995 to University of Califomia, Los

Angeles...This project is under the direction ofAydogan Ozcan...This award starts October 1,

2014 and ends September 30, 2016...Award:1 444240...P[Name: Ozcan, Aydogan...Award

Date: June 13, 2014. . .a transformative fluorescent microscopy system that is integruted onto a

mobile-phone for imaging of single DNA molecules... field-portable imagine interface running

on a smart-phone...will initially utilize state-of-art mobile phones...

                261-   As a result of contracts with the National Science Foundation, the

University of Califomi4 Los Angeles and Apple Inc. for the development and commercialization

of the "EAGER: Mobile-phone based single molecule imaging of DNA to analyze copy-number

variations in genome" and the "Apple Inc.'s Electronic Communications Device", the United

States has used, authorized the use, and manufactured, without license or legal right,   Plaintifls

inventions described in and covered by the'439, and'990 Patents.

                    INSPIRE Track 2: Public Health Nanotechnologr and

                                       Mobility (PHeNoM)

Count   I:
               262.    Upon information and belief, the National Science Foundation, (the

United States), after several notices between the years 2006 -2012, has'laken" and continues to

"take" the Plaintifls personal property and used it for the benefit ofthe public without paying

just compensation to the Plaintiff. Pursuant to the guidelines of   a   "Govemment Fifth Amendment



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Takings", the Govemment has taken the intangible private and personal property subject matter

as   outlined in the Plaintiffs'497,'033,'752,'761, '280,'891,'990,'189, and'439 U.S. patents

specifications and patent claims that are significantly the same or equivalent to the claimed

inventions of the Plaintiff Significantly the same or equivalent to the specifications ofthe

"INSPIRE Track    2: Public Health,   Nanotechnology, and Mobility (PHeNoM)", and the "Apple

Inc.'s Electronic Communications Device".

                263.   As a result ofat least one of, a public offer to contract; public offer to

enter into a cooperative agreement; the publication    ofa solicitation;   a   public offer to award; a

public announcement oftangible subject matter material; a public offer for           a grant; or, the


interagency exchange of unauthorized information, the United States actions and conduct and the

actions and conduct of its agents, including at least that ofthe National Science Foundation has

used for the benefit of the public, authorized the use for the benefit of the public, shared

intangible subject matter without a license or legal right, and without authorization and consent

tiom the Plaintiff; Plaintifls personal property subject matter   as described      in and covered by the

Plaintiffs '497,'033,'752,'761, '280, '891, '990, '189, and'439        patents.

                264.   Further, as a result of the Govemment (United States) Fifth Amendment

"Takings" of Plaintifls property and using it with the public without just compensation to the

Plaintiff, the resulting economic impact ofthe "Takings" is    a reduction      in value ofthe Plaintiff   s


property by virtue ofthe access, disclosure, manufacture, development or use, by or for the

Govemment and its third party awardees; has destroyed the Plaintiffs competitive edge; has had

a substantial adverse impact (means unfavorable or     harmful; preventing success or development)

on "the reasonable investment-backed expectations" of the Plaintiff; the character         ofthe

Government's action was triggered when the "Takings" caused a permanent physical invasion                 of


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the Plaintiff s property and eliminated all economically beneficial uses of such property by way

of the Government's manufacture and development ofproducts, devices, methods, and systems

that are significantly the same or equivalent to the claimed inventions ofthe Plaintiff. Jusl

compensation is due the Plaintiff for the Govemment's actions under Section 1491.

Count   II:
                265.    Upon information and belief, the United States has infringed, and

continues to infiinge, at least claim 19 of the '439 Patent, and claims 118,92,25, 12, 124, and 99

ofthe '990 Patent   as a current manufacturer, consumer, and./or user of the
                                                                               *INSPIRE Track 2:

Public Health, Nanotechnology, and Mobility (PHeNoM)", The National Science Foundation

hereby awards a grant of$3,000,000 to Comell University...This project is under the direction      of
David C. Erickson, Aydogan Ozcan, Saurabh Mehta, Deborah Estrin, Tanzeem Choudhury...

This award starts August 15,2014 and ends July 31, 2019...Award: 1343058...PI Name:

Erickson, David...Award Date...August I 1, 2014...first demonstrate that this roadblock to the

deployment of lab-on-chip technology can be fundamentally altered by taking advantage ofthe

now ubiquitous installed base of smartphone technology    ...



                266.    As a result of contracts with the National Science Foundation, the Comell

University and Apple Inc. for the development and commercialization of the "INSPIRE Track 2:

Public Health, Nanotechnology, and Mobility (PHeNoM)", and the "Apple Inc.'s Electronic

Communications Device", the United States has used, authorized the use, and manufactured,

without license or legal right, Plaintifls inventions described in and covered by the'439, and

'990 Patents.

                    PFI:BIC Human-Centered Smart-Integration of Mobile

                                       Imaging and Sensing



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Count I:

                 267.    Upon information and beliel the National Science Foundation, (the

United States), after several notices between the years 2006 -2012, has "taken" and continues to

"take" the Plaintiffs personal property and used it for the benefit ofthe public without paying

just compensation to the Plaintiff. Pursuant to the guidelines of     a   "Govemment Fifth Amendment

Takings", the Govemment has taken the intangible private and personal property subject matter

as   outlined in the Plaintiffs '497,'033,'752,'761, '280, '891, '990, '189, and'439 U.S. patents

specifications and patent claims that are significantly the same or equivalent to the claimed

inventions of the Plaintiff. Significantly the same or equivalent to the specifications ofthe "PFI:

BIC Human-Centered Smart-lntegration of Mobile Imaging and Sensing Tools with Machine

Leaming for Ubiquitous Quantification of Waterbome and Airbome Nanoparticles", and the

"Apple Inc.'s Electronic Communications Device".

                 268.    As a result ofat least one of, a public offer to contract; public offer to

enter into a cooperative agreement; the publication      ofa solicitation;   a   public offer to award; a

public announcement of tangible subject matter material; a public offer for            a grant; or, the


interagency exchange of unauthorized information, the United States actions and conduct and the

actions and conduct of its agents, including at least that ofthe National Science Foundation has

used for the benefit   ofthe public, authorized the use for the benefit ofthe public, shared

intangible subject matter without a license or legal right, and without authorization and consent

from the Plaintiff; Plaintiffs personal property subject matter as described in and covered by the

Plaintifls '497,'031,'752,'761, '280, '89l, '990, 'I89, and'439           patents.

                 269.    Further, as a result of the Govemment (United States) Fifth Amendment

"Takings" of Plaintiffs property and using it with the public without just compensation to the



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Plaintiff, the resulting economic impact of the "Takings" is   a reduction   in value of the Plaintiffs

property by virtue ofthe access, disclosure, manufacture, development or use, by or for the

Govemment and its third party awardees; has destroyed the Plaindlf s competitive edge; has had

a substantial adverse impact (means unfavorable   or harmful; preventing success or development)

on "the reasonable investment-backed expectations" ofthe Plaintiff; the character ofthe

Govemment's action was triggered when the "Takings" caused a permanent physical invasion of

the Plaintiffs property and eliminated all economically beneficial uses ofsuch property by way

ofthe Government's manufacture and development of products, devices, methods, and systems

that are significantly the same or equivalent to the claimed inventions ofthe Plaintiff. Just

compensation is due the Plaintiff for the Govemment's actions under Section 1491.

Count   II:
               270.    Upon information and belief, the United States has infringed, and

continues to infringe, at least claim l9 ofthe'439 Patent, and claims 118,92,25,12,124,and99

of the '990 Patent as a current manufacturer, consumer, and./or user ofthe "PFI: BIC Human-

Centered Smart-Integration of Mobile tmaging and Sensing Tools with Machine Leaming for

Ubiquitous Quantification of Waterbome and Airbome Nanoparticles." The National Science

Foundation hereby awards a grant of$1,000,000 to University of Califomi4 Los Angeles...This

project is under the direction of Aydogan Ozcan, Mihaela van der Schaar...This awards starts

October 1, 2015 and ends September 30, 2018...Award: 1533983...PI Name: Ozcan,

Aydogan...Award Date: August 6, 2015... Another approached that will be implemented is the

development of highly sensitive multi-modal (e.g. multi-color fluorescence & dark-field) mobile-

phone based microscopy platforms for distributed nanoparticle imaging and sensing.




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                 271   .   As a result of contracts with the National Science Foundation, the

University of Califomia, Los Angeles and Apple Inc. for the development and commercialization

of the "PFI: BIC Human-Centered Smart-lntegration of Mobile Imaging and Sensing Tools with

Machine Leaming for Ubiquitous Quantification of Waterbome and Airbome Nanoparticles",

and the "Apple Inc.'s Electronic Communications Device", the United States has used,

authorized the use, and manufactured, without license or legal right. Plaintifls inventions

described in and covered by the '439, and '990 Patents.

                EFRI-BioFlex: Cellphone-Based Digital Immunoassay Platform

Count    I:
                 272.      Upon information and belief, the National Science Foundation, (the

United States), after several notices between the years 2006 -2012, has'laken" and continues to

'lake" the Plaintiffs personal property and used it for the benefit of the public without paying

just compensation to the Plaintiff. Pursuant to the guidelines of     a   "Govemment Fifth Amendment

Takings", the Govemment has taken the intangible private and personal property subject matter

as   outlined in the Plaintiffs '497,'033,'752,'761, '280,'891, '990, '189, and'439 U.S. patents

specifications and patent claims that are significantly the same or equivalent to the claimed

inventions of the Plaintiff. Significantly the same or equivalent to the specifications of the "EFRI

-   BioFlex: Cellphone-based Digital Immunoassay Platform", and the "Apple lnc.'s Electronic

Communications Device".

                273.       As a result ofat least one of, a public offer to contract; public offer to

enter into a cooperative agreement; the publication ofa solicitation; a public offer to award; a

public announcement of tangible subject matter material; a public offer for        a grant; or, the


interagency exchange of unauthorized information, the United States actions and conduct and the



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actions and conduct of its agents, including at least that ofthe National Science Foundation has

used for the benefit of the public, authorized the use for the benefit    olthe public, shared

intangible subject matter without a license or legal right, and without authorization and consent

fiom the Plaintiff; Plaintiffs personal property subject matter    as described   in and covered by the

Plaintiffs    '497   ,'033,'752,'761,'280, '891, '990, '189, and '439 patents.

                     274.   Further, as a result of the Govemment (United States) Fifth Amendment

"Takings" of Plaintiffs property and using it with the public without just compensation to the

Plaintiff, the resulting economic impact ofthe "Takings" is      a reduction   in value ofthe Plaintiffs

property by virtue ofthe access, disclosure, manufacture, development or use, by or for the

Govemment and its third party awardees; has destroyed the PlaintifPs competitive edge; has had

a substantial adverse impact (means unfavorable or harmful; preventing success or development)

on "the reasonable investment-backed expectations" of the Plaintiff; the character ofthe

Covemment's action was triggered when the "Takings" caused a permanent physical invasion                of

the Plaintifls property and eliminated all economically beneficial uses ofsuch property by way

of the Govemment's manufacture and development of products, devices, methods, and systems

that are significantly the same or equivalent to the claimed inventions of the Plaintiff. Just

compensation is due the Plaintiff fbr the Govemment's actions under Section 1491.

Count   II:
                     275.   Upon information and belief, the United States has infringed, and

continues to infiinge, at least claim l9 of the'439 Patent, and claims 118,92,25,12,124, and 99

ofthe '990 Patent      as a current manufacturer, consumer, and/or user   of the "EFRI   -   BioFlex:

Cellphone-based Digital Immunoassay Platform for High-throughput Sensitive and Multiplexed

Detection and Distributed Spatio-Temporal Analysis of Influenza, "The National Science



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Foundation hereby awards a grant of$2,000,000 to University of Califomia" Los Angeles...This

project is under the direction of Aydogan Ozcan, Dino Di Carlo, Omai B. Gamer, Michael

l,ewinski...This award is effective September l, 2013 and expires August 31, 20l7...Award:

1332275...PI Name: Ozcan, Aydogan...Award Date: July 16,2013...field-portable telemedicine

platibrm...as well   as cellphone based   multi-spectral fluorescent c).tometry and computational

microscopy tools...

                 276.   As a result of contracts with the National Science Foundation, the

University of Califomi4 Los Angeles and Apple Inc. for the development and commercialization

of the *EFRI   - BioFlex:   Cellphone-based Digital Immunoassay Platform lor High-throughput

Sensitive and Multiplexed Detection and Distributed Spatio-Temporal Analysis of Influenz-a",

and the "Apple Inc.'s Electronic Communications Device", the United States has used,

authorized the use, and manufactured, without license or legal right, Plaintifls inventions

described in and covered    t;"#;J::"
                                                            Biosensor,

Count    I:
                 277.   Upon information and belief, the National Science Foundation, (the

United States), after several notices between the years 2006 -2012, has "taken" and continues to

"take" the Plaintifls personal property and used it lor the benefit of the public without paying

just compensation to the Plaintiff. Pursuant to the guidelines of a "Govemment Fifth Amendment

Takings", the Govemment has taken the intangible private and personal property subject matter

as   outlined in the Plaintifls '497,'033,'752,'761, '280, '891, '990, '189, and '439 U.S. patents

specifications and patent claims that are significantly the same or equivalent to the claimed




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inventions of the Plaintiff. Significantly the same or equivalent to the specifications ofthe

"Multimode Smartphone Biosensor", and the "Apple Inc.'s Electronic Communications Device".

               278.      As a result ofat least one of, a public offer to contract; public offer to

enter into a cooperative agreement; the publication      ofa solicitation;   a   public offer to award; a

public announcement of tangible subject matter material; a public offer for            a   gran! or, the

interagency exchange of unauthorized information, the United States actions and conduct and the

actions and conduct of its agents, including at least that of the National Science Foundation has

used for the benefit   ofthe public, authorized the use for the benefit of the public, shared

intangible subject matter without a license or legal right, and without authorization and consent

from the Plaintiff; Plaintiffs personal property subject matter as described in and covered by the

Plaintiffs '497,'033,'752,'761, '280, '891, '990, '189, and'439          patents.

               279.      Further, as a result of the Govemment (United States) Fifth Amendment

"Takings" of Plainti{fs property and using it with the public without just compensation to the

Plaintiff, the resulting economic impact ofthe "Takings" is      a reduction      in value of the Plaintifls

property by virtue of the access, disclosure, manufacture, development or use, by or for the

Govemment and its third party awardees; has destroyed the Plaintifls competitive edge; has had

a substantial adverse impact (means unfavorable or harmful; preventing success or development)

on "the reasonable investment-backed expectations" ofthe Plaintiff; the character ofthe

Govemment's action was triggered when the "Takings" caused a permanent physical invasion                    of

the Plaintifls property and eliminated all economically beneficial uses ofsuch property by way

of the Govemment's manufacture and development of products, devices, methods, and systems

that are significantly the same or equivalent to the claimed inventions of the Plaintiff. Just

compensation is due the Plaintiff for the Govemment's actions under Section 1491.



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Count   II:
                280.   Upon information and belief, the United States has infringed, and

continues to infiinge, at least claim l9 ofthe'439 Patent, and claims 118,92,25,12, 124, and 99

of the '990 Patent as a current manufacturer, consumer, and./or user of the "Multimode

Smartphone Biosensor". The National Science Foundation hereby awards a grant of$600,000 to

the Board of Trustees of the University     oflllinois   at Urbana   -   Champaign...This project is under

the direction of Brian Cunningham, Steven S. Lumetta ...This award is effective June 1,2013

and expires May 31,   20l6...Award: 1264377...PI Name: Cunningham, Brian...Award

Date...January 14,????...We plan to integrate four of the most commonly used detection

modalities for diagnostic assays into a handheld cradle that interfaces with a smartphone.

                281.   As a result of contracts with the National Science Foundation, the

University of Illinois at Urbana   -   Champaign and Apple Inc. for the development and

commercialization of the "Multimode Smartphone Biosensor", and the "Apple Inc.'s Electronic

Communications Device", the United States has used, authorized the use, and manufactured,

without license or legal right, Plaintiffs inventions described in and covered by the '439, and

'990 Patents.

                                   EAGER: Lab-in-a-Smartphone

Count   I:
                282.   Upon information and belief, the National Science Foundation, (the

United States), after several notices between the years 2006 -2012, has "taken" and continues to

"take" the Plaintifls personal property and used it for the benefit ofthe public without paying

just compensation to the Plaintiff. Pursuant to the guidelines of        a   "Govemment Fifth Amendment

Takings", the Govemment has taken the intangible private and personal property subject matter



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as   outlined in the Plaintiffs '497,'033,'752,'761, '280,'891,'990,'189, and'439 U.S. patents

specifications and patent claims that are significantly the same or equivalent to the claimed

inventions of the Plaintiff. Significantly the same or equivalent to the specifications ofthe

"EAGER: Lab-in-a-SmarQhone", and the "Apple Inc.'s Electronic Communications Device".

                283.   As a result ofat least one ol, a public offer to contract; public offer to

enter into a cooperative agreement; the publication ofa solicitation; a public offer to award; a

public announcement of tangible subject matter material; a public offer for      a grant; or, the


interagency exchange of unauthorized information, the United States actions and conduct and the

actions and conduct of its agents, including at least that of the National Science Foundation has

used for the benefit of the public, authorized the use for the benefit of the public, shared

intangible subject matter without a license or legal right, and without authorization and consent

from the Plaintiff; Plaintiffs personal property subject matter as described in and covered by the

Plaintiffs '497,'033,'752,'761,'280, '891, '990, '189, and '439       patents.

                284.   Further, as a result of the Govemment (United States) Fifth Amendment

"Takings" of Plaintiffs property and using it with the public without just compensation to the

Plaintiff, the resulting economic impact of the "Takings" is   a reduction   in value of the Plaintifls

property by virtue ofthe access, disclosure, manufacture, development or use, by or for the

Govemment and its third party awardees; has destroyed the Plaintifls competitive edge; has had

a substantial adverse impact (means unfavorable or harmful; preventing success or development)

on "the reasonable investment-backed expectations" ofthe Plaintiff; the character of the

Govemment's action was triggered when the "Takings" caused a permanent physical invasion of

the Plaintifls property and eliminated all economically beneficial uses ofsuch property by way

of the Govemment's manufacture and development of products, devices, methods, and systems



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that are significantly the same or equivalent to the claimed inventions of the Plaintiff Just

compensation is due the Plaintiff for the Govemment's actions under Section 1491.

Count   II:
                285.   Upon information and belief, the United States has infringed, and

continues to infringe, at least claim 19 of the '439 Patent, and claims 118,92,25,12,124, and 99

ofthe '990 Patent   as a current manufacturer, consumer, and/or user   of the "EAGER: Lab-in-a-

Smartphone". The National Science Foundation hereby awards a grant of$300,000 to the Board

of Trustees of the University of Illinois at Urbana - Champaign...This project is under the

direction of Brian Cunningham, John Dallesasse...This award starts September 1,2014 and ends

August 31, 2016...Award: 12147893...PI Name: Cunningham, Brian...Award Date: July 3,

2014. . .an inexpensive approach for integrating sophisticated laboratory analytical tools into

smartphones and other mobile devices through custom cradles, circuit boards, or sensors that

must be adapted to specific models of phones/tablets...

                286.   As a result ofcontracts with the National Science Foundation, the

University of Illinois at Urbana   -   Champaign and Apple Inc. for the development and

commercialization of the "EAGER: Lab-in-a-Smartphone", and the "Apple lnc.'s Electronic

Communications Device", the United States has used, authorized the use, and manufactured,

without license or legal right, Plaintiffs inventions described in and covered by the'439, and

'990 Patents.

                     PFI-BIC "Pathtracker: Smartphone-based for Mobile

                                       Infectious Disease Detection

Count   I:




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                  287.    Upon information and belief, the National Science Foundation, (the

United States), after several notices between the years 2006 -2012, has "taken" and continues to

"take" the Plaintifls personal property and used it for the benefit of the public without paying

just compensation to the Plaintiff. Pursuant to the guidelines of a "Govemment Fifth Amendment

Takings", the Govemment has taken the intangible private and personal property subject mafter

as   outlined in the Plaintifls '497,'033,'752,'761, '280, '891, '990, '189, and'439 U.S. patents

specifications and patent claims that are significantly the same or equivalent to the claimed

inventions of the Plaintiff. Significantly the same or equivalent to the specifications ofthe

"PFI:BIC    -   Pathtracker: A smartphone-based system for mobile infectious disease detection and

epidemiology", and the "Apple Inc.'s Electronic Communications Device".

                  288.    As a result ofat least one of, a public offer to contract; public offer to

enter into a cooperative agreement; the publication ofa solicitation; a public ofler to award; a

public announcement of tangible subject matter material; a public offer for               a grant; or, the


interagency exchange of unauthorized information, the United States actions and conduct and the

actions and conduct of its agents, including at least that of the National Science Foundation has

used for the benefit   ofthe public, authorized the use for the benefit ofthe public, shared

intangible subject matter without a license or legal right, and without authorization and consent

from the Plaintiff; Plaintiff   s   personal property subject matter as described in and covered by the

Plaintiff s' 497,' 033,' 7 52,' 7 61,'280,'    89   l,'990,'   I   89, and'439 patents.

                  289.    Further, as a result of the Govemment (United States) Fifth Amendment

"Takings" of PlaintifPs property and using it with the public without just compensation to the

Plaintiff, the resulting economic impact of the "Takings" is            a reduction   in value ofthe PlaintifPs

property by virtue ofthe access, disclosure, manufacture, development or use, by or for the



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Govemment and its third party awardees; has destroyed the PlaintifPs competitive edge; has had

a substantial adverse impact (means unfavorable          or harmful; preventing success or development)

on '1he reasonable investment-backed expectations"           ofthe Plaintiff; the character ofthe

Govemment's action was triggered when the "Takings" caused a permanent physical invasion               of

the Plaintifls property and eliminated all economically beneficial uses ofsuch property by way

of the Govemment's manufacture and development of products, devices, methods, and systems

that are significantly the same or equivalent to the claimed inventions ofthe Plaintiff. Just

compensation is due the Plaintiff for the Govemment's actions under Section            l49l.

Count   II:
               290.    Upon information and belief, the United States has infiinged, and

continues to infringe, at least claim 19 of the '439 Patent, and claims 118,92,25, 12, 124, and 99

of the '990 Patent as a current manufacturer, consumer, and/or user ofthe "PFI:BIC

Pathtracker: A smartphone-based system for mobile infectious disease detection and

opidorniology". Tho National Soicnoc Foundation horcby awards o grant of$999, 995 to tho

Board of Trustees of the University of Illinois at Urbana        -   Champaign...This project is under the

direction of Brian Cunningham, Ian S. Brooks, Rashid Bashir, David Hirschberg, and Steven S.

                                              '1,
Lumetta... This award starts September              2015 and ends August 31,2018...Award:

1534126...PI Name: Cunningham, Brian...Award Date: August 22, 2016. . .will develop a

mobile sensor technology for performing detection and identification ofviral and bacterial

pathogens through a smartphone-based detection instrument..             .



               291.    As a result of contracts with the National Science Foundation, the

University of Illinois at Urbana   -   Champaign and Apple Inc. for the development and

commercialization of the "PFI:BIC       -   Pathtracker: A smartphone-based system for mobile



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infectious disease detection and epidemiology", and the "Apple Inc.'s Electronic

Communications Device", the United States has used, authorized the use, and manufactured,

without license or legal right, Plaintiffs inventions described in and covered by the'439, and

'990 Patents.

                         I-Corps: Ultra-Sensitive Lateral Flow Reporters /

                                       Lab-on-Phone Platform

Count I:

                 292.    Upon information and belief, the National Science Foundation, (the

United States), after several notices between the years 2006 -2012, has "taken" and continues to

"take" the PlaintifPs personal property and used it for the benefit ofthe public without paying

just compensation to the Plaintiff. Pursuant to the guidelines of a "Govemment Fifth Amendment

Takings", the Govemment has taken the intangibte private and personal prop€rty subject matter

as   outlined in the Plaintifls '497,'033,'752,'761, '280, '891, '990, '189, and '439 U.S. patents

specifications and patent claims that are significantly the same or equivalent to the claimed

inventions ofthe Plaintiff. Significantly the same or equivalent to the specifications ofthe              "I-

Corps: Nanophosphors as Ultra-Sensitive Lateral Flow Reporters in a Lab-on-Phone Platform",

and the "Apple Inc.'s Electronic Communications Device".

                 293.    As a result ofat least one of, a public offer to contract; public offer to

enter into a cooperative agreement; the publication      ofa solicitation;   a   public offer to award; a

public announcement of tangible subject matter material; a public ofler for            a grant; or, the

interagency exchange ofunauthorized information, the United States actions and conduct and the

actions and conduct of its agents, including at least that ofthe National Science Foundation has

used for the benefit   ofthe public, authorized the use for the benefit ofthe public, shared



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intangible subject matter without a license or legal right, and without authorization and consent

from the Plaintiff; Plaintifls personal property subject matter as described in and covered by the

Plaintiffl s' 497,' 033,' 7 52,' 7 61,'280,'89 1,'990,' 1 89, and'439 patents.

               294.      Furtheq as a result of the Govemment (Jnited States) Fifth Amendment

"Takings" of Plaintifl   s   property and using it with the public without just compensation to the

Plaintiff, the resulting economic impact of the "Takings" is a reduction in value ofthe PlaintifFs

property by virtue of the access, disclosure, manufacture, development or use, by or for the

Govemment and its third party awardees; has destroyed the PlaintifPs competitive edge; has had

a substantial adverse impact (means unfavorable or       harmful; preventing success or development)

on "the reasonable investment-backed expectations" of the Plaintiff; the character ofthe

Govemment's action was triggered when the "Takings" caused a permanent physical invasion              of

the PlaintifPs property and eliminated all economically beneficial uses ofsuch property by way

of the Govemment's manufacture and development of products, devices, methods, and systems

that are significantly the same or equivalent to the claimed inventions of the Plaintiff. Jusl

compensation is due the Plaintiff for the Govemment's actions under Section 1491.

Count   II:
               295.      Upon information and belief, the United States has infiinged, and

continues to infringe, at least claim 19 of the '439 Patent, and claims 118,92,25, 12, 124, and 99

ofthe '990 Patent   as a current manufacturer, consumer, and/or user    ofthe "I-Corps:

Nanophosphors as Ultra-Sensitive Lateral Flow Reporters in a Lab-on-Phone Platform". The

National Science Foundation hereby awards a grant of$50,000 to University of Houston...This

project is under the direction of Richard Wilson...This award starts August 1, 2014 and ends

January 31,2015...Award: 1450552...PI Name: Wilson, Richard...Award Date: July 25,




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20l4...ultrasensitive and quantitative measurement olanalyic levels from complex samples

through LFTs that use only a cell phone's built-in optics and an inexpensive (a few dollars)

plastic attachment for readout..     .




                 296.      As a result of contracts with the National Science Foundation, the

University ofHouston, and Apple Inc. for the development and commercialization ofthe              "l-
Corps: Nanophosphors        as   Ultra-Sensitive Lateral Flow Reporters in a Lab-on-Phone Platform",

and the "Apple Inc.'s Electronic Communications Device", the United States has used,

authorized the use, and manufactured, without license or legal right, Plaintiffs inventions

described in and covered by the'439, and '990 Patents.

                                    Smartphone (iPhone) Microscope

Count I:

                 297   .   Upon information and belief, the U.S. Army Research Office, the National

Science Foundation, the National Institutes of Health, and the Office of Naval Research, (the

United States), after several notices between the years 2006 -2012, has "taken" and continues to

"take" the Plaintifls penonal property and used it for the benefit ofthe public without paying

just compensation to the Plaintiff. Pursunt to the guidelines of      a   "Govemment Fifth Amendment

Takings", the Govemment has taken the intangible private and personal property subject matter

as   outlined in the Plaintiffs '497,'033,'752,'761, '280, '891, '990, '189, and'439 U.S. patents

specifications and patent claims that are significantly the same or equivalent to the claimed

inventions ofthe Plaintiff. Significantly the same or equivalent to the specifications of the

"Smartphone (iPhone) Microscope", and the "Apple Inc.'s Electronic Communications Device".

                 298.      As a result ofat least one of, a public offer to contract; public offer to

enter into a cooperative agreemen! the publication of a solicitation; a public offer to award; a



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public announcement oftangible subject matter material; a public offer for       a grant; or, the


interagency exchange of unauthorized information, the United States actions and conduct and the

actions and conduct of its agents, including at least that of the U.S. Army Research Office, the

National Science Foundatioq the National Institutes of Health, and the Office of Naval

Research, has used for the benefit of the public, authorized the use for the benefit of the public,

shared intangible subject matter without a license or legal right, and without authorization and

consent from the Plaintiff; PlaintifPs personal property subject matter as described in and

covered by the PlaintifPs '497,'033,'752,'761, '280,'891, '990, '189, and'439 patents.

                299.   Further, as a result of the Govemment (United States) Fifth Amendment

"Takings" of PlahtifFs property and using it with the public without just compensation to the

Plaintiff, the resulting economic impact ofthe "Takings" is    a reduction   in value of the Plaintifl   s


property by virtue of the access, disclosure, manufacture, development or use, by or for the

Govemment and its thkd party awardees; has destroyed the Plaintiff s competitive edge; has had

a substantial adverse impact (means unfavorable or harmflrl; preventing success or development)

on "the reasonable investment-backed expectations" of the Plaintiff; the character of the

Govemment's action was triggered when the "Takings" caused a permanent physical invasion                 of

the Plaintifls property and eliminated all economically beneficial uses ofsuch property by way

of the Govemment's manufacture and development of products, devices, methods, and systems

that are sigrrificantly the same or equivalent to the claimed inventions of the Plaintiff. Just

compensation is due the Plaintiff for the Government's actions under Section 1491.

Count   II:
               300.    Upon information and belief, the United States has infringed, and

continues to infringe, at least claim l9 of the '439 PatenI, and claims 1I8, 17,92,25, 12,124,



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and 99 of the '990 Patent as a current manufacturer, consumer, and/or user of the "Smartphone

(iPhone) Microscope". Aydogan Ozcan, a professor at UCLA and his team have created a

portable smartphone attachment that can be used to perform sophisticated field testing to detect

viruses and bacteria. Funding support for the Ozcan Research Group comes fiom the Army

Research Office, the National Science Foundation, the National lnstitutes of Health, and the

Office of Naval Research. Commercialize through Holomic LLC.

                 301.    As a result of contracts with the U.S. Army Research Office, the National

Science Foundation, the National Institutes of Health, and the Office of Naval Research,

Holomic LLC and Apple Inc. for the development and commercialization of the "Smartphone

(iPhone) Microscope", and the "Apple Inc.'s Electronic Communications Device", the United

States has used, authorized the use, and manufactured, without license or legal right,   Plaintiff   s


inventions described in and covered by the'439, and'990 Patents.

                            Smartphone (iPhone) Biosensor "Cradle"

Count    I:
                 302.    Upon information and belief, the National Science Foundation, (the

United States), after several notices between the years 2006 -2012, has "taken" and continues to

"take" the Plaintiffs personal property and used it for the benefit of the public without paying

just compensation to the Plaintiff. Pursuant to the guidelines of a "Govemment Fifth Amendment

Takings", the Govemment has taken the intangible private and personal property subject matter

as   outlined in the Plaintifls '497,'033,'752,'761, '280, '891, '990, ' 189, and '439 U.S. patents

specifications and patent claims that are significantly the same or equivalent to the claimed

inventions ofthe Plaintiff. Significantly the same or equivalent to the specifications ofthe




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Smartphone (iPhone) Biosensor "Cradle", and the "Apple Inc.'s Electronic Communications

Device".

               303.    As a result ofat least one of, a public offer to contracq public offer to

enter into a cooperative agreement; the publication ofa solicitation; a public offer to award; a

public announcement of tangible subject matter material; a public offer for      a grant; or, the


interagency exchange of unauthorized information, the United States actions and conduct and the

actions and conduct of its agents, including at least that of the National Science Foundation has

used for the benefit of the public, authorized the use for the benefit   ofthe public, shared

intangible subject matter without a license or legal right, and without authorization and consent

lrom the Plaintiff; Plaintiffs personal property subject matter   as described in and covered by the


PlaintifFs '497,'033,'752,'761, '280, '891, '990, '189, and '439 patents.

               304.    Further, as a result of the Government (United States) Fifth Amendment

"Takings" of PlaintifFs property and using it with the public without just compensation to the

Plaintifl, the resulting economic impact ofthe "Takings" is    a reduction in value   ofthe Plaintifls

property by virtue of the access, disclosure, manufacture, development or use, by or for the

Govemment and its third party awardees; has destroyed the Plaintiffs competitive edge; has had

a substantial adverse impact (means unfavorable or harmful; preventing success or development)

on "the reasonable investment-backed expectations" ofthe Plaintiff; the character of the

Govemment's action was triggered when the "Takings" caused a permanent physical invasion of

the Plaintiffs property and eliminated all economically beneficial uses ofsuch property by way

of the Govemment's manufacture and development of products, devices, methods, and systems

that are significantly the same or equivalent to the claimed inventions ofthe Plaintiff. Just

compensation is due the Plaintiff for the Govemment's actions under Section 1491        .




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Count    ll:
                305.   Upon information and betief, the United States has infringed, and

continues to infringe, at least claim 19 ofthe'439 Patent, and claims      ll8,   17,92,25,12, 124,

and 99   ofthe '990 Patent   as a current manufacturer, consumer, and/or user     ofthe Smartphone

(iPhone) Biosensor "Cradle": University of Illinois researchers developed a cradle and app for

the iPhone to make a handheld biosensor that uses the phone's own camera and processing power

to detect any kind ofbiological molecules or cells. At the heart of the iPhone biosensor is a

photonic crystal. When anything biological attaches to the photonic crystal - such as protein,

cells, pathogens or DNA - the reflected color will shift. The group received a grant from the

National Science Foundation (NSF) to expand the range olbiological experiments that can be

performed with the iPhone.

                306.   As a result of contracts with the National Science Foundation (NSF),

University of lllinois, and Apple Inc. for the development and commercialization of the

Smartphone (iPhone) Biosensor "Cradle", and the "Apple Inc.'s Electronic Communications

Device", the United States has used, authorized the use, and manufactured, without license or

legal right, Plaintiffs inventions described in and covered by the'439, and'990 Patents.

               AOptix Stratus    1\,D(   Peripheral for the Apple (iPhone) Smartphone

Count I:

                307.   Upon information and belief, the U.S. Departrnent of Defense (DoD), (the

United States), after several notices between the years 2006 -2012, has "taken" and continues to

"take" the Plaintifls personal property and used it for the benefit ofthe public without paying

just compensation to the Plaintiff. Pursuant to the guidelines of   a   "Govemment Fifth Amendment

Takings", the Govemment has taken the intangible private and personal property subject matter



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as   outlined in the PlaintifFs '497,'033,'752,'761, '280, '891, '990, '189, and'439 U.S. patents

specifications and patent claims that are significantly the same or equivalent to the claimed

inventions of the Plaintiff. Signifrcantly the same or equivalent to the specifications of the

AOptix Stratus I\D( Peripheral for the Apple (iPhone) Smartphone.

                 308.    As a result ofat least one of, a public offer to contract; public offer to

enter into a cooperative agreement; the publication      ofa solicitation;   a   public offer to award; a

public announcement of tangible subject matter material; a public offer for            a grant; or, the


interagency exchange of unauthorized information, the United States actions and conduct and the

actions and conduct of its agents, including at least that of the U.S. Departrnent ofDefense

(DoD) has used for the benefit ofthe public, authorized the use for the benefit ofthe public,

shared intangible subject matter without a license or legal right, and without authorization and

consent fiom the Plaintiff;    Plaintiff s personal Fop€rty subject matter       as described   in and

covered by the Plaintifls '497,'033,'752,'761, '280, '891, '990, '189, and'439 patents.

                 309.    Further, as a result of the Govemment (United States) Fifth Amendment

"Takings" of Plainti{f   s   property and using it with the public without just compensation to the

Plaintiff, the resulting economic impact ofthe "Takings" is a reduction in value ofthe Plaintifls

property by virtue ofthe access, disclosure, manufacture, development or use, by or for the

Govemment and its third party awardees; has destroyed the Plaintifls competitive edge; has had

a substantial adverse impact (means unfavorable or       harmful; preventing success or development)

on "the reasonable investment-backed expectations" ofthe Plaintiff; the character of the

Govemment's action was triggered when the "Takings" caused a permanent physical invasion                    of
the Plaintifls property and eliminated all economically beneficial uses ofsuch property by way

ofthe Govemment's manufacture and development ofproducts, devices, methods, and systems



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that are significantly the same or equivalent to the claimed inventions ofthe Plaintiff. Just

compensation is due the Plaintifffor the Govemment's actions under Section 1491.

Count   II:
                310.       Upon information and belief, the United States has infringed, and

continues to infringe, at least claim 19 of the '439 Patent, and claims 118,17,92,25,12,124,

and 99 of the '990 Patent as a current manufacturer, consumer, and,/or user of the AOptix Stratus

MX Peripheral for the Apple (iPhone) Smartphone: The biometrics company Aoptix announced

on Wednesday, February 13,2013 that the Pentagon has awarded it, along with CACI

Intemational Inc., a $3 million research contract to develop AOptix's Smart Mobile Identity

devices for the US Department of Defense. As Wired reported, a hardware peripheral and

software suite that turns a regular Apple iPhone smartphone into a device that scans and

transmits data at distances not possible for current scanning technology. AOptix's hardware is a

peripheral that wraps around a smartphone, so that it can record biometric data. AOptix

executive Joey Pritikin told Wired, "this new gadget will be able to scan faces at up to two

meters away, irises from one meter, and voice from within a typical distance fiom a phone.

Thumbprints will still require scanning against the phone's glass face". Biometrics, also known

as biostatistics or   biometry, in biology, the development and application of statistical and

mathematical methods to the analysis of data resulting from biological observations and

phenomena.

                3l    l.   As a result of contracts with the U.S. Department of Defense (DoD),

AOptix Technologies, CACI International Inc. and Apple Inc. for the development and

commercialization of the Aoptix Stratus MX Peripheral for the Apple (iPhone) Smartphone the




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United States has used, authorized the use, and manufactured, without license or legal right,

PlaintifPs inventions described in and covered by the'439, and '990 Patents.

                      PositivelD - Boeing / M-Band interconnected to the

                                    Apple (iPhone) Smartphone

Count   I:
               312.    Upon information and belief, the US Department of Homeland Security

@HS), (the United States), after several notices between the years 2006 -2012, has "taken" and

continues to'take" the Plaintifls personal property and used it for the benefit ofthe public

without paying just compensation to the Plaintiff. Pursuant to the guidelines of a "Covemment

Fifth Amendment Takings", the Government has taken the intangible private and personal

property subject matter as outlined in the Plaintiffs'497,'033,'752,'761, '280, '891, '990,

'189, and'439 U.S. patents specifications and patent claims that are significantly the same or

equivalent to the claimed inventions ofthe Plaintiff. Significantly the same or equivalent to the

specifications ofthe PositivelD - Boeing / "M-Band"; Apple (iPhone) Smartphone.

               313.    As a result ofat least one of, a public offer to contract; public offer to

enter into a cooperative agreement; the publication    ofa solicitation;   a public offer to award; a

public announcement oftangible subject matter material; a public offer for        a grant; or, the

interagency exchange of unauthorized information, the United States actions and conduct and the

actions and conduct of its agents, including at least that of the US Department of Homeland

Security (DHS) has used for the benefit of the public, authorized the use for the benefit ofthe

public, shared intangible subject matter without a license or legal right, and without authorization

and consent fiom the Plaintiff;   Plaintifls personal property subject matter as described in and

covered by the Plaintifls '497,'033,'752,'761, '280, '891, '990, '189, and .439 patents.



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                314.   Further, as a result of the Govemment (Jnited States) Fifth Amendment

"Takings" of Plaintiff s property and using it with the public without just compensation to the

Plaintifll the resulting economic impact of the "Takings" is     a reduction   in value of the Plaintifls

property by virtue ofthe access, disclosure, manufacture, development or use, by or for the

Covemment and its third party awardees; has destroyed the Plaintiffs competitive edge; has had

a substantial adverse impact (means unfavorable or       harmful; preventing success or development)

on "the reasonable investment-backed expectations" of the Plaintiff; the character ofthe

Govemment's action was triggered when the "Takings" caused a permanent physical invasion of

the PlaintifPs property and eliminated all economically beneficial uses ofsuch property by way

ofthe Government's manufacture and development ofproducts, devices, methods, and systems

that are significantly the same or equivalent to the claimed inventions of the Plaintiff. Just

compensation is due the Plaintifffor the Govemment's actions under Section 1491.

Count    II:
                315.   Upon information and belief, the United States has infiinged, and

continues to infringe, at least claim 19 of the '439 Patent, and claims 118, 17,92,25, 12, 124,

and 99   ofthe '990 Patent   as a current manufacturer, consumer, and/or user     ofthe PositivelD -

Boeing / "M-Band"; Apple (iPhone) Smartphone: PositivelD's (PSID) M-BAND was developed

by the Company's MicroFluidic Systems ("MFS') subsidiary, which received funding in excess

of $30 million fiom the Department of Homeland Security (DHS). M-BAND is positioned to

capitalize on BioWatch Generation 3, the U.S. Govemment's $3.1 billion program to detect the

release ofpathogens into the air as part   ofa   defense against potential terrorist attacks on major

American cities. In Dec.2012, PSID entered into an exclusive license agreement with The

Boeing Company ("Boeing"). Boeing paid PSID $2.5 million; exclusive distributor of M-BAND



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for BioWatch Gen-3. M-Band is a bio-aerosol monitor with fully integrated systems for sample

collection, processing and detection modules that continuously analyze air samples for the

detection of bacteria, viruses, and toxins and transmit the results to smartphones (e.g. Apple

iPhone), or other devices, every three hours.

               316.      As a result of contracts with the Department of Homeland Security (DHS),

PositivelD Corporation, the Boeings Company, and Apple Inc. for the development and

commercialization of the PositivelD - Boeing / "M-Band"; Apple (iPhone) Smartphone the

United States has used, authorized the use, and manufactured, without license or legal right,

Plaintiffls inventions described in and covered by the '439, and '990 Patents.

                          Samsung Galary s6 "Microscope" Smartphone

Count   I:
               317.      Upon information and belief, the U.S. Army, and the U.S. Army

Edgewood Chemical Biological Center (ECBC), (the United States), after several notices

between the years 2006 -2012,     has'laken" and continues to "take" the Plaintifls personal

property and used it for the benefit of the public without paying just compensation to the

Plaintiff. Pursuant to the guidelines of   a   "Govemment Fifth Amendment Takings", the

Govemment has taken the intangible private and personal property subject matter as outlined in

the Plaintiffs'497,'033,'752,'761, '280,'891,'990,'189, and'439 U.S. patents specifications

and patent claims that are significantly the same or equivalent to the claimed inventions of the

Plaintiff. Signifrcantly the same or equivalent to t}re specifications of the Samsung Galary s6

"Microscope" Smartphone.

               3   18.   As a result of at least one of, a public offer to contract; public offer to

enter into a cooperative agreement; the publication       ofa solicitation;   a   public offer to award; a



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public announcement of tangible subject matter material; a public offer for        a grant; or, the


interagency exchange of unauthorized information, the United States actions and conduct and the

actions and conduct of its agents, including at least that of the U.S. Army and the U.S. Army

Edgewood Chemical Biological Center (ECBC) has used for the benefit ofthe public, authorized

the use for the benefit of the public, shared intangible subject matter without a license or legal

right, and without authorization and consent fiom the Plaintiff; Plaintifls personal property

subject matter as described in and covered by the PlaintifPs '497,'033,'752,'761, '280, '891,

'990, '189, and '439 patents.

                 319.   Further, as a result of the Govemment (United States) Fifth Amendment

"Takings" of Plaintiffs property and using it with the public without just compensation to the

Plaintiff, the resulting economic impact of the "Takings" is   a   reduction in value of the PlaintifPs

property by virtue ofthe access, disclosure, manufacture, development or use, by or for the

Govemment and its third party awardees; has destroyed the Plaintiffs competitive edge; has had

a substantial adverse impact (means unfavorable or     harmful; preventing success or development)

on "the reasonable investment-backed expectations" of the Plaintiff; the character ofthe

Govemment's action was triggered when the "Takings" caused a permanent physical invasion              of

the   Plaintiffs property and eliminated all economically beneficial    uses   of such property by way

of the Govemment's manufacture and development of products, devices, methods, and systems

that are significantly the same or equivalent to the claimed inventions ofthe Plaintiff. Just

compensation is due the Plaintiff for the Government's actions under Section 1491.

Count    II:
                 320.   Upon information and belief, the United States has infringed, and

continues to infiinge, at least claim l9 of the '439 Patenl, and claims    ll8,   17,92,25,12, 124 utd



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99   ofthe '990 Patent   as a current manufacturer, consumer, and/or user   of the Samsung Galaxy s6

"Microscope" Smartphone. The U.S. Army Edgewood Chemical Biological Center (ECBC) is

developing cellphone-based wide-field fluorescent imaging of microbeads for pathogen

detection. Scientists at ECBC worked with a team at the University of Califomia, Los Angeles

(UCLA), to adapt its prototype ofa plastic, clip-on "microscope" to fit a Samsung Galaxy

Android phone, commonly used by the Army. This device clips directly over the camera of the

Smartphone and operates just like a microscope. The UCLA team is developing the hardware

and the software for the device, with ECBC's team providing the diagnostic and detection assays

that it will utilize. The team is focused on biological diagnostic tests. ECBC has also partnered

with Holomic, LLC, and      a small business   in Califomia.

                321.     As a result of contracts with the , U.S. Army Edgewood Chemical

Biological Center (ECBC), Samsung Group, and Holomic LLC for the development and

commercialization of the Samsung Galaxy s6 "Microscope" smartphone the United States has

used, authorized the use, and manufactured, without license or legal right,    Plaintiffs inventions

described in and covered by the '439, and '990 Patents.

                                          "Kromek D3S-NET': Apple iPhone

Count   f:

                322.     Upon information and belief, the U.S. Department of Defense (DoD) and

the Defense Advanced Research Projects Agency (DARPA), (the United States), after several

notices between the years 2006 -2012, has "taken" and continues to "take" the Plaintiffs

personal property and used    it for the benefit of the public without payingjust compensation to

the Plaintiff. Pusuant to the guidelines of a "Government Fifth Amendment Takings", the

Govemment has taken the intangible private and personal property subject matter as outlined in



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the Plaintiffs'497,'033,'752,'761, '280,'891,'990,'189, and'439 U.S. patents specifications

and patent claims that are significantly the same or equivalent to the claimed inventions           of the

Plaintiff. Significantly the same or equivalent to the specifications of the "Kromek D3S-NET"

and the "Apple Inc.'s Electronic Communications Device".

                       323.    As a result ofat least one of, a public offer to contracU public offer to

enter into a cooperative agreement; the publication ofa solicitation; a public offer to award; a

public announcement oftangible subject matter material; a public offer for a grant; or, the

interagency exchange of unauthorized information, the United States actions and conduct and the

actions and conduct of its agents, including at least that of the U.S. Department ofDefense

(DoD) and the Defense Advanced Research Projects Agency (DARPA) has used for the benefit

ofthe public, authorized the use for the benefit ofthe public, shared intangible subject matter

without a license or legal right, and without authorization and consent from the Plaintiff;

Plaintiffs personal property subject matter          as described   in and covered by the Plaintifls '497,

'   033,'   7   52,' 7 61,' 280,' 89 l,'990,' 1 89, and'439 patents.

                       324.    Further, as a result of the Govemment (United States) Fifth Amendment

"Takings" of Plaintiffs property and using it with the public without just compensation to the

Plaintiff, the resulting economic impact ofthe "Takings" is a reduction in value ofthe Plaintifls

property by virtue ofthe access, disclosure, manufacture, development or use, by or for the

Govemment and its third party awardees; has destroyed the Plaintiffs competitive edge; has had

a substantial adverse impact (means unfavorable or            harmful; preventing success or development)

on "the reasonable investment-backed expectations" of the Plaintiff; the character of the

Govemment's action was triggered when the "Takings" caused a permanent physical invasion                     of
the   Plaintifls property      and eliminated all economically beneficial uses ofsuch property by way



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ofthe Govemment's manufacture and development of products, devices, methods, and systems

that are significantly the same or equivalent to the claimed inventions ofthe Plaintiff. Just

compensation is due the Plaintiff for the Govemment's actions under Section l49l     .



Count   II:
                325.   Upon information and belief, the United States has in-fiinged, and

continues to inflringe, at least claim 20 ofthe '439 Patent, claim 34 of the 752 patent, and claims

118, 18, 92, 25, and 124 ofthe '990 Patent as a current manufacturer, consumer, and/or user     of

the "Kromek D3S-NE1-'that is interconnected to the Apple iPhone. Kromek announced the

SIGMA programme of the Defense Advanced Research Projects Agency (DARPA), an agency

ofthe US Department of Defense. Kromek led the design, development and supply ofan

advanced portable detection system for gamma and neutron radiation; combined in large

networks, providing information on radiation signatures. Kromek was awarded a sole source

contract for its D3S detectors. The Company has been awarded contracts worth more than $l I

million to-date under this programme. The D3S is currently available in two versions: D3S-NET

 a   blind detector forming part ofa covert integrated monitoring network; the other, D3SJD - a

standalone next generation isotope ID. DARPA test network      of 1,000 D3S-NET radiation

detectors in Washington. Each one is connected to a smartphone, which is used to build up a

mesh network with all the other sensors. D3S-NET: multiple detectors and locations; paired with

smartphone; fixed and mobile sensors; and continuously mapping radiation levels.

                326.   As a result of contracts with the U.S. Defense Advanced Research Projects

Agency (DARPA), Kromek Group plc, and Apple Inc. for the development and

commercialization of the "Kromek D3s-NET" and the "Apple Inc.'s Electronic Communications




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Device" the United States has used, authorized the use, ald manufactured, \,rithout license or

legal right, Plaintifls inventions described in and covered by the'439,752, md '990 Patents.

                      Biomeme "two3" Mobile Thermocycler: Apple iPhone

Count I:

                 327.   Upon information and belief, the U.S. Department of Army (DOA);

Edgewood Chemical and Biological Center (ECBC), (the United States), after several notices

between the years 2006 -2012, has'ftaken" and continues to "take" the              Plaintifls personal

property and used it for the benefit of the public without payingjust compensation to the

Plaintiff. Pursuant to the guidelines of   a   "Govemment Fifth Amendment Takings", the

Govemment has taken the intangible private and personal property subject matter as outlined in

the   PlaintifPs'497,'033,'752,'761, '280, '891, '990, '189, and'439 U.S. patents specifications

and patent claims that are sigrificantly the same or equivalent to the claimed inventions of the

Piaintiff. Significantly the same or equivalent to the specifications of the "Biomeme two3 Mobile

Thermocycler" and the "Apple Inc.'s Electronic Communications Device".

                 328.   As a result ofat least one of, a public offer to contract; public offer to

enter into a cooperative agreement; the publication       ofa solicitation;   a   public offer to award; a

public announcement oftangible subject matter material; a public offer for a grant; or, the

interagency exchange of unauthorized information, the United States actions and conduct and the

actions and conduct of its agents, including at least that of the U.S. Department of Army (DOA);

Edgewood Chemical and Biological Center (ECBC) has used for the benefit ofthe public,

authorized the use for the benefit ofthe public, shared intangible subject matter without a license

or legal right, and without authorization and consent from the Plaintiff; PlaintifPs personal




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property subject matter as described in and covered by the Plaintifls '497,'033,'752,'761,

'280,'891,'990,'189, and'439         patents.

                  329.    Further, as a result of the Govemment (United States) Fifth Amendment

"Takings" of Plaintifls property and using it with the public without just compensation to the

Plaintiff, the resulting economic impact ofthe "Takings" is     a reduction   in value of the Plaintiffs

property by virtue ofthe access, disclosure, manufacture, development or use, by or for the

Govemment and its third party awardees; has destroyed the Plaintifls competitive edge; has had

a substantial adverse impact (means unfavorable or harmful; preventing success or development)

on "the reasonable investment-backed expectations"       ofthe Plaintiff; the character of the

Govemment's action was triggered when the "Takings" caused a permanent physical invasion of

the Plaintiffs property and eliminated all economically beneficial uses of such property by way

of the Govemment's manufacture and development of products, devices, methods, and systems

that are significantly the same or equivalent to the claimed inventions ofthe Plaintiff. Just

compensation is due the Plaintifffor the Govemment's actions under Section 1491.

Count     II:
                  330.    Upon information and belief, the United States has infringed, and

continues to infiinge, at least claim 20 ofthe'439 Patent, claim 34 of the 752 patent, and claims

1 1   8, 1 8, 92, 25, and 124 of the '990 Patent as a current manuf-acturer, consumer, and/or user of

the "Biomeme two3 Mobile Thermocycler" that is interconnected to the Apple iPhone. May I             l,
2016: In a recent job notice on its website, med tech startup Biomeme announced it's working on

a   multimillion dollar contract with the U.S. govemment. The Biomeme two3rM is a mobile

thermocycler for real-time linear probe polymerase chain reaction (PCR), isothermal and RT-

PCR analysis of DNA or RNA. Designed to bring cutting-edge laboratory technotogy into a field



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ready, smartphone-based device, the two3rM is capable of multiplexed detection of six nucleic

acid targets per run. Reactions prepared in Biomeme Test Kits are placed into the two3rM for

analysis. Detection category is Biological; Data Analysis Support Equipment is the iPhone;

Communications Interface is Cellular or       WiFi   connection; Biological Targets are Nucleic acids,

Chlamydia trachomatis, Neisseria gonorrhoeae (Gonorrhea), and Trichomonas vaginalis.

Satellite, wireless and wired connections are available. Device or system is intended for multiple

detection assays. Biomeme's platform tums any smartphone or like device (iPod Touch, iPad

Mini, etc.) into   a   mobile lab for performing advanced diagnostics. The system requires no special

lab equipment or experience and can be used at the point ofneed in the field or in a mobile lab.

The fu1l system includes a hardware add-on, a mobile device software application, and

disposable test kits. The system performs molecular diagnostics and near real-time surveillance

of pathogens via real-time quantitative polymerase chain reaction (qPCR). In addition to

Biomeme's tests, the platform is open enough for experienced users in analltical and diagnostic

laboratories to develop their own tests for use on the system. Real time hydrolysis probe

polymerase chain reaction amplification of genetic material on a smartphone or like device (iPod

Touch, iPad Mini) hardware add-on thermal cycler.

                   331.    As a result of contracts with the U.S. Department of Army (DOA);

Edgewood Chemical and Biological Center (ECBC), Biomeme Inc., and Apple Inc. for the

development and commercialization of the "Biomeme two3 Mobile Thermocycler" and the

"Apple Inc.'s Electronic Communications Device" the United States has used, authorized the

use, and manufactured, without license or legal right,     Plaintiff s inventions described in and

covered by the'439,752, and'990 Patents.

                           Smartphone-operated "LAMP box',: Apple iPhone



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Count     I:
                    332.       Upon information and belief, the U.S. Department of Energy's National

Nuclear Security Administration, the Sandia National Laboratory, and the National Institute                 of

Allergy and Infectious Disease, after several notices between the years 2006 -2012, has "taken"

and continues to "take" the PlaintifFs personal property and used            it for the benefit ofthe public

without paying just compensation to the Plaintiff. Pursuant to the guidelines of a "Govemment

Fifth Amendment Takings", the Govemment has taken the intangible private and personal

property subject matter as outlined in the Plaintiffs '497,'033,'752,'761, '280, '891, '990,

'   189, and'439 U.S. patents specifications and patent claims that are significantly the same or

equivalent to the claimed inventions ofthe Plaintiff. Significantly the same or equivalent to the

specifications ofthe "Smartphone-operated LAMP box" and the "Apple Inc.'s Electronic

Communications Device".

                    333.       As a result ofat least one of, a public offer to contract; public offer to

enter into a cooperative agreement; the publication ofa solicitation; a public offer to award; a

public announcement of tangible subject matter material; a public ofier for a grant; or, the

interagency exchange of unauthorized information, the United States actions and conduct and the

actions and conduct of its agents, including at least that ofthe U.S. Department olEnergy's

National Nuclear Security Administration, the Sandia National Laboratory, and the National

Institute of Allergy and Infectious Disease has used for the benefit ofthe public, authorized the

use for the b€nefit    ofthe public, shared intangible subject matter without        a license or legal right,

and without authorization and consent from the Plaintiff;           Plaintifls personal property subject

matter as described in and covered by the PlaintifPs '497,'033,'752,'761, '280, '891, .990,

' 189, and     '439 patents.



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                334.    Further, as a result of the Govemment (United States) Fifth Amendment

"Takings" of Plaintifls property and using it with the public without just compensation to the

Plaintiff, the resulting economic impact of the "Takings" is     a reduction   in value of the Plaintifls

property by virtue ofthe access, disclosure, manufacture, development or use, by or for the

Govemment and its third party awardees; has destroyed the Plaintifls competitive edge; has had

a substantial adverse impact (means uniavorable       or harmful; preventing success or development)

on "the reasonable investment-backed expectations"        ofthe Plaintiff; the character ofthe

Govemment's action was triggered when the "Takings" caused a permanent physical invasion               of

the Plaintiffs property and eliminated all economically beneficial uses of such property by way

ofthe Government's manufacture and development ofproducts, devices, methods, and systems

that are significantly the same or equivalent to the claimed inventions ofthe Plaintiff. Just

compensation is due the Plaintiff for the Govemment's actions under Section 1491.

Count   II:
                335.    Upon information and belief, the United States has infringed, and

continues to infringe, at least claim 20 of the '439 Patent, claim 34 of the 752 patent, and claims

I 1 8, 18, 92, 25, and 124   ofthe '990 Patent   as a current manufacturer, consumer, and/or user    of
the "Smartphone-operated LAMP box" that is interconnected to the Apple iPhone. The U.S.

Department of Energy's National Nuclear Security Administration under Contract DE-AC04-

94AL85000, Lockheed Martin Corporation, the Sandia National Laboratories' Laboratory

Directed Research and Development (LDRD) progr.rm (Project#             l73l1l, PI: Meagher      and

Project# 190245)), and by a grant from the National Institute of Allergy and Infectious

Disease (NIAID grant lR21AIl20973,Pl. Meagher), and Apple Inc. has developed a

smartphone-based diagnostic platform for rapid detection of Zika, chikungunya, and dengue



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viruses. The smartphone LAMP box performs comparably to benchtop thermal cyclers both in

terms of sensitivity and the ability to detect ZIKV directly in a human bodily fluid matrix. The

smartphone employs a novel algorithm utilizing chromaticity to analyze fluorescence signals,

which improves the discrimination of positive/negative signals by 5-fold when compared to

detection with traditional RGB intensity sensors or the naked eye. The ability to detect ZIKV

directly from crude human sample matrices (blood, urine, and saliva) demonstrates our

device's utility for widespread clinical deployment.

                 336.      As a result of contracts with the U.S. Departrnent of Energy's National

Nuclear Security Administration, the Sandia National Laboratory, the National Institute of

Allergy and Infectious Disease, the Lockheed Martin Corporation, and Apple Inc. for the

development and commercialization of the "Smartphone-operated LAMP box" and the "Apple

Inc.'s Electronic Communications Device" the United States has used, authorized the use, and

manufactured, without license or legal right, Plaintifls inventions described in and covered by

the'439,752,    and '990 Patents.

                             Alluviam LLC HazMasterG3: Apple iPhone

Count    I:

                 337   .   Upon information and belief, the General Services Administration (GSA),

the US Army Joint Battle Command, and the Department of Homeland Security (DHS), after

several notices between the years 2006 -2012, has "taken" and continues to'1ake" the       Plaintifls

personal property and used it for the benefit of the public without paying just compensation to

the Plaintiff. Pursuant to the guidelines of a "Govemment Fifth Amendment Takings", the

Govemment has taken the intangible private and personal property subject matter as outlined in

the   PlaintifPs'497,'033,'752,'761, '280, '891, '990,'189, and'439 U.S. patenrs specifications



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and patent claims that are significantly the same or equivalent to the claimed inventions      ofthe

Plaintiff. Significantly the same or equivalent to the specifications of the "Alluviam LLC

HazMasterG3" and the "Apple Inc.'s Electronic Communications Device".

               338.      As a result ofat least one of, a public offer to contract; public offer to

enter into a cooperative agreement; the publication ofa solicitation; a public offer to award; a

public announcement oftangible subject matter material; a public offer for a grant; or, the

interagency exchange of unauthorized information, the United States actions and conduct and the

actions and conduct of its agents, including at least that of the General Services Administration

(GSA), the US Army Joint Battle Command, and the Department of Homeland Security (DHS)

has used for the benefit   ofthe public, authorized the use for the benefit of the public, shared

intangible subject matter without a license or legal right, and without authorization and consent

from the Plaintiff; Plaintiffs personal prop€rty subject matter as described in and covered by the

Plaintiffs '497,'033,'752,'761,'280, '891, '990, '189, and '439 patents.

               339.      Further, as a result of the Government (United States) Fifth Amendment

"Takings" of Plaintiffs property and using it with the public without just compensation to the

Plaintiff, the resulting economic impact of the "Takings" is    a reduction   in value ofthe Plaintifls

property by virhre of   tle   access, disclosure, manufacture, development or use, by or for the

Govemment and its third party awardees; has destroyed the PlaintifPs competitive edge; has had

a substantial adverse impact (means unfavorable or       harmful; preventing success or development)

on "the reasonable investment-backed expectations" ofthe Plaintiff; the character ofthe

Govemment's action was triggered when the "Takings" caused a permanent physical invasion               of
the Plainti{fs property and eliminated all economically beneficial uses ofsuch property by way

of the Govemment's manufacture and development of products, devices, methods, and systems



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that are significantly the same or equivalent to the claimed inventions of the Plaintiff. Just

compensation is due the Plaintiff for the Govemment's actions under Section 1491.

Count    II:
                 340.   Upon information and belief, the United States has in-fringed, and

continues to infringe, at least claim 20 of the '439 Patent, claim 34 of the 752 patent, and claims

11   8, 18, 92, 25, and 124 ofthe '990 Patent as a current manufacturer, consumer, and/or user of

the   "Alluviam LLC HazMasterc3" that is interconnected to the Apple iPhone. Alluviam's

HazMaUchemical, biological, radiological, nuclear, explosive (CBRNE) Decision Support

System, has been recently awarded a Federal Supply Schedule contract from the General

Services Adminishation (GSA), simplifring procurement for federal agencies and other

customers with authorization to purchase from the Federal Supply System. HazMasterG3

integrates 167,000+ chemical, biological, radiological agents, trade names, explosives and IED's

with extensive threat identifrcation capabilities. HazMasterG3 has    a larger database than any


other integrated CBRNE decision support system      -   and the only one with   fl   l capabilities

whether running on one of today's handheld devices (choose from Windows Mobile, Android or

iOS), HazMasterG3 is the    firs!   and only, CBRNE/HME/IED decision support system to suppoft

iOS, Android, Windows Mobile, MS-Windows and Linux, whether on a smartphone, tablet,

laptop or net-centric environment. HazMasterG3 is the only commercially available system that

is both US Army Joint Battle Command Platform-Handheld (JBCP-H) compatible and is

cedfied    as a DHS approved product    for homeland security.

                 341.   As a result of contracts with the General Services Administration (GSA),

the US Army Joint Battle Command, and the Department of Homeland Security (DHS),

Alluviam LLC, and Apple Inc. for the development and commercialization of the "Alluviam



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LLC HazMasterG3" and the "Apple Inc.'s Electronic Communications Device" the United

States has used, authorized the use, and manufactured, without license or legal right,         Plaintifls

inventions described in and covered by the '439, 752, and '990 Patents.

                             FePhone Point-of-Care: Apple iPhone

Count    I:
                342.   Upon information and belief, the Departrnent ofDefense (DoD), Defense

Health Program, after several notices between the years 2006 -2012, has "taken" and continues

to 'lake" the Plaintiffs personal property and used it for the benefit ofthe public without paying

just compensation to the Plaintiff. Pursuant to the guidelines of     a   "Govemment Fifth Amendment

Takings", the Govemment has taken the intangible private and personal property subject matter

as   outlined in the Plaintifls'497,'033,'752,'761, '280,'891,'990,'189, and'439 U.S. patents

specifications and patent claims that are significantly the same or equivalent to the claimed

inventions ofthe Plaintiff. Significantly the same or equivalent to the specifications ofthe

"FePhone Point-of-Care" and the "Apple Inc.'s Electronic Communications Device".

                343.   As a result ofat least one oll a public offer to contract; public offer to

enter into a cooperative agreement; the publication    ofa solicitation;    a   public offer to award; a

public announcement oftangible subject matter material; a public offer for a grant; or, the

interagency exchange of unauthorized information, the United States actions and conduct and the

actions and conduct of its agents, including at least that ofthe Departrnent of Defense (DoD),

Defense Health Program has used for the benefit of the public, authorized the use for the benefit

ofthe public, shared intangible subject matter without    a license   or legal right, and without

authorization and consent from the Plaintiff; Plaintif|s personal property subject matter as




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described in and covered by the Plaintiff s '497,'033,'752,'761, '280, '891, '990, '189, and

'439 patents.

                  344.   Further, as a result of the Govemment (United States) Fifth Amendment

"Takings" of Plainti{f   s   property and using it with the public without just compensation to the

Plaintiff, the resulting economic impact ofthe "Takings" is     a reduction   in value ofthe Plaintifls

property by virtue of the access, disclosure, manufacture, development or use, by or for the

Govemment and its third party awardees; has destroyed the Plaintifls competitive edge; has had

a substantial adverse impact (means unfavorable or harmful; preventing success or development)

on "the reasonable investment-backed expectations" ofthe Plaintiff; the character of the

Govemment's action was triggered when the "Takings" caused a permanent physical invasion of

the PlaintifP s property and eliminated all economically beneficial uses ofsuch property by way

of the Govemment's manufacture and development of products, devices, methods, and systems

that are signilicantly the same or equivalent to the claimed inventions of the Plaintiff. Just

compensation is due the Plaintiff for the Govemment's actions under Section 1 49        1.



Count     II:
                  345.   Upon information and belief, the United States has infringed, and

continues to infringe, at least claim 20 of the '439 Patent, claim 34 of the 7 52 patent, and claims

1   18, 18, 92, 25, ar,d 124 of the '990 Patent as a current manufacturer, consumer, and,/or user    of

the "FePhone Point-of-Care" that is interconnected to the Apple iPhone. The Deparhnent          of
Defense (DoD), Defense Health Program under the Small Business Innovation Research (SBIR)

Program, issued an award to Comell University's Li Jiang under contract No. W81XWH-16-C-

0082 in the amount of$149,973.00 dollars for the development ofthe FePhone Point-of-Care"

that is interconnected to the Apple iPhone. FePhone Point-of-Care Iron Stratus Determination



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Enable by Mobile Technology. VitaMe Technologies Inc. and Comell University will develop

the FePhone - a point-of-care diagnostic system for iron status determination. The FePhone

comprises     of(l)   a test cartridge   which accepts the blood sample and performs the test, (2) a

TidBit reader    a custom portable hardware system developed         by Comell which operates the test,

and (3) a mobile app which provides step-by-step instructions for performing the test,

communicates with the TidBit, interprets the test outcomes, and provides the desired OK, Iron

Deficiency, or lron Deficiency Anemia result to the operator. VitaMe Technologies, Inc.              of

Ithac4 NY, is a start-up company founded in October 2012 by Matt Mancuso (CEO) and Prof.

David Erickson (Chairman). The focus of the company is to commercialize smartphone based

micronutrient analysis technology developed in the Erickson lab at Comell University.

                  346.      As a result of contracts with the Department of Defense (DoD), Defense

Health Program, Comell University, and Apple Inc. for the development and commercialization

ofthe "FePhone Poinlof-Care" and the "Apple Inc.'s Electronic Communications Device" the

United States has used, authorized the use, and manufactured, without license or legal right,

PlaintifPs inventions described in and covered by the '439,752, and '990 Patents.

                                NutriPhone Lab-on-a-Chip: Apple iPhone

Count    I:
                  347.      Upon information and belief, the National Science Foundation (NSF),

after several notices between the years 2006 -2012, has'laken" and continues to "take" the

Plaintiffs    personal property and used      it for the benefit of the public without paying just

compensation to the Plaintiff. Pursuant to the guidelines of a "Govemment Fifth Amendment

Takings", the Govemment has taken the intangible private and personal property subject matter

as   outlined in the PlaintifPs '497,'033,'752,'761, '280, '891, '990, '189, utd,439 U.S. patents



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specifications and patent claims that are significantly the same or equivalent to the claimed

inventions ofthe Plaintiff. Significantty the same or equivalent to the specifications of the

"NutriPhone Lab-on-a-Chip" and the "Apple Inc.'s Electronic Communications Device".

                 348.       As a result ofat least one of, a public offer to contrac! public offer to

enter into a cooperative agreement; the publication        ofa solicitation;   a   public offer to award; a

public announcement oftangible subject matter material; a public offer for a grant; or, the

interagency exchange of unauthorized information, the United States actions and conduct and the

actions and conduct of its agents, including at least that of the National Science Foundation

Q.,ISF) has used   for the benefit ofthe public, authorized the use for the benefit ofthe public,

shared intangible subject matter without a license or legal right, and without authorization and

consent from the Plaintiff; PlaintifFs personal property subject matter as described in and

covered by the Plaintifls '497,'033,'752,'761, '280, '891, '990, '189, and'439 patents.

                 349.       Further, as a result of the Govemment (United States) Fifth Amendment

"Takings" of Plaintifls property and using it with the public without just compensation to the

Plaintiff, the resulting economic impact of the "Takings" is       a reduction      in value of the PlaintifPs

property by virtue ofthe access, disclosure, manufacture, development or use, by or for the

Govemment and its third party awardees; has destroyed the Plaintifl s competitive edge; has had

a substantial adverse impact (means unfavorable or harmful; preventing success or development)

on "the reasonable investment-backed expectations" of the Plaintiff; the character             ofthe

Govemment's action was triggered when the "Takings" caused a permanent physical invasion of

the   Plaintifls property   and eliminated all economically beneficial uses ofsuch property by way

ofthe Govemment's manufacture and development ofproducts, devices, methods, and systems




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that are significantly the same or equivalent to the claimed inventions ofthe Plaintiff. Just

compensation is due the Plaintifffor the Govemment's actions under Section 1491.

Count       II:
                      350.   Upon information and belief, the United States has infiinged, and

continues to infiinge, at least claim 20 of the '439 Patent, claim 34 of the 752 patent, and claims

1   18, 18, 92, 25, and 124 of the '990 Patent as a current manufacturer, consumer, and/or user     of

the "NutriPhone Lab.on-a-Chip" that is interconnected to the Apple iPhone. Comell

University's David Erickson, a mechanical engineer, and Saurabh Mehta, a physician and

nutrition researcher, who focused on bringing people around the world better health and well-

being   -   all in   a smartphone device.   Their NutriPhone combines nanofabricated "lab-on-a-chip"

technology with new smartphone apps to monitor users' nutrition, blood and stress. NutriPhone

is currently funded by a five-year, $3 million National Science Foundation grant. The team

focused on developing three specific smartphone applications for nutrition, blood and stress. In

addition, the researchers are creating a small device that fits over the smartphone's powerful

megapixel camera, which can analyze small blood samples from test strips. NutriPhone is a

smartphone based micronutrient testing system that utilizes camera phones to analyze blood

results for Vitamin B 12, D, cholesterol, and other health markers.

                      351.   As a result of contracts with the National Science Foundation (NSF),

Comell University, and Apple Inc. for the development and commercialization of the

"NutriPhone Lab-on-a-Chip" and the "Apple Inc.'s Electronic Communications Device" the

United States has used, authorized the use, and manufactured, without license or legal right,

Plaintifls inventions described in and covered by the '439,7 52, and '990       Patents.

                                        FeverPhone: Apple iPhone



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Count I:

                       352.    Upon information and belief, the National Institutes of Health's (NIH)

National Institute of Biomedical Imaging and Bioengineering, after several notices between the

years 2006 -2012, has "taken" and continues to "take" the              Plainti{fs personal property and    used

it for the benefit of the public without payingjust compensation to the Plaintiff. Pursuant to the

guidelines of a "Govemment Fifth Amendment Takings", the Govemment has taken the

intangible private and personal property subject matter as outlined in the Plaintiff s '497 ,'033,

'752,'761, '280, '891, '990, ' 189, and '439 U.S. patents specifications and patent claims that are

significantly the same or equivalent to the claimed inventions ofthe Plaintiff. Significantly the

same or equivalent to the specifications of the "FeverPhone" and the
                                                                                    *Apple Inc.'s Electronic

Communications Device".

                       353.    As a result ofat least one of, a public offer to contract; public offer to

enter into a cooperative agreement; the publication            ofa solicitation;   a public offer to award; a

public announcement oftangible subject matter material; a public offer for a grant; or, the

interagency exchange of unauthorized information, the United States actions and conduct and the

actions and conduct of its agents, including at least that ofthe National Institutes of Health's

(NIH) National Institute of Biomedical Imaging and Bioengineering has used for the benefit of

the public, authorized the use for the benefit of the public, shared intangible subject matter

without a license or legal right, and without authorization and consent from the Plaintiff;

Plaintiffs personal property subject matter          as described in and covered by the PlaintifPs '497,

'   033,'   7   52,' 7 61,' 280,' 89 1,'990,' 1 89, and'439 patents.

                       354.    Further, as a result of the Govemment (United States) Fifth Amendment

"Takings" of Plaintiffs property and using it with the public without just compensation to the



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Plaintiff, the resulting economic impact of the "Takings" is      a reduction   in value of the Plaintiffs

property by virtue of the access, disclosure, manufacture, development or use, by or for the

Govemment and its third party awardees; has destroyed the Plaintifls competitive edge; has had

a substantial adverse impact (means unfavorable or harmful; preventing success or development)

on '1he reasonable investment-backed expectations"       ofthe Plaintiff; the character ofthe

Govemment's action was triggered when the "Takings" caused a permanent physical invasion of

the   Plaintifls property and eliminated all economically beneficial     uses   ofsuch property by way

of the Govemment's manufacture and development of products, devices, methods, and systems

that are significantly the same or equivalent to the claimed inventions ofthe Plaintiff. Just

compensation is due the Plaintiff for the Govemment's actions under Section 1491.

Count    II:
                 355.   Upon information and belief, the United States has infringed, and

continues to infringe, at least claim 20 ofthe '439 Patent, claim 34 of the 752 patent, and claims

118,18,92,25, and     124   of the'990 Patent   as a current manufacturer, consumer, and./or user    of

the "FeverPhone" that is interconnected to the Apple iPhone. Comell University's David

Erickson, a mechanical engineer, and Saurabh Mehta, a physician and nutrition researcher. The

National Institutes of Health's (NIH) National Institute of Biomedical Imaging and

Bioengineering has awarded to Comell a four-year, $2.3 million grant to develop FeverPhone,

which will diagnose six febrile diseases in the field: dengue, malaria, chikungunya, typhoid

fever, leptospirosis and Chagas' disease. FeverPhone      -   hardware and software, working in

combination with a smartphone or tablet    - will provide a real-time,   rapid and accurate diagnosis

using a drop of blood to differentiate and identifu specific pathogens. While the Zika virus was

not included in this specific grant, as the application was submitted before the current outbreak,



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the technology potentially can be expanded to include it. "FeverPhone," a smartphone based

molecular diagnostics platform for point-of-care differential diagnosis of six common causes            of

acute febrile illness includes:   (l)   a specialized 6-plexed   colorimetric IgM/IgG assay cartridge

that exploits color discrimination assay on mobile devices, (2) associated iPad based hardware

that allows rapid interpretation ofthe cartridge results, and (3) software that combines

differential molecular diagnosis with a confirmatory symptomatic interface.

                356.      As a result of contracts with the National Institutes of Health's (NlH)

National Institute of Biomedical Imaging and Bioengineering, Comell University, and Apple

Inc. for the development and commercialization of the "FeverPhone" and the "Apple Inc.'s

Electronic Communications Device" the United States has used, authorized the use, and

manufactured, without license or legal right, Plaintiffs inventions described in and covered by

the '439, 752, and '990 Patents.

                               Solar Thermal PCR Test: Apple iPhone

Count I:

                357   .   Upon information and belief, the National Institutes of Health's (NIH)

National Institute of Biomedical Imaging and Bioengineering, after several notices between the

years 2006 -2012, has'taken" and continues to "take" the           Plaintiffs personal property and   used

it for the benefit ofthe public without paying just compensation to the Plaintiff. Pursuant to the

guidelines of a "Govemment Fifth Amendment Takings", the Govemment has taken the

intangible private and personal property subject matter as outlined in the Plaintifls '497 , '033,

'752,'761, '280, '891, '990, '189, and'439 U.S. patents specifications and patent claims that           are

significantly the same or equivalent to the claimed inventions of the Plaintiff. Significantly the




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same or equivalent to the specifications   ofthe "Solar Thermal PCR Test" and the "Apple Inc.'s

Electronic Communications Device".

                 358.   As a result ofat least one of, a public offer to contract; public offer to

enter into a cooperative agreemen| the publication ofa solicitation; a public offer to award; a

public announcement oftangible subject matter material; a public offer for a grant; or, the

interagency exchange of unauthorized information, the United States actions and conduct and the

actions and conduct of its agents, including at least that of the National Institutes of Health's

(NIH) National Institute of Biomedical Imaging and Bioengineering has used for the benefit           ol
the public, authorized the use for the benefit   ofthe public, shared intangible subject matler

without a license or legal right, and without authorization and consent from the Plaintiff;

Plaintills   personal property subject matter as described in and covered by the     Plaintiffls '497,

'033,'752,'761,'280,'891, '990, 'l     89, and '439 patents.

                 359.   Further, as a result of the Govemment (United States) Fifth Amendment

"Takings" of Plaintiffs property and using it with the public without just compensation to the

Plaintiff, the resulting economic impact ofthe "Takings" is     a reduction   in value ofthe Plaintifls

property by virtue of the access, disclosure, manufacture, development or use, by or for the

Govemment and its third party awardees; has destroyed the Plaintifls competitive edge; has had

a substantial adverse impact (means unfavorable      or harmful; preventing success or development)

on "the reasonable investment-backed expectations" ofthe Plaintiff; the character ofthe

Govemment's action was triggered when the "Takings" caused a permanent physical invasion of

the Plaintiff s property and eliminated all economically beneficial uses of such property by way

of the Govemment's manufacture and development of products, devices, methods, and systems




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that are significantly the same or equivalent to the claimed inventions ofthe Plaintiff. Just

compensation is due the Plaintiff for the Govemment's actions under Section 1491.

Count   II:
               360.      Upon information and beliel, the United States has infringed, and

continues to infiinge, at least claim 20 ofthe'439 Patent, claim 34 ofthe 752 patent, and claims

118, 18, 92, 25, and 124 olthe '990 Patent as a current manufacturer, consumer, and/or user            of

the "Solar Thermal PCR'l'est" that is interconnected to the Apple iPhone. The National Institutes

of Health's QrllH) National Institute of Biomedical Imaging and Bioengineering has awarded to

Comell a four-year,    $l million gmnt to hone technology for a quiclq in+he-field     diagnosis   of

Kaposi's sarcoma   -   a cancer   frequently related to HIV infections. From the sun, a

solution: researchers have remodeled an energy-intensive medical       test   designed to detect a

deadly skin cancer related to HIV      infections to create a quick diagnostic   assay perfect   for

remote regions ofthe world, according to Scientific Reports (Feb. 20). The solar thermal

PCR test for a smartphone: By hamessing the sun's power and employing a smartphone

application this Comell-developed solar thermal PCR (polymerase chain reaction) test for a

smartphone, medical technicians can obtain human skin biopsies, deposit the biopsied material

into the solar thermal PCR device and obtain completed diagnostic tests with a smartphone.

               361.      As a result of contracts with the National Institutes of Health's (NIH)

National lnstitute olBiomedical Imaging and Bioengineering, Comell University, and Apple

Inc. for the development and commercialization ofthe "Solar Thermal PCR Test" and the

"Apple Inc.'s Electronic Communications Device" the United States has used, authorized the

use, and manufactured, without license or legal right,    Plaintiffs inventions described in and

covered by the'439,752, and'990 Patents.



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                                     Lab-on-a-Drone: Apple iPhone

Count I:

                 362.    Upon information and belief, the National Institutes of Health's (NIH),

after several notices between the years 2006 -2012, has "taken" and continues to "take" the

Plaintiffs personal property and used it for the benefit ofthe public without payingjust

compensation to the Plaintiff. Pursuant to the guidelines of a "Govemment Fifth Amendment

Takings", the Govemment has taken the intangible private and personal property subject matter

as   outlined in the Plaintifls '497,'033,'752,'761, '280, '891, '990, '189, and'439 U.S. patents

specifications and patent claims that are significantly the same or equivalent to the claimed

inventions ofthe Plaintiff. Significantly the same or equivalent to the specifications of the *Lab-

on-a-Drone" and the "Apple Inc.'s Electronic Communications Device".

                 363.    As a result ofat least one of, a public offer to contract; public offer to

enter into a cooperative agreement; the publication ofa solicitation; a public offer to award; a

public announcement oltangible subject matter material; a public offer for a grant; or, the

interagency exchange of unauthorized information, the United States actions and conduct and the

actions and conduct of its agents, including at least that of the National Institutes of Health's

(NIH) has used for the benefit ofthe public, authorized the use for the benefit of the public,

shared intangible subject matter without a license or legal right, and without authorization and

consent fiom the Plaintiff;    Plaintiffs personal property subject matter   as described   in and

covered by the Plaintifls '497,'033,'752,'761, '280, '891, '990, '189, and '439 patents.

                 364.    Further, as a result of the Govemment (United States) Fifth Amendment

"Takings" of Plaintilf   s   property and using it with the public without just compensation to the

Plaintiff, the resulting economic impact ofthe "Takings" is     a   reduction in value of the Plaintiffs



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property by virtue ofthe access, disclosure, manufacture, development or use, by or for the

Govemment and its third party awardees; has destroyed the Plaintiffs competitive edge; has had

a substantial adverse impact (means unfavorable or harmful; preventing success or development)

on "the reasonable investment-backed expectations" ofthe Plaintiff; the character ofthe

Government's action was triggered when the "Takings" caused a permanent physical invasion of

the Plaintiffs property and eliminated all economically beneficial uses of such property by way

of the Govemment's manufacture and development ofproducts, devices, methods, and systems

that are significantly the same or equivalent to the claimed inventions ofthe Plaintiff. Just

compensation is due the Plaintiff for the Govemment's actions under Section 1491.

Count   II:
               365.     Upon information and belief, the United States has infringed, and

continues to infiinge, at least claim 20 of the '439 Patent, claim 34 of the 752 patent, and claims

118, 18, 92, 25, and 124 ofthe '990 Patent as a current manufacturer, consumer, and/or user      of

the "Lab-on-a-Drone" that is interconnected to the Apple iPhone. The National Institutes    of

Health's (NIH) has awarded to AI Biosciences, Inc. a grant (Grant No. 1R43AI107984), for

Nucleic acid-based approaches like the polymerase chain reaction (PCR) that's considered

diagnostic gold standards in terms of both sensitivity and specificity. Smartphone-enabled real

time PCR. Quantitative smartphone-based fluorescence detection. (A) The PC? lo Go analysis

app enables smartphone-based image acquisition, processing, and data analysis. The PCR ro

Go iPhone app was mn in continuous mode. In-flight PCR was performed using a 3D Robotics

IRIS+ quadcopter drone. Also obtained successful results using a DJI Phantom 2 quadcopter

drone. Apple's iOS software development kit (SDK) to access and control advanced iPhone

camera features.   A 3D printed enclosure and interchangeable smartphone cradle ensures



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alignment ofthe camera. Smartphone-based fluorescence detection system deliven a rugged

inexpensive biochemical analysis platform ideally suited for field deployment. Convective PCR

runs fbr Ebola and Staphylococcus aureus detection were perlormed using a preincubated hot

start reagent mixture. Other diagnostic scenarios can potentially benefit from this level   of

performance, including viral load monitoring of HIV infection.

               366.    As a result of contracts with the National Institutes of Health's (NIH),   AI

Biosciences, Inc., and Apple Inc. for the development and commercialization of the "Lab-on-a-

Drone" and the "Apple Inc.'s Electronic Communications Device" the United States has used,

authorized the use, and manufactured, without license or legal right, Plaintiffs inventions

described in and covered by the '439,7 52, and '990 Patents.

                      Eureka Aerospace High Powered Electromagnetic

                                       System, or HPEMS

Count I:

               367.    Upon information and belief, the U.S. Air Force and the U.S. Marines,

(the United States), after several notices between the years 2006 -20l2,has "taken" and

continues to "take" the Plaintiffs personal property and used it for the benefit of the public

without paying just compensation to the Plaintiff. Pursuant to the guidelines of a "Govemment

Fifth Amendment Takings", the Government has taken the intangible private and personal

property subject matter as outlined in the Plaintiffs '497,'033,'752,'761, '280, '891, '990,

'189, and'439 U.S. patents specifications and patent claims that are significantly the same or

equivalent to the claimed inventions of the Plaintiff. Significantly the same or equivalent to the

specifications of the Eureka Aerospace High Powered Electromagnetic System, or HPEMS.




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               368.    As a result ofat least one of, a public offer to contract; public offer to

enter into a cooperative agreement; the publication ofa solicitation; a public offer to award; a

public announcement oftangible subject matter material; a public offer for       a   gmnt; or, the

interagency exchange of unauthorized information, the United States actions and conduct and the

actions and conduct of its agents, including at least that ofthe U.S. Air Force and the U.S.

Marines has used for the benefit ofthe public, authorized the use for the benefit ofthe public,

shared intangible subject matter without a license or legal right, and without authorization and

consent from the Plaintiff; PlaintifP s personal property subject matter as described in and

covered by the PlaintifPs '497,'033,'752,"161, '280, '891, '990, '189, and'439 patents.

               369.    Further, as a result of the Govemment (United States) Fifth Amendment

"Takings" of Plaintiffs property and using it with the public without just compensation to the

Plaintiff, the resulting economic impact of the "Takings" is   a reduction   in value of the Plaintiffs

property by virtue of the access, disclosure, manufacture, development or use, by or for the

Govemment and its third party awardees; has destroyed the Plaintifls competitive edge; has had

a substantial adverse impact (means unfavorable or     harmful; preventing success or development)

on "the reasonable investment-backed expectations" ofthe Plaintiff; the character ofthe

Govemment's action was triggered when the "Takings" caused a pennanent physical invasion             of
the Plaintifls property and eliminated all economically beneficial uses ofsuch property by way

of the Govemment's manufacture and development of products, devices, methods, and systems

that are significantly the same or equivalent to the claimed inventions ofthe Plaintiff. Just

compensation is due the Plaintiff for the Govemment's actions under Section 1491.

Count   II:




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                370.   Upon information and belief, the United States has infringed, and

continues to infringe, at least claim 1l ofthe '891 Patent, and claims 19, 15, and   2l of the '891

Patent as a current manufacturer, consumer, and/or user   ofthe Eureka Aerospace High Powered

Electromagnetic System, or HPEMS: The U.S. Air Force request for an "air-delivered capability

to disable moving ground vehicles while minimizing harm to occupants." Presumably the Air

Force wants to look beyond helicopter-mounted snipers, and so Eureka Aerospace's device could

potentially fit the bill. The U.S. Marines have lined up as possible customers. The idea is that an

electromagnetic pulse (from a remote location) would be used to disable a car's microprocessors,

chips, and whatever other electronics are keeping it running. Boeings; as partner provided funds

for research.

                371.   As a result of contracts with the U.S. Air Force (DOA), the U.S. Marines,

Eureka Aerospace, and the Boeings Company for the development and commercialization of the

Eureka Aerospace High Powered Electromagrretic System, or HPEMS the United States has

used, authorized the use, and manufactured, without license or legal right, PlaintifPs inventions

described in and covered by the '891 Patent.

                                 Laser Weapons System (LaWS)

Count I:

                372.   Upon information and belief, the U.S. Nary, (the United States), after

several notices between the years 2006 -2012, has "taken" and continues to "take" the     Plaintifl's

personal property and used it for the benefit ofthe public without paying just comp€nsation to

the Plaintiff. Pursuant to the guidelines of a "Govemment Fifth Amendment Takings", the

Govemment has taken the intangible private and personal property subject matter as outlined in

the Plaintiffs'497,'033,'752,'761,'280,'891,      '990, ' 189, and'439 U.S. patents specifications



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and patent claims that are significantly the same or equivalent to the claimed inventions of the

Plaintiff. Signifrcantly the same or equivalent to the specifications ofthe "Laser Weapons

System (LaWS)".

                       373.    As a result ofat least one of, a public offer to contract; public offer to

enter into a cooperative agreement; the publication            ofa solicitation;   a   public offer to award; a

public announcement of tangible subject matter material; a public offer for                  a grant; or, the


interagency exchange of unauthorized information, the United States actions and conduct and the

actions and conduct of its agents, including at least that of the U.S. Naly has used for the benefit

of the public, authorized the use for the benefit ofthe public, shared intangible subject matter

without a license or legal right, and without authorization and consent from the Plaintiff;

Plaintifls        personal property subject matter as described in and covered by the          Plaintiffs '497,

'   033,'   7   52,' 7 61,' 280,' 89 1,'990,' 1 89, and'439 patents.

                       374.    Further, as a result of the Govemment (United States) Fifth Amendment

"Takings" of PlaintifP         s   property and using it with the public without just compensation to the

Plaintiff, the resulting economic impact of the "Takings" is a reduction in value ofthe Plaintiff                 s


property by virtue ofthe access, disclosure, manufacture, development or use, by or for the

Govemment and its third party awardees; has destroyed the Plaintifls competitive edge; has had

a substantial adverse impact (means unfavorable or harmful; preventing success or development)

on '1he reasonable investment-backed expectations"              ofthe Plaintiff; the character of the

Govemment's action was triggered when the "Takings" caused a permanent physical invasion                          of
the   Plaintiffs property and eliminated all economically beneficial           uses     of such property by way

of the Govemment's manufacture and development of products, devices, methods, and systems




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that are significantly the same or equivalent to the claimed inventions ofthe Plaintiff. Just

compensation is due the Plaintiff for the Govemment's actions under Section 1491.

Count   II:
               375.    Upon information and belief, the United States has infringed, and

continues to infiinge, at least claim 1l ofthe'891 Patent, and claims 19, 15, and       2l ofthe'891

Patent as a current manufacturer, consuner, and/or user     of"Laser Weapons System (LaWS): A

vehicle adapted (e.g. small boats, drones, aircraft, UAVs). In 2010, Kratos Defense & Security

Solutions was awarded an I I -million-dollar contract to support the Naval Surface Warfare

Center (NSWC) in the development of the Laser Weapons System (LaWS) for the U.S. Navy's

Directed Energy and Electric Weapon Systems (DE&EWS) program. The LaWS is designed to

fry sensors, bum out motors, and detonate explosive materials. Against small UAVs (vehicle),

one can be shot down two seconds. When facing small boats (vehicle), the laser targets a craft's

motor to disable it. US Navy officers are testing onboard the USS Ponce, this drone (vehicle)

killing laser. When the laser makes contact with   a drone, the    vehicle heats to a temperature   of

more than 1,000'F and explodes. The laser will be used to destroy aircraft (vehicle) and small

boats (vehicle). The $40   million laser moves at the   speed   of tight. Laser canons are limited only

by the amount ofelectricity that can be generated. It operates in an electromagnetic spectrum so

you don't see the beam, it doesn't make any sound, and it's completely silent.

               376.    As a result of contracts with the U.S. Navy (DON), the Naval Surface

Warfare Center (NSWC), and Kratos Defense & Security Solutions for the development and

commercialization of "Laser Weapons System (LaWS) the United States has used, authorized

the use, and manufactured, without license or legal right, PlaintifPs inventions described in and

covered by the '891 Patent.



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                         ATHENA (Advanced Test High Energr Asset)

Count I:

               377.    Upon information and belief, the U.S. Nary, the U.S. Air Force, and the

U.S. Army, (the United States), after several notices between the years 2006 -2012, has'1aken"

and continues to "take" the   Plaintiffs personal property and used it for the benefit ofthe public

without paying just compensation to the Plaintiff. Pursuant to the guidelines of a "Govemment

Fifth Amendment Takings", the Government has taken the intangible private and personal

property subject matter as outlined in the Plaintifls '497,'033,'752,'761, '280, '891, '990,

'189, and '439 U.S. patents specifications and patent claims that are sigrificantly the same or

equivalent to the claimed inventions ofthe Plaintiff. Sigrificantly the same or equivalent to the

specifications of the "ATHENA (Advanced Test High Energy Asset)".

               378.    As a result ofat least one of, a public offer to contract; public offer to

enter into a cooperative agreement; the publication     ofa solicitation;   a   public offer to award; a

public announcement of tangible subject matter material; a public offer for           a grant; or, the


interagency exchange of unauthorized information, the United States actions and conduct and the

actions and conduct of its agents, including at least that ofthe U.S. Nary, the U.S. Air Force, and

the U.S. Army has used for the b€nefit of the public, authorized the use for the benefit of the

public, shared intangible subject matter without a license or legal right, and without authorization

and consent lrom the Plaintiff;   Plainti{ls personal property subject matter       as described   in and

covered by the Plaintifls '497,'033,'752,'761, '280, '891, '990, '189, and'439 patents.

               379.    Furtheg as a result of the Govemment (United States) Fifth Amendment

"Takings" of Plaintiffs property and using it with the public without just compensation to the

Plaintiff, the resulting economic impact of the "Takings" is    a reduction      in value of the Plaintiff   s




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property by virtue of the access, disclosure, manufacture, development or use, by or for the

Govemment and its third party awardees; has destroyed the Plaintifls competitive edge; has had

a substantial adverse impact (means unfavorable or harmful; preventing success or development)

on "the reasonable investment-backed expectations" of the Plaintiff; the character ofthe

Government's action was triggered when the "Takings" caused a permanent physical invasion              of

the Plaintiffs property and eliminated all economically beneficial uses of such property by way

ofthe Government's manufacture and development ofproducts, devices, methods, and systems

that are significantly the same or equivalent to the claimed inventions of the Plaintiff. Just

compensation is due the Plaintiff for the Govemment's actions under Section 1491.

Count   II:
               380.    Upon information and belief, the United States has infringed, and

continues to infringe, at least claim l1 of the '891 Patent, and claims 19, 15, and 21 ofthe '891

Patent as a current manufacturer, consurner, and/or user   of"ATHENA (Advanced Test High

Energy Asset): A vehicle adapted (e.g. small boats, drones, aircraft, UAVs). Lockheed Martin is

providing the U.S. military with laser weapons capable of 30 KW beams, according to tfuee

Lockheed executives in an interview with Defense News. Lockheed Martin's ATHENA

(Advanced Test High Energy Asset) lasers can disable a truck's engine from over a mile away

with only 30 KW of power. ATHENA is an advancement of the company's ADAM (Area

Defense Anti-Munitions) laser weapon system, which successfully disabled two boats about a         .




mile away. Lockheed Martin's Air Defense Anti Munitions (ADAM) has weathered several tests

destroying incoming rockets. They can counter rockets, artillery and mortars, and land, sea and

air vehicles, including small drones with permanent damage to electronics and computer systems

within the target. They can cause varying degrees ofdamage, by shooting      a plane   from the sky or



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destroying a truck engine. Lockheed Martin's ATHENA laser weapon system defeats a truck

target by disabling the engine. demonstraling its military effectiveness against enemy ground

vehicles.

               381.    As a result of contracts with the U.S. Navy, the U.S. Air Force, the U.S.

Army, and Lockheed Martin for the development and commercialization of "ATHENA

(Advanced Test High Energy Asset)" the United States has used, authorized the use, and

manufactured, without license or legal right, Plaintifls inventions described in and covered by

the '891 Patent.

    Counter-Electronics High-Powered Microwave Advanced Missile Project (CHAMP)

Count I:

               382.    Upon information and belief, the U.S. Air Force, (he United States), after

several notices between the years 2006 -2012, has "taken" and continues to "take" the       Plaintifls

personal property and used it for the benefit ofthe public without payingjust compensation to

the Plaintiff. Pursuant to the guidelines of a "Govemment Fifth Amendment Takings", the

Govemment has taken the intangible private and personal property subject matter as outlined in

the Plaintiffls'497,'033,"752,'761, '280,'891,'990,'189, and'439 U.S. patents specifications

and patent claims that are significantly the same or equivalent to the claimed inventions     oflhe

Plaintiff. Signihcantly the same or equivalent to the specifications of the "Counter-Electronics

High-Powered Microwave Advanced Missile Project (CHAMP)".

               383.    As a result ofat least one ofl, a public offer to contract; public offer to

enter into a cooperative agreement; the publication ofa solicitation; a public off'er to award; a

public announcement of tangible subject matter material; a public offer for     a grant; or, the

interagency exchange of unauthorized information, the United States actions and conduct and the



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actions and conduct of its agents, including at least that ofthe U.S. Air Force has used for the

benefit ofthe public, authorized the use for the benefit ofthe public, shared intangible subject

matter without a license or legal right, and without authorization and consent from the Plaintiff;

PlaintifPs personal property subject matter as described in and covered by the PlaintifPs '497,

'   033,' 7 52,' 7 61,' 280,'891,'990,' 1 89, and'439 patents.

                  384.      Further, as a result of the Govemment (United States) Fifth Amendment

"Takings" of Plaintiffs property and using it with the public withoutjust compensation to the

Plaintiff, the resulting economic impact ofthe "Takings" is a reduction in value ofthe Plaintiffs

property by virtue of the access, disclosure, manufacture, development or use, by or for the

Govemment and its third party awardees; has destroyed the Plaintifls competitive edge; has had

a substantial adverse impact (means unfavorable or harmful; preventing success or development)

on "the reasonable investment-backed expectations" ofthe Plaintiff; the character ofthe

Govemment's action was triggered when the "Takings" caused a permanent physical invasion of

the   Plaintiffs property   and eliminated all economically beneficial uses of such property by way

ofthe Govemment's manufacture and development ofproducts, devices, methods, and systems

that are significantly the same or equivalent to the claimed inventions ofthe Plaintiff. Just

compensation is due the Plaintiff for the Govemment's actions under Section 1491.

Count     II:
                  385.      Upon information and belief, the United States has infringed, and

continues to infringe, at least claim l   l ofthe   '891 Patent, and claims 19, 15, and 21 ofthe '891

Patent as a current manufacturer, consumer, and,/or user of "Counter-Electronics High-Powered

Microwave Advanced Missile Project (CHAMP)": A vehicle adapted (e.g. cars, trucks, small

boats, drones, aircraft, UAVs). Boeing successfully tested the electromagnetic pulse; Counter-



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electronics High-powered Microwave Advanced Missile Project (CHAMP). CHAMP's High

Power Microwave instrument that provided the disabling EMP blast is a product of Raltheon

Ktech. In 2012, it was reported that a CHAMP mission in Utah managed to hit and subsequently

disable seven separate targets in one mission, effectively knocking out the target's data and

electronic subsystems. A recent solicitation from the Pentagon calls for a non-explosive

electromagnetic pulse artillery shell capable of wiping out 'a wide range of electronics, critical

infrastructure, and computer-based systems. Raytheon first revealed the project during a media

roundtable in Washington. lt boasted the device is effective against drone swarms over a wide

are4 and has been proven to stop cars and vehicles and could even throw offmissiles guided by

electronics.

               386.     As a result of contracts with the U.S. Air Force, Raytheon Ktech, and

Boeing for the development and commercialization of "Counter-Electronics High-Powered

Microwave Advanced Missile Project (CHAMP)" the United States has used, authorized the use,

and manufactured, without license or legal right,   Plaintiffs inventions described in and covered

by the '891 Patent.

                        Northrop Grumman X-478 UCAS X-47B Control

                                       Display Unit (CDU)

Count I:

               387.     Upon information and belief, the U.S. Nary and the U.S. Naval Air

Systems Command       (NAVAIR), (the United States), after several notices between the years 2006

-2012, has "taken" and continues to "take" the   Plaintiffs   personal property and used   it for the

benefit ofthe public without payingjust compensation to the Plaintiff. Pursuant to the guidelines

of a "Govemment Fifth Amendment Takings", the Govemment has taken the intangible private



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and personal property subject matter as outlined in the     Plaintifls   '497 , '033,   '752,'761, '280,

'891, '990, '189, and '439 U.S. patents specifications and patent claims that are significantly the

same or equivalent to the claimed inventions     ofthe Plaintiff. Significantly the same or equivalent

to the specifications of the Northrop Grumman X-478 UCAS lX-478 Control Display Unit

(cDU).

                  388.   As a result ofat least one of, a public offer to contract; public offer to

enter into a cooperative agreement; the publication      ofa solicitation;   a public offer to award; a

public announcement of tangible subject matter material; a public offer for         a grant; or, the


interagency exchange of unauthorized information, the United States actions and conduct and the

actions and conduct of its agents, including at least that of the U.S. Navy and the U.S. Naval         Air

Systems Command       (NAVAIR)     has used for the benefit of the public, authorized the use for the

benefit ofthe public, shared intangible subject matter without a license or legal right, and

without authorization and consent from the Plaintiff; Plaintifls personal property subject matter

as described    in and covered by the Plaintiffs '497,'033,'752,'761, '280, '891, '990, '189, and

'439 patents.

                  389.   Further, as a result of the Govemment (United States) Fifth Amendment

"Takings" of Plaintiffs property and using it with the public without just compensation to the

Plaintiff, the resulting economic impact ofthe "Takings" is       a reduction   in value ofthe Plaintiffs

prope(y by virtue ofthe access, disclosure, manufacture, development or use, by or for the

Govemment and its third party awardees; has destroyed the Plaintifls competitive edge; has had

a substantial adverse impact (means unfavorable or       harmful; preventing success or development)

on "the reasonable investment-backed expectations" ofthe Plaintiff; the character of the

Govemment's action was triggered when the "Takings" caused a permanent physical invasion                   of


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the Plaintiffs property and eliminated all economically beneficial uses of such property by way

of the Govemment's manufacture and development of products, devices, methods, and systems

that are significantly the same or equivalent to the claimed inventions of the Plaintiff. Just

compensation is due the Plaintifffor the Govemment's actions under Section 1491.

Count   II:
                 390.      Upon information and belief, the United States has infringed, and

continues to infringe, at least claim l1 ofthe '891 Patent, and claims 19,15,27, and     2l of the

'891 Patent as a current manufacturer, consumer, and/or user of the Northrop Grumman X-47B

UCAS / X-47B Control Display Unit (CDU): The U.S. Navy's UCAS-D program is designed to

demonstrate the ability     of4   fighter-sized unmanned aircraft to land on and be launched from the

flight deck of   a   Navy aircraft carrier underway at sea. Northrop Grumman Corporation (NYSE:

NOC), a leader in unmanned systems, serves as the Navy's prime contractor for the UCAS-D

program, which is managed by U.S. Naval Air Systems Command (NAVAIR). Under contract

awarded in Aug. 2007, Northrop Grumman designed the X-47B. From a remote place the X-47B

Control Display Unit controls the aircraft's stall, stop, and slow-down means.

                 391.      As a result of contracts with the U.S. Naval Air Systems Command

(NAVAIR), and the No(hrop Grumman Corporation (NYSE: NOC) for the development and

commercialization of the Northrop Grumman X-478 UCAS I ){-478 Control Display Unit

(CDU) the United States has used, authorized the use, and manufactured, without license or legal

right, Plaintiff s inventions described in and covered by the '891 Patent.

                          Oshkosh Defense Autonomous Unmanned Ground

                                       Vehicle (UGY) *TerraMax"

Count   I:


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                       392.     Upon information and beliel the U.S. Marine Corps, (the United States),

after several notices between the years 2006 -2012, has "taken" and continues to "take" the

Plaintifls personal property            and used       it lor the benefit ofthe public without payingjust

compensation to the Plaintiff. Pusuant to the guidelines of a "Govemment Fifth Amendment

Takings", the Govemment has taken the intangible private and personal property subject matter

as   outlined in the Plaintiffs '497,'033,'752,'761,'280,'891, '990, '189, and'439 U.S. patents

specifications and patent claims that are significantly the same or equivalent to the claimed

inventions of the Plaintiff. Significantly the same or equivalent to the specifications ofthe

Oshkosh Defense Autonomous Unmanned Ground Vehicle (UGV) "TerraMax".

                       393.    As a result ofat least one of, a public offer to contract; public offer to

enter into a cooperative agreement; the publication of a solicitation; a public offer to award; a

public announcement of tangible subject matter material; a public offer for                  a grant; or, the


interagency exchange of unauthorized information, the United States actions and conduct and the

actions and conduct of its agents, including at least that of the U.S. Marine Corps has used for

the benefit ofthe public, authorized the use for the benefit ofthe public, shared intangible subject

matter without a license or legal right, and without authorization and consent from the Plaintiff;

Plaintiffs personal property subject matter as described in and covered by the Plaintiffs '497,

'   033,'   7   52,' 7 61,' 280,' 89   l,'990,'   1   89, and'439 patents.

                       394.    Further, as a result of the Govemment (United States) Fifth Amendment

"Takings" of Plaintiffs prop€rty and using it with the public without just compensation to the

Plaintiff, the resulting economic impact of the "Takings" is a reduction in value of the Plainti{f              s


property by virtue ofthe access, disclosure, manufacture, development or use, by or for the

Govemment and its third party awardees; has destroyed the Plaintiff s competitive edge; has had



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a substantial adverse impact (means unfavorable or harmful; preventing success or development)

on "the reasonable investment-backed expectations" ofthe Plaintiff; the character of the

Govemment's action was triggered when the "Takings" caused a permanent physical invasion of

the Plaintiffs property and eliminated all economically beneficial uses of such property by way

of the Govemment's manufacture and development of products, devices, methods, and systems

that are signifrcantly the same or equivalent to the claimed inventions ofthe Plaintiff. Just

compensation is due the Plaintiff for the Govemment's actions under Section 1491.

Count   II:
               395.    Upon information and belief, the United States has infiinged, and

continues to infringe, at least claims 44,55,and27 ofthe'891 Patent, as a current manufacturer,

consumer, and/or user ofthe Oshkosh Defense Autonomous Unmanned Ground Vehicle (UGV)

"TerraMax": U.S. defense contmctor Oshkosh Defense autonomous unmanned ground vehicle

(UGV) "TerraMax" is now equipped with radar and LIDAR; which stands for Light Detection

and Ranging, is a remote sensing method that uses light in the form    ofa pulsed laser to measure

ranges; uses lasers to detect nearby objects, along with a drive-by-wire system that electronically

controls engine speed, transmission, braking, and steering. The system does more than steer and

hit the throttle and brakes. It can intelligently control the driveline locks to navigate deep sand or

mud, without input from the operator. The "TerraMax" technology has recently completed its

first technical assessment (FTA) for the U.S. Marine Corps UGV (CUGV) initiative. The Cargo

UGV program is sponsored by the Marine Corps Warfighting Laboratory and the Joint Ground

Robotics Enterprise Robotics Technology Consortium.

               396.    As a result of contracts with the U.S. Marine Corps, and Oshkosh Defense

LLC for the development and commercialization of the Oshkosh Defense Autonomous



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Unmanned Ground Vehicle (UGV) "TerraMax" the United States has used, authorized the use,

and manufactured, without license or legal right,      Plaintiff   s inventions described   in and covered

by the '891 Patent.

                          DreamHammer's "Ballista" Software for Computer,

                                          Tablet or Smartphone

Count I:

               397    .    Upon information and belief, tlle United States Department of Defense

Pentagon and the U.S. Navy, (the United States), after several notices between the years 2006 -

2012,has "taken" and continues to "take" the Plaintiffs personal property and used it for the

benefit ofthe public without payingjust compensation to the Plaintiff. Pursuant to the guidelines

of a "Govemment Fifth Amendment Takings", the Govemment has taken the intangible private

and personal property subject matter as outlined in the      Plaintiffs '497,'033,'752,'761,'280,

'891,'990, ' 189, and'439 U.S. patents specifications and patent claims that are significantly the

same or equivalent to the claimed inventions       ofthe Plaintiff. Significantly the same or equivalent

to the specifications of the DreamHammer "Ballista" Software for Computer, Tablet or

Smartphone.

               398.        As a result ofat least one of, a public offer to contract; public offer to

enter into a cooperative agreement; the publication ofa solicitation; a public offer to award; a

public announcement oftangible subject matter material; a public offer for a grant; or, the

interagency exchange of unauthorized information, the United States actions and conduct and the

actions and conduct of its agents, including at least that ofthe United States Department          of

Defense Pentagon and the U.S. Navy has used for the benefit ofthe public, authorized the use for

the benefit of the public, shared intangible subject matter without a license or legal right, and



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without authorization and consent from the Plaintiff; Plaintiff's personal property subject matter

as described    in and covered by the Plaintiffs'497,'033,'752,'761, '280, '891, '990, '189, and

'439 patents.

                  399.      Further, as a result of the Govemment (United States) Fifth Amendment

"Takings" of Plaintilfs property and using it with the public without just compensation to the

Plaintiff, the resulting economic impact ofthe "Takings" is     a reduction   in value ofthe Plaintiff   s


property by virtue ofthe access, disclosure, manufacture, development or use, by or for the

Govemment and its third party awardees; has destroyed the Plaintifls competitive edge; has had

a substantial adverse impact (means unfavorable or harmfrrl; preventing success or development)

on "the reasonable investment-backed expectations" ofthe Plaintif! the character ofthe

Govemment's action was triggered when the "Takings" caused a permanent physical invasion             of

the   Plaintiffs property   and eliminated all economically beneficial uses ofsuch prope(y by way

of the Govemment's manufacture and development of products, devices, methods, and systems

that are significantly the same or equivalent to the claimed inventions ofthe Plaintiff. Just

compensation is due the Plaintifffor the Govemment's actions under Section 1491.

Count    II:
                 400.       Upon information and beliet the United States has infringed, and

continues to infringe, at least claims 44, 55, and 27 of the '891 Patent, as a current manufacturer,

consurner, and/or user of the DreamHammer "Ballista" Software for Computer, Tablet or

Smartphone: Its first product, Ballista, is an OS for drones and allows one person to

simultaneously control multiple drones of any type. It features a plug and play architecture that

can be integrated into any unmanned system. Ballista has been licensed to govemment agencies

including the U.S. Navy's Program Executive Oflice (PEO) Unmanned Aviation and Strike



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Weapons. Owners of separate systems can share software, which over the long run could save

the Defense Departrnent billions of dollars in software costs, officials predict. On July 3,2013,

DreamHammer announced it was partnering with Lockheed Martin to use the company's

software for integrated command and control of Lockheed Martin's unmanned aerial vehicles.

Lockheed and the Pentagon have worked with DreamHammer to create the software which

works with boats, planes or trucks. Ballista open software platform allows for autonomous and

simultaneous control. Autonomous and unmanned vehicles involve a transfer of control fiom

direct human input to automated or remote control.

               401.    As a result of contracts with the U.S. Navy, DreamHammer Inc.,

Lockheed Martin Corporatiorq the United States Department of Defense Pentagon, Apple Inc.,

and the Samsung Group for the development and commercialization of the DreamHammer

"Ballista" Software for Computer, Tablet or Smartphone the United States has used, authorized

the use, and manufactured, without license or legal right, Plaintiffs inventions described in and

covered by the '891 Patent.

                                   iControl lnc. "M-LOCK"

Count I:

               402.    Upon information and belief, the Departrnent of Homeland Security

(DHS), (the United States), after several notices between the years 2006 -2012, has'1aken" and

continues to "take" the Plaintiffs personal property and used it for the benefit ofthe public

without paying just compensation to the Plaintiff. Pusuant to the guidelines of a "Government

Fifth Amendment Takings", the Govemment has taken the intangible private and personal

property subject matter as outlined in the PlaintifPs '497,'033,'752,'761, '280, '891, '990,

'189, and '439 U.S. patents specifications and patent claims that are significantly the same or



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equivalent to the claimed inventions ofthe Plaintiff. Significantly the same or equivalent to the

specifications of the "M-LOCK" locking device.

               403.    As a result ofat least one of, a public offer to contract; public offer to

enter into a cooperative agreement; the publication ofa solicitation; a public offer to award; a

public announcement of tangible subject matter material; a public offer for      a grant; or, the


interagency exchange of unauthorized information, the United States actions and conduct and the

actions and conduct of its agents, including at least that ofthe Department of Homeland Security

(DHS) has used for the benefit of the public, authorized the use for the benefit of the public,

shared intangible subject matter without a license or legal right, and without authorization and

consent from the Plaintiff;   Plaintifls personal property subject matter   as described in and


covered by the Plaintiffs '497,'033,'752,'761, '280, '891, '990, '189, and '439 patents.

               404.    Further, as a result of the Govemment (United States) Fifth Amendment

"Takings" of Plaintiffs property and using it with the public without just compensation to the

Plaintifi the resulting economic impact of the "Takings"     is a reduction in value of the   Plaintiffs

property by virnre ofthe access, disclosure, manufacture, development or use, by or for the

Govemment and its third party awardees; has destroyed the Plaintiffs competitive edge; has had

a substantial adverse impact (means unfavorable or      harmful; preventing success or development)

on "the reasonable investment-backed expectations"       ofthe Plaintiff; the character ofthe

Govemment's action was triggered when the "Takings" caused a permanent physical invasion              of

the Plaintiff s property and eliminated all economically beneficial uses ofsuch property by way

of the Govemment's manufacture and development of products, devices, methods, and systems

that are significantly the same or equivalent to the claimed inventions ofthe Plaintiff. Just

compensation is due the Plaintiff for the Govemment's actions under Section 1491.



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Count   II:
               405.    Upon information and belief, the United States has infringed, and

continues to infringe, at least claims 125,148,135, 35, 39, and 44 of the '990 Patent, and claim

36 ofthe '752 Patent as a current manufacturer, consumer, and/or user ofthe "M-LOCK"

locking device for autonomous operation ofa locking device based on a status ofthe locking

device, wherein the one or more sensors include one or more ofa movement sensor, a

temperature sensor, a humidity sensor, an infrared sensor, a radioactivity detection sensor, an

acoustic sensor, and a chemical detection sensor. M-Lock's critical parameter is anti-tamper,

multi-modal wireless connectivity. M-Lock's critical function is physical security, location and

alerting; and, is available where wireless connectivity is available. A method for autonomous

operation ofa locking device based on a status ofthe locking device. The Department     of

Homeland Security (DHS) *TRUST" RFP system Communication Requirements. iControl Inc.

locking seal "M-Lock" (Patent application: M-LOCK Device and Associated Methods; US

20100283575 A1).

               406.   As a result of contracts with the Department of Homeland Security (DHS),

L-3 Communications and iControl Inc. for the development and commercialization of the M-

Lock locking seal, the United States has used, authorized the use, and manufactured, without

license or legal right, Plaintiffs inventions described in and covered by the'752, and '990

Patents.




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                                                  PRAYER

                           WHEREFORE, Plaintiffrespectfully requests judgment in its favor

against the United States granting Plaintiff the following relief:

                 407   .   Entry ofjudgment that the subject matter set forth in the '497; '752;'891;

'990; '189 and '439 patents have been used for the benefit ofthe public by and for the United

States without   lawful right within the meaning of 28 U.S.C. $ 1491(a);

                 408.      Entry ofjudgment that the inventions set forth inthe'497;'752;'891;

'990; '189 and '439 patents have been used and manufactured by and for the United States

without license or lawful right within the meaning of 28 U.S.C. g 1498(a);

                 409.      Reasonable and entire compensation for the benefit     ofpublic   use by and

for the United States of subject matter covered by and described in the '497; '7 52; '891; '9901'

'189 and'439 patents under 28 U.S.C. $ 1491(a), in an amount to be determined at trial;

                 410.      Reasonable and entire compensation for the unlicensed use and

manufacture by and for the United States ofpatented devices covered by and described in the

'497;'752; '891;'990;'l89and'439patents under28 U.S.C. $ 1498(a), in                an amount to be

determined at trial;

                 4ll.      Plaintiffs   reasonable fees for expert witresses and attomeys, plus its costs

in accordance with 28 U.S.C. $$ 1 9l(a) and 1498(a);

                 412.      Pre-judgment and post-judgment interest on Plaintiff s award; and

                 413. All such other reliefthat       the Court deems just and proper.




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                                     Respectfully submitted,



                                                               .L€
                                     Larry
                                     Plaint       Se
                                     740 WoodruffRd.. #l102
                                     Greenville, South Carolina 29607
                                     atpg-tech@charter.net




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                              CERTIFICATE OF SERVICE
             The undersigned hereby certifies that on this 8th day ofAugust, 2017, a true and

correct copy of the foregoing FINAL AMENDED COMPLAINT gg la91(a) and 1498(a) and

FINAL CLAIM CHART was served upon the following delendant by the methods indicated
below:



                          Nicholas J. Kim
                          Trial Attomey
                          Commercial Litigation Branch
                          Civil Division
                          Department ofJustice
                           Washington, DC 20530
                          (By: Ovemight Express Mail)




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                                                  Go            Se
                                          t40            Rd..   #l102
                                          Greenville, South Carolina 29607
                                          atpg-tech@charter.net




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